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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                             §
                                                      §
                Plaintiff,                            §
                                                      §
v.                                                    §                     1:21-CV-796-RP
                                                      §
THE STATE OF TEXAS,                                   §
                                                      §
                Defendant.                            §

                                                 ORDER

        Before the Court are the United States’ Emergency Motion for a Temporary Restraining

Order or Preliminary Injunction (the “Motion”), (Dkt. 8), the State of Texas’s (the “State” or

“Texas”) Motion to Dismiss, (Dkt. 54), the Amici States’1 Unopposed Motion for Leave to File Brief

as Amici Curiae, (Dkt. 9), the United States’ Opposed Motion for Protective Order of Audiovisual

Recordings, (Dkt. 36), the State’s Objections to the United States’ Declarations, (Dkt. 55), and Erick

Graham, Jeff Tuley, and Mistie Sharp’s (the “Texas Intervenors”) motion to strike lodged at the

hearing, (Hr’g Tr., Dkt. 65, at 96). On October 1, 2021, the Court held a hearing at which it heard

evidence and considered arguments on the United States’ request for a preliminary injunction and

the State’s motion to dismiss. (Dkt. 61; Hr’g Tr., Dkt. 65). Having considered the parties’ arguments,

the evidence presented, and the relevant law, the Court issues the following order.

                                         I. INTRODUCTION

        A person’s right under the Constitution to choose to obtain an abortion prior to fetal

viability is well established. Fully aware that depriving its citizens of this right by direct state action



1The Amici States are Massachusetts, California, Colorado, Connecticut, Delaware, the District of Columbia,
Hawai’i, Illinois, Maine, Maryland, Michigan, Minnesota, Nevada, New Jersey, New Mexico, New York,
Oregon, Pennsylvania, Rhode Island, Vermont, Virginia, Washington, Wisconsin, and the Attorney General
of North Carolina Joshua H. Stein. (Dkt. 9).

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would be flagrantly unconstitutional, the State contrived an unprecedented and transparent statutory

scheme to do just that. The State created a private cause of action by which individuals with no

personal interest in, or connection to, a person seeking an abortion would be incentivized to use the

state’s judicial system, judges, and court officials to interfere with the right to an abortion. Rather

than subjecting its law to judicial review under the Constitution, the State deliberately circumvented

the traditional process. It drafted the law with the intent to preclude review by federal courts that

have the obligation to safeguard the very rights the statute likely violates.

                                           II. BACKGROUND

                                         A. Factual Background

        This case concerns State legislature’s passage of Senate Bill 8 (“S.B. 8”), a sweeping anti-

abortion law. See Senate Bill 8, 87th Leg., Reg. Sess. (Tex. 2021). S.B. 8 purports to ban all abortions

performed on any pregnant person2 where cardiac activity has been detected in the embryo, with no

exceptions for pregnancies that result from rape, sexual abuse, incest, or fetal defect incompatible

with life after birth. Tex. Health & Safety Code § 171.204(a). As explained further below, S.B. 8 can

be enforced through civil lawsuits by private citizens against anyone who performs, aids and abets or

intends to participate in a prohibited abortion. See id. §§ 171.208, 171.210.

                                                 1. Abortion

        The Court finds that the declarations of providers Gilbert, Dkt. 8-2, Hagstrom Miller, Dkt.

8-4, and Linton, Dkt. 8-5, credibly describe the details of embryonic development.3 Fertilization of

an egg usually happens at two weeks from the first day of a patient’s last menstrual period (“LMP”).

At three weeks LMP, the egg implants in the uterus and pregnancy begins. An ultrasound is first able


2The Court recognizes that not all pregnant people identify as women.
3“In the field of medicine, physicians measure pregnancy from the first day of a patient’s last menstrual
period (“LMP”). . . . Pregnancy begins . . . at three weeks LMP, when the fertilized egg implants in the uterus
and lasts until 40 weeks LMP. For the first nine weeks LMP, an embryo develops in the uterus. It is not until
approximately 10 weeks LMP that clinicians recognize the embryo as a fetus.” (Gilbert Decl., Dkt. 8-2, at 6).

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to detect a pregnancy around four to five weeks LMP; the gestational sac is too small to detect

before this time. (Gilbert Decl., Dkt. 8-2, at 8). An embryo then develops until nine weeks LMP.

The embryo begins to form cells that in later stages of pregnancy will become the heart. An

ultrasound during this phase will reveal a sac of fluid, sometimes with a dot inside that represents the

embryo. At this early stage, certain cells produce cardiac activity, which appears on an ultrasound as

“an electrical impulse that appears as a visual flicker within [the] dot.” (Id. at 6). This electrical

impulse can occur “very early in pregnancy,” as soon as six weeks LMP or sometimes sooner; the

embryo does not have a fully developed heart at this time. (Id.). At approximately ten weeks LMP,

the embryo develops into a fetus. The fetus does not reach viability until approximately 24 weeks,

although viability is an individual medical determination. (Id. at 6). “Viability is medically understood

as the point when a fetus has a reasonable likelihood of sustained survival after birth, with or

without artificial support[,]” and is “medically impossible at 6 weeks LMP . . . .” (Id. at 6–7).

        The Court finds that abortion is a safe4 and common medical procedure, based on the

credible declarations of abortion providers founded on their education and experience. Most

providers in Texas perform both medication and procedural abortions. A medication abortion

consists of taking two medications, mifepristone and misoprostol, which initiate a process similar to

a miscarriage. (Id. at 4). A procedural abortion requires a provider to conduct an abortion procedure

in person on the patient. Approximately one quarter of women in the United States will have an

abortion by the age of forty-five. (Id. at 8). In Texas alone, providers performed more than 50,000




4“Abortion is also one of the safest medical procedures. Fewer than 1% of pregnant people who obtain
abortions experience a serious complication. And even fewer abortion patients—only approximately 0.3%—
experience a complication that requires hospitalization. Abortion is far safer than pregnancy and childbirth.
The risk of death from carrying a pregnancy to term is approximately 14 times greater than the risk of death
associated with abortion. In addition, complications such as blood transfusions, infection, and injury to other
organs are all more likely to occur with a full-term pregnancy than with an abortion.” (Gilbert Decl., Dkt. 8-2,
at 9).

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abortions last year. (Id. at 8–9).5 The declarants credibly describe a host of reasons why people might

obtain an abortion—commonly arising out of medical,6 financial,7 and family planning8 concerns. In

some cases, “patients choose to have an abortion because their pregnancies are the result of rape,




5 In addition, “others in the state self-manage their abortions (i.e., on their own without following a
physician’s advice) using a range of methods that can include herbs and vitamins, birth control pills, alcohol
or drugs, and misoprostol obtained over the counter in Mexico.” (Gilbert Decl, Dkt. 8-2, at 8–9).
6 “For many, maternal health concerns make abortion desirable and even necessary. Pregnancy, including an

uncomplicated pregnancy, significantly stresses the body, causes physiological and anatomical changes, and
affects every organ system. It can worsen underlying health conditions, such as diabetes and hypertension.
Some people develop additional health conditions simply because they are pregnant—conditions such as
gestational diabetes, gestational hypertension (including preeclampsia), and hyperemesis gravidarum (severe
nausea and vomiting). People whose pregnancies end in vaginal delivery may experience significant injury and
trauma to the pelvic floor. Those who undergo a caesarean section (C-section) give birth through a major
abdominal surgery that carries risks of infection, hemorrhage, and damage to internal organs.” (Id. at 9–10).
None of these conditions qualifies for the medical emergency exception in S.B. 8. See Tex. Health & Safety
Code § 171.205(a).
7 “Many Texans obtain abortions because they are unable to meet their basic needs. Pregnant patients who

seek abortion care are often low-income and below the federal poverty line. 14.7% of working Texans live in
poverty, and 34.5% are low income. This number is even higher for women of color; 19.1% of Black women
and 20.5% of Latina women live in poverty in Texas. These patients are in dire financial circumstances and
often struggle to pay for needs like housing, food, and medical care. As a result, these patients believe that
obtaining an abortion is the best decision for themselves and for their families.” (Gilbert Decl., Dkt. 8-2, at
10).
8 “The majority of pregnant people who have abortions are already parents: sixty-one percent of pregnant

patients who obtain abortions already have at least one child. They do not desire—and . . . may not be able
to afford or properly care for—another child. . . . Other patients seek abortions because having another child
is not right for them and their families at the present time. Sixty-six percent of abortion patients intend to
have at least one child in the future. Some Texans become pregnant when they are young or still in school
and want to wait to have children later in life. Some become pregnant with a partner with whom they do not
wish to share a child. Others may be managing their own unrelated health issues, such as substance abuse
disorders, and may determine that having a child would not be the best choice for them in their current
condition.” (Id. at 10–11).

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incest, or other intimate partner violence.” (Id. at 11).9 Still others seek abortions after fetal

anomalies are diagnosed, when such diagnoses may result in severe disabilities or death. Fetal

anomalies of this nature cannot be diagnosed until significantly later than six weeks LMP, and some

cannot be diagnosed until 18 or 20 weeks LMP. (See Gilbert Decl., Dkt. 8-2, at 11). Many people do

not realize they are pregnant at six weeks LMP because the markers of pregnancy vary greatly across

the population.10 As a result, they cannot seek abortion care until after embryonic cardiac activity is




9 “For patients who have been abused, being pregnant often subjects them to increased surveillance and
decreased control over their lives. Being pregnant also may make it more likely that their abusers will
perpetrate more physical violence against them. Terminating the pregnancy may be critical for their physical
health and psychological well-being.” Id. at 11. A provider in Oklahoma credibly relates his experiences with
survivors of rape seeking abortion in his clinics because the medical procedure is no longer available to them
in Texas: “One of the most heart-wrenching cases I have seen recently was of a Texas minor who had been
raped by a family member and traveled (accompanied by her guardian) all the way from Galveston, Texas—a
7- to 8-hour drive, one way—to get her abortion in Oklahoma because she was more than six weeks pregnant
and could not get an abortion in Texas. And this patient is not the only sexual assault survivor from Texas
that I have treated recently. I provided an abortion to another woman from Texas who had been raped and
could not get an abortion in Texas because of S.B. 8. She was upset and furious that she could not get an
abortion close to home and in her own state. She had to figure out how to take extra time off from work to
make the trip to Oklahoma, as well as find childcare for her children. I know of at least one other patient
from Texas on our schedule for this upcoming week who has indicated that their pregnancy was a result of
sexual assault.” (Yap Decl., Dkt. 8-9, at 9).
10 “The commonly known markers of pregnancy—a missed menstrual period and pregnancy symptoms—are

not the same for all pregnant people. First, not every pregnant person can rely on a missed menstrual period
to determine whether they are pregnant. In people with an average menstrual cycle (e.g., a period every 28
days), fertilization begins at 2 weeks LMP, and they miss their period at 4 weeks LMP. Many people do not
experience average menstrual cycles, though. Some people have regular menstrual cycles but only experience
periods every 6 to 8 weeks, or even further apart. Others do not know when they will experience their next
period because they have irregular cycles, which are caused by a variety of factors, including polyps, fibroids,
endometriosis, polycystic ovary syndrome, eating disorders, and other anatomical and hormonal reasons.
Some people may have irregular menstrual cycles because they are taking contraceptives or are breastfeeding.
As a result, many people may not suspect they are pregnant until much later than 4 weeks LMP. Second,
many people will not exhibit the commonly known symptoms of pregnancy. For instance, people may have
negative results from over-the-counter pregnancy tests even when pregnant because these tests often cannot
detect a pregnancy at 4 weeks LMP or earlier. Additionally, symptoms such as nausea or fatigue differ for
each pregnant person, and some people never experience those symptoms. Further complicating early
detection of pregnancy, it is common for pregnant people to experience light bleeding when the fertilized egg
is implanted in the uterus and mistake that bleeding for a menstrual period.” (Gilbert Decl., Dkt 8-2, at 7).

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detectable.11 Even so, the Court finds that “the vast majority of abortions in the United States and in

Texas take place in the first 12 weeks of pregnancy”—but “most patients are at least 6 weeks LMP

into their pregnancy when they make an abortion appointment.” (Gilbert Decl., Dkt 8-2, at 8).

                                       2. Abortion Regulation in Texas

        Texas law contains a number of regulations for abortion procedures antecedent to the

developments in S.B. 8 at issue here. Those regulations remain in force irrespective of the

constitutionality of S.B. 8. State law requires physicians to perform an ultrasound before performing

an abortion on a patient. An ultrasound typically cannot detect a pregnancy before four weeks LMP,

when the gestational sac becomes visible. (Id. at 4). State law also requires a series of counseling

requirements to be completed, as well as imposing a 24-hour waiting period. Unless a person

certifies that they live more than 100 miles from an abortion facility, they must make two trips to a

clinic to complete these requirements because of the waiting period. See Tex. Health & Safety Code

§§ 171.011–016. Appointments for counseling and for medication abortion must be done in person.

Id.; id. § 171.063. Written parental consent or a court order are required for patients eighteen years

old or younger. Id. §§ 33.001–014. The State also prohibits Medicaid coverage of abortion; most

private insurers similarly refuse to cover the procedure. (See Hagstrom Miller Decl. I, Dkt. 8-4, at 4).

Credible evidence establishes that these requirements create burdens for people seeking abortions.

(See Gilbert Decl., Dkt. 8-2, at 12) (“Patients must coordinate transportation to the clinic, childcare

for their family, lodging if they live far from a clinic, and time off from work (which may not be

paid).”)).


11“Even for someone with normal periods, 6 weeks LMP is only two weeks after a missed period, and many
patients (including young people and those on birth control) do not have normal periods. And even after a
patient learns that they are pregnant and decides they want to terminate the pregnancy, arranging an
appointment for an abortion may take some time. Even assuming an appointment is available at a health
center that is accessible to a patient, they need to come in for at least two visits (due to a different Texas law),
and have to take time off work, arrange child care, and deal with other logistical issues that can result in some
delay.” (Linton Decl., Dkt. 8-5, at 6).

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        In addition, the Texas legislature passed H.B. 2 in 2013, imposing further restrictions on

abortion facilities and providers. House Bill 2, 83rd Leg., 2nd Called Sess. (Tex. 2013). That law was

enjoined and ultimately overturned by the Supreme Court. See Whole Women’s Health v. Hellerstedt, 136

S. Ct. 2292 (2016). But during the period of its operation, it forced many clinics to close, almost all

of which have not reopened.12 The result is that, whereas before H.B. 2 there were 44 clinics, now

only 20 clinics serve the entire state. (See Hagstrom Miller Decl. I, Dkt. 8-4, at 5).13 Similar closures

arose from Governor Abbott’s Executive Order shuttering clinics due to COVID-19.14 For low-

income patients, often from marginalized communities, and often facing language barriers,

“significant logistical and financial burdens” on accessing abortion services existed even prior to the

enactment of S.B. 8.15

                                                3. Senate Bill 8

        S.B. 8 imposes an almost outright ban on abortions performed after six weeks of pregnancy,

as well as other anti-abortion measures meant to empower anti-abortion vigilantes and target those

who support abortion care in Texas.


12 “Because WWH lacked sufficient physicians with admitting privileges in Beaumont and Austin, we had to
shut those clinics down. Additionally, our clinic in McAllen was shut down for eleven months and was only
reopened because of an injunction awarded by the United States District Court for the Western District of
Texas. Ironically, one of our physicians in Austin was able to obtain admitting privileges in Fort Worth, and
so he commuted by plane in order to keep our clinic in Fort Worth open. The cost of flights put further
economic pressure on WWH.” (Hagstrom Miller Decl. I, Dkt. 8-4, at 5).
13 “In fact, the WWH clinic in Austin (now operated by Whole Woman’s Health Alliance) is the only WWH

clinic closed by H.B. 2 to have reopened since the Supreme Court struck it down. Less than two years after
reopening, the Austin clinic was forced to close again because an anti-abortion pregnancy crisis center, Austin
LifeCare, bought out the lease for our existing building. The Austin Clinic had to find a new location and
relocate our operations, reopening again in February 2019. . . . Independent abortion providers will not be
able to recover from clinic closures. Once abortion clinics close, they remain closed permanently.” (Id. at 5).
14 “Abortion providers had a similar experience last year when Governor Abbott issued a COVID-19

executive order that forced all of the abortion providers in the state to stop providing abortions for around
three weeks. Even this short closure had a devastating and lasting impact on both the clinics and our patients.
Had the closure lasted even a few weeks more, many clinics would have closed for good.” (Id. at 6).
15 “Most of WWH/WWHA’s patients in Texas are Black, Latinx, or people of color from marginalized

communities. Our patients overcome significant logistical and financial burdens to access abortion care at our
clinics. The majority of our patients are poor or low-income and receive at least partial financial assistance for
their abortions.” (Id. at 4).

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                                     a. The Six-week Ban on Abortions

        The cornerstone of S.B. 8 is its requirement that physicians performing abortions in Texas

determine whether a “detectable fetal heartbeat” is present and bans any abortions performed if a

“fetal heartbeat” 16 is detected or if the physician fails to perform a test for one. Tex. Health & Safety

Code §§ 171.201(1), 171.203(b), 171.204(a). S.B. 8 empowers licensing authorities to discipline any

licensed healthcare provider who perform abortions in violation of S.B. 8. Tex. Occ. Code §§

164.053(a)(1)), 301.101, 553.003. S.B. 8 contains no exception for pregnancies that result from rape

or incest, or for fetal health conditions that are incompatible with life after birth—though it does

contain a narrow exception for “a medical emergency . . . that prevents compliance.” Tex. Health &

Safety Code § 171.205(a).

        S.B. 8 creates liability for anyone who performs an abortion in violation of the six-week ban

and anyone who “knowingly” aids or abets the performance of an abortion performed at six weeks

or later. Id. § 171.208(a)(1)–(2). Although S.B. 8 does not define what constitutes aiding or abetting

under the statute, it specifies that paying for or reimbursing the costs of the abortion would fall

under the ban, which would apply “regardless of whether the person knew or should have known

that the abortion would be performed or induced in violation of [S.B. 8].” Id. In addition, a person

need not even actually take steps to “aid and abet” a prohibited abortion to be held liable under S.B.




16 Because an ultrasound can typically detect cardiac activity beginning at approximately six weeks of
pregnancy, as measured from the first day of a patient’s last menstrual period (“LMP”), and “fetal heartbeat”
is a medically inaccurate term since what the law intends to refer to is “cardiac activity detected in an embryo”
the Court will refer to S.B. 8’s ban as a “six-week ban” to more accurately reflect that the ban covers all
abortions performed approximately six week LMP, usually just two weeks after a missed menstrual period,
when an embryo begins to exhibit electrical impulses. (Compl. Dkt. 1, at 22) (“[D]espite S.B. 8’s use of the
phrase ‘fetal heartbeat,’ the Act forbids abortion even when cardiac activity is detected in an embryo.”).

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8; all that is required is that the person intended to “aid and abet” an abortion at six weeks or later. Id.

§ 171.208(a)(3).17

                                   b. Enforcement of the Six-Week Ban

        S.B. 8 precludes enforcement of the six-week ban by state or local authorities, instead

empowering private citizens to bring civil actions against anyone who allegedly performs, or aids and

abets in the performance of a banned abortion. Id. § 171.207(a). Despite having no exception to the

six-week ban for pregnancies that result from rape or incest, S.B. 8 precludes those “who

impregnated the abortion patient through rape, sexual assault, [or] incest” from bringing an S.B. 8

lawsuit. Id. § 171.208(j). S.B. 8 does not permit private citizens to bring civil suits against abortion

patients. Id. § 171.206(b)(1).

        Any private individual may bring suit under S.B. 8 in the county where “all or a substantial

part of the events or omissions . . . occurred,” in their county of residence (if they are a Texas

resident) or the defendant’s county of residence, or the county of a defendant entity’s principal

office. Id. § 171.210(a). A private individual who brings suit can block transfer to a more appropriate

venue if not consented to by all parties. Id. § 171.210(b).18 Private individuals who prevail in S.B.

lawsuits may be awarded (1) “injunctive relief sufficient to prevent” future violations or conduct that

aids or abets violations; (2) “statutory damages . . . in an amount of not less than $10,000 for each

abortion” that was provided or aided and abetted; and (3) “costs and attorney’s fees.” Tex. Health &

Safety Code § 171.208(b). Significantly, a private individual may prevail in a civil suit brought under

S.B. 8 without alleging any injury.


17 Amici raise the possibility that their citizens could be subject to suit by, among other activities,
“perform[ing] research used to support abortion access in Texas” or “donat[ing] or provid[ing] in-kind
support to abortion funds and other abortion advocacy groups in Texas . . .” (Br. of Amici, Dkt. 9-1, at 11).
18 Texas generally limits the venue where an action may be brought to one where the events giving rise to a

claim took place or where the defendant resides, see Tex. Civ. Prac. & Rem. Code § 15.002(a), and a Texas
state court may generally transfer venue “[f]or the convenience of the parties and witnesses and in the interest
of justice,” id. § 15.002(b).

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        In contrast, those sued under S.B. 8 are prohibited from raising certain defenses enumerated

under S.B. 8, including that they believed the law was unconstitutional; that they relied on a court

decision, later overruled, that was in place at the time of the acts underlying the suit; or that the

patient consented to the abortion. Id. § 171.208(e)(2)–(3). S.B. 8 also states that people who are sued

may not rely on non-mutual issue or claim preclusion or rely on any other “state or federal court

decision that is not binding on the court in which the action” was brought as a defense. Id. §

171.208(e)(4)–(5). If a suit is successful, the person sued will be bound by a mandatory injunction,

violation of which will result in contempt orders. Id. § 171.208(b)(2). Furthermore, those sued under

S.B. 8 who prevail in their case are barred from recovering their costs and attorney’s fees if they

prevail even if the person has been sued many times. Id. § 171.208(i). S.B. 8 also enlarges the statute

of limitations, allowing private individuals to sue up to four years from the date the cause of action

accrues. Id. § 171.208(d).

        S.B. 8 changes the way state courts interpret binding precedent. “States may regulate

abortion procedures prior to viability so long as they do not impose an undue burden” on a patient’s

right to abortion, but states “may not ban abortions.” Jackson Women’s Health Org. v. Dobbs, 945 F.3d

265, 269 (5th Cir. 2019), cert. granted in part, No. 19-1392, 2021 WL 1951792 (U.S. May 17, 2021).

Under S.B. 8, a defendant may not establish an undue burden by “merely demonstrating that an

award of relief will prevent women from obtaining support or assistance, financial or otherwise,

from others in their effort to obtain an abortion[] or . . . arguing or attempting to demonstrate that

an award of relief against other defendants or other potential defendants will impose an undue

burden on women seeking an abortion.” Tex. Health & Safety Code § 171.209(d). And S.B. 8

eliminates undue burden as a defense in the event the Supreme Court “overrules Roe v. Wade, 410

U.S. 113 (1973) or Planned Parenthood v. Casey, 505 U.S. 833 (1992), regardless of whether the




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[S.B. 8] conduct . . . occurred before the Supreme Court overruled either of those decisions.” Id. §

171.209(e).

                                      B. Procedural Background

        The procedural background and timing of this case is connected to the fate of another case

in this Court challenging the constitutionality of S.B. 8: Whole Woman’s Health v. Jackson, USDC No.

1:21-cv-616 (W.D. Tex. 2021). The Jackson case had an intense ramp-up starting when Plaintiffs19

filed a suit on July 13, 2021. (1:21-cv-616, Dkt. 1). Plaintiffs are a large group of abortion care

providers and advocates who sued Texas Attorney General Ken Paxton, a state court judge, a state

court clerk, a private individual who previously expressed his intent to bring S.B. 8 lawsuits, and

various State officials. (Id.). Defendants filed motions to dismiss, (1:21-cv-616, Dkts. 48, 49, 50, 51),

and then Plaintiffs filed a motion for preliminary injunction, (1:21-cv-616, Dkt. 53). Three days after

the motions to dismiss were filed, two of the Defendants—the state court clerk and the private

individual—filed a petition for writ of mandamus, arguing that this Court erred by purportedly

“refusing to resolve [their] jurisdictional objections before proceeding to the merits.” In re Clarkston,

No. 21-50708 (5th Cir. Aug. 7, 2021). After dozens of filings, the Fifth Circuit denied the petition of

mandamus on August 13, 2021. Id.

        During the pendency of the petition for writ of mandamus, the Court set the preliminary

injunction motion to be heard on August 30, 2021. (1:21-cv-616, Dkt. 61). On August 25, 2021, the

Court denied the pending motions to dismiss. (1:21-cv-616, Dkt. 82). Defendants filed an



19Plaintiffs in that action include Whole Woman’s Health, Alamo City Surgery Center PLLC d/b/a Alamo
Women’s Reproductive Services, Brookside Women’s Medical Center PA d/b/a Brookside Women’s Health
Center and Austin Women’s Health Center, Houston Women’s Clinic, Houston Women’s Reproductive
Services, Planned Parenthood of Greater Texas Surgical Health Services, Planned Parenthood South Texas
Surgical Center, Planned Parenthood Center for Choice, Southwestern Women’s Surgery Center, Whole
Woman’s Health Alliance, Allison Gilbert, M.D., Bhavik Kumar, M.D., The Afiya Center, Frontera Fund,
Fund Texas Choice, Jane’s Due Process, Lilith Fund for Reproductive Equity, North Texas Equal Access
Fund, Marva Sadler, Reverend Daniel Kanter, and Reverend Erika Forbes. (1:21-cv-616, Dkt. 1, at 9–14).

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interlocutory appeal to the Fifth Circuit. (1:21-cv-616, Dkt. 83). Finding that Defendants who are

state officials asserted sovereign immunity, this Court stayed its proceedings as to those Defendants

but could not, and did not, stay its proceedings as to the private individual. (1:21-cv-616, Dkt. 88).

On that same day, the Fifth Circuit entered a “temporary administrative stay” of this Court’s

proceedings and denied Plaintiffs’ request to expedite the interlocutory appeal. (1:21-cv-616, Dkt.

92). Two days later, on August 29, 2021, the Fifth Circuit denied Plaintiffs’ requests for an

injunction pending appeal and to vacate its administrative stay, among other denials. (1:21-cv-616,

Dkt. 93).

        With S.B. 8 about to go into effect, Plaintiffs filed an application for injunctive relief or, in

the alternative, to vacate the Fifth Circuit’s stays of this Court’s proceedings with the Supreme

Court. Whole Woman's Health v. Jackson, No. 21A24, 2021 WL 3910722, at *1 (U.S. Sept. 1, 2021). At

midnight, S.B. 8 became law, and that night the Supreme Court issued its opinion denying Plaintiffs’

request for an injunction or stay. Id. While acknowledging that Plaintiffs had “raised serious

questions regarding the constitutionality of the Texas law at issue[,]” the Supreme Court expressed

concern about the “complex and novel antecedent procedural questions.” Id.

        In dissent, Chief Justice Roberts noted that “[t]he statutory scheme before the Court is not

only unusual, but unprecedented,” because “[t]he legislature has imposed a prohibition on abortions

after roughly six weeks, and then essentially delegated enforcement of that prohibition to the

populace at large,” with the “desired consequence appear[ing] to be to insulate the State from

responsibility for implementing and enforcing the regulatory regime.” Id. (Roberts, C.J., dissenting).

The Chief Justice stated that he “would grant preliminary relief to preserve the status quo ante—

before the law went into effect—so that the courts may consider whether a state can avoid

responsibility for its laws in such a manner.” Id. at *2. Justices Breyer, Sotomayor, and Kagan each




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wrote a dissenting opinion, noting the need to preserve judicial review in the face of S.B. 8’s unusual

enforcement regime. See id. at *3–5.

        On September 10, 2021, the Fifth Circuit denied Plaintiffs’ motion to dismiss the private

individual’s appeal, granted the private individual’s motion to stay, and expedited the appeal “to the

next available oral argument panel.” (1:21-cv-616, Dkt. 95). The Fifth Circuit’s order confirmed its

stay of this Court’s proceedings, and the Jackson case has come to a halt pending the resolution of

Defendants’ interlocutory appeal.

        The United States filed the instant action for declaratory and injunctive relief on September

9, 2021. (Compl., Dkt. 1). The United States accuses the State of banning nearly all abortions after

six weeks, and months before a pregnancy is viable, “in open defiance of the Constitution.” (Id. at

1). “Because S.B. 8 clearly violates the Constitution,” the United States alleges that the State

“adopted an unprecedented scheme ‘to insulate the State from responsibility.”’ (Id. (quoting Jackson,

2021 WL 3910722, at *1 (Roberts, C.J., dissenting))). The United States seeks a declaratory judgment

that S.B. 8 is “invalid under the Supremacy Clause and the Fourteenth Amendment, is preempted by

federal law, and violates the doctrine of intergovernmental immunity.” (Id. at 3). The United States

also seeks an “order preliminarily and permanently enjoining the State of Texas, including its

officers, employees, and agents, including private parties who would bring suit under the law, from

implementing or enforcing S.B. 8.” (Id.).

        S.B. 8 was designed to stymie judicial review. (Id.) (citing Emma Green, What Texas Abortion

Foes Want Next, THE ATLANTIC (Sept. 2, 2021), https://www.theatlantic.com/politics/archive/

2021/09/texas-abortion-ban-supreme-court/619953/; Jacob Gershman, Behind Texas Abortion Law,

an Attorney’s Unusual Enforcement Idea, THE WALL ST. J. (Sept. 4, 2021), https://www.wsj.com/articles

/behind-texas-abortion-law-an-attorneys-unusual-enforcement-idea-11630762683 (quoting Texas

State Senator Bryan Hughes: “We were going to find a way to pass a heartbeat bill that was going to


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be upheld.”); Jenna Greene, Column: Crafty Lawyering on Texas Abortion Bill Withstood SCOTUS

Challenge, REUTERS (Sept. 5, 2021), https://reuters.com/legal/government/crafty-lawyering-texas-

abortion-bill-withstood-scotus-challenge-greene-2021-09-05/(quoting Sen. Hughes as saying S.B. 8

is a “very elegant use of the judicial system”)).

        In its complaint, the United States describes the effects of S.B. 8 on Texans and the injuries

to the United States. According to the complaint, after being deprived of their constitutional right to

an abortion, pregnant people are crossing state lines to seek abortion care since S.B. 8 took effect.

(Compl., Dkt. 1, at 12–13). The complaint also asserts that S.B. 8 irreparably injures the United

States by depriving people of their constitutional rights while preventing them from vindicating

those rights in federal court and unconstitutionally restricting the operation of the federal

government and conflicting with federal law. (Id. at 14–24). The United States brings claims under

the Fourteenth Amendment, preemption, and intergovernmental immunity. (Id. at 24–26).

        On September 15, 2021, the United States filed an emergency motion requesting a

temporary restraining order or preliminary injunction to enjoin the enforcement and effect of S.B. 8.

(Mot. Prelim. Inj., Dkt. 8). The United States, through declarations, detailed the “devastating effects”

S.B. 8 already was having in Texas and nearby states, including the vast majority of people seeking

abortions being turned away, some people forced to seek care in other states, scheduling backlogs in

other states because Texans are claiming 50-75% of appointments, and losing health care

professionals who fear liability. (Id. at 17–22). Arguing that S.B. 8 violates the Constitution and the

principles of preemption and intergovernmental immunity, the United States makes its case that it is

likely to succeed on the merits. (Id. at 23–32). The United States also contends that it has standing to

bring this suit against the State and that its requested relief will redress its injuries. (Id. at 32–43).

Finally, the United States argues it faces irreparable harm and the balance of the equities tip in favor

of an injunction. (Id. at 43–44). The Court set a hearing for October 1, 2021. (Dkt. 12).


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        On the same day the United States filed its preliminary injunction motion, the Amici States

filed their Unopposed Motion for Leave to File Brief as Amici Curiae. (Dkt. 9). The Amici States

express their interests in protecting their residents’ ability to seek abortion care and avoid suit and

their more general interest in “ensuring each State abides by its constitutional obligation not to

prohibit access to otherwise lawful and safe abortion care.” (Dkt. 9-1, at 9). The Amici argue that

S.B. 8 represents an “unprecedented attack on our constitutional order and rule of law,” (id. at 12),

and urge this Court to immediately enjoin the State from enforcing S.B. 8, (id. at 26–27).

        Several would-be intervenors filed motions, starting with the Texas Intervenors. (Mot.

Intervene, Dkt. 28, at 1). The Texas Intervenors, who also later filed an opposition to the

preliminary injunction motion, (Dkt. 44), seek to “preserve their state-law rights and to ensure that

Senate Bill 8’s severability requirements are observed and enforced.” (Mot. Intervene, Dkt. 28, at 1).

The Texas Intervenors claim they intend to sue people and entities, pursuant to S.B. 8, “whose

conduct is clearly unprotected by the Constitution[] and who cannot plausibly assert an ‘undue

burden’ defense under [S.B. 8].” (Id. at 2). The Court granted the Texas Intervenors’ motion to

intervene. (Dkt. 40). The next motion to intervene was filed by Oscar Stilley (“Stilley”), an Arkansas

resident “in federal custody[] on home confinement” who already has sued an abortion provider

under S.B. 8 in Bexar County. (Stilley Mot., Dkt. 31, at 1, 4). The Court granted Stilley’s motion to

intervene. (Dkt. 40). Finally, just a few days ago, Felipe Gomez, who also brought an S.B. 8 suit in

Bexar County, filed a motion to intervene. (Dkt. 62). Since the response window to that motion is

still open, it is not ripe or before the Court at this time.




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        On September 30, 2021, the State filed its response to the preliminary injunction, (Resp.,

Dkt. 43), and its motion to dismiss, (Dkt. 54).20 In its motion to dismiss, the State argues that there is

no justiciable controversy between the United States and Texas; the United States cannot obtain

relief against state courts or private individuals; the United States is not injured; and the United

States lacks a cause of action. (Dkt. 54). In its opposition to the preliminary injunction motion, the

State contends that S.B. 8 is lawful because the United States has not shown a clear violation of the

Fourteenth Amendment and the United States has not clearly shown S.B. 8 is preempted or violates

intergovernmental immunity. (Resp., Dkt. 43, at 49–59). The State also asserts that the United States

has not clearly shown irreparable harm or that the balance of the equities and public interest favor

an injunction. (Id. at 59–69). Rounding out its arguments, the State disputes the requested injunction

as unlawfully broad. (Id. at 69–71). Finally, the State requests that, should this Court grant the

preliminary injunction motion, this Court stay the injunction to allow the State to seek a stay from

“the appropriate appellate courts.” (Id. at 71–72).

                                       III. LEGAL STANDARDS

        Federal Rule of Civil Procedure 12(b)(1) allows a party to assert lack of subject-matter

jurisdiction as a defense to suit. Fed. R. Civ. P. 12(b)(1). Federal district courts are courts of limited

subject matter jurisdiction and may only exercise such jurisdiction as is expressly conferred by the

Constitution and federal statutes. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

A federal court properly dismisses a case for lack of subject matter jurisdiction when it lacks the

statutory or constitutional power to adjudicate the case. Home Builders Ass’n of Miss., Inc. v. City of



20 In its response, the State improperly included two motions—the motion to dismiss, which it separately filed
later, (Dkt. 54), and a request for a stay in the event an injunction is granted—with its response brief. (Dkt.
43; see Deficiency Notice, Dkt. 47). While normally a filing error of this kind is not of note, this Court refers
to it only because the State did not refile its request for a stay as a separate motion. Assuming a
miscommunication or a misunderstanding, the Court still considers the State’s request for a stay to be before
this Court even though it resides with the State’s response brief.

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Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). “The burden of proof for a Rule 12(b)(1) motion to

dismiss is on the party asserting jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir.

2001), cert. denied, 536 U.S. 960 (2002). “Accordingly, the plaintiff constantly bears the burden of

proof that jurisdiction does in fact exist.” Id. In ruling on a Rule 12(b)(1) motion, the court may

consider any one of the following: (1) the complaint alone; (2) the complaint plus undisputed facts

evidenced in the record; or (3) the complaint, undisputed facts, and the court’s resolution of

disputed facts. Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008).

        Pursuant to Rule 12(b)(6), a court may also dismiss a complaint for “failure to state a claim

upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding a 12(b)(6) motion, a “court

accepts ‘all well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.’” In re

Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v.

Dallas Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). “To survive a Rule 12(b)(6) motion to

dismiss, a complaint ‘does not need detailed factual allegations,’ but must provide the plaintiff’s

grounds for entitlement to relief—including factual allegations that when assumed to be true ‘raise a

right to relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). That is, “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 540, 678 (2009) (quoting Twombly, 550 U.S. at 570).

        A claim has facial plausibility “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. “The

tenet that a court must accept as true all of the allegations contained in a complaint is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. A court ruling on a 12(b)(6) motion may rely on the

complaint, its proper attachments, “documents incorporated into the complaint by reference, and


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matters of which a court may take judicial notice.” Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338

(5th Cir. 2008) (citations and internal quotation marks omitted). A court may also consider

documents that a defendant attaches to a motion to dismiss “if they are referred to in the plaintiff’s

complaint and are central to her claim.” Causey v. Sewell Cadillac-Chevrolet, Inc., 394 F.3d 285, 288 (5th

Cir. 2004). But because the court reviews only the well-pleaded facts in the complaint, it may not

consider new factual allegations made outside the complaint. Dorsey, 540 F.3d at 338. “[A] motion to

dismiss under 12(b)(6) ‘is viewed with disfavor and is rarely granted.’” Turner v. Pleasant, 663 F.3d

770, 775 (5th Cir. 2011) (quoting Harrington v. State Farm Fire & Cas. Co., 563 F.3d 141, 147 (5th Cir.

2009)).

          A preliminary injunction is an extraordinary remedy, and the decision to grant such relief is

to be treated as the exception rather than the rule. Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047,

1050 (5th Cir. 1997). “A plaintiff seeking a preliminary injunction must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief,

that the balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The party seeking injunctive relief carries the burden

of persuasion on all four requirements. PCI Transp. Inc. v. W. R.R. Co., 418 F.3d 535, 545 (5th Cir.

2005). When the United States is a party, the third and fourth requirements merge. Nken v. Holder,

556 U.S. 418, 435 (2009). A movant cannot be granted a preliminary injunction unless it can

establish that it will suffer irreparable harm without an injunction. Amazon.com, Inc. v.

Barnesandnoble.com, Inc., 239 F.3d 1343, 1350 (Fed. Cir. 2001).

                                           IV. DISCUSSION

          Due to the length, the Court offers a high-level roadmap of its legal analysis. The Court first

considers two requests—a motion to seal and a set of evidentiary objections—before reaching the

jurisdictional and procedural questions presented by the State’s motion to dismiss. Satisfied that the


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Court has subject matter jurisdiction and that the United States has stated a valid claim against the

State, the Court then addresses the United States’ preliminary injunction motion.

                           A. Motion to Seal and Evidentiary Objections

                                     1. United States’ Motion to Seal

        Before the hearing, on September 27, 2021, the United States filed its Opposed Motion for a

Protective Order of Audiovisual Recordings. (Mot. Seal, Dkt. 36). Pursuant to Federal Rule of Civil

Procedure 26(c)(1), the United States requests this Court to seal the audiovisual recordings of

depositions (the “Depositions”) of Patrice Rachel Torres, Laurie Bodenheimer, Alix McLearen,

James S. De La Cruz, and Anne Marie Costello (the “Deponents”), civil servants who were deposed

by the State. (Id. at 1). The United States argues the Deponents have a “legitimate privacy interest in

limiting permanent and public dissemination of video recordings of them being deposed.” (Id.). The

United States relies on two United States District Court for the District of Columbia decisions that

sealed audiovisual recordings of civil servants. (Id. at 2) (citing Order at 2–3, ECF No. 96, Judicial

Watch, Inc. v. U.S. Dep’t of State, (D.D.C. Apr. 25, 2019); Judicial Watch v. Dep’t of State, No. 13-cv-

1363-EGS (D.D.C. May 26, 2016)). The State opposes this request. (Resp. Mot. Seal, Dkt. 64).

        Generally, the public has a right to inspect judicial records. Nixon v. Warner Commc’ns, Inc.,

435 U.S. 589, 597 (1978). This right “promotes the trustworthiness of the judicial process, curbs

judicial abuses, and provides the public with a better understanding of the judicial process, including

its fairness[, and] serves as a check on the integrity of the system.” Bradley on behalf of AJW v. Ackal,

No. 18-31052, 2020 WL 1329658, at *4 (5th Cir. Mar. 23, 2020) (citing United States v. Sealed Search

Warrants, 868 F.3d 385, 395 (5th Cir. 2017)).

        This right is not absolute and the “common law merely establishes a presumption of public

access to judicial records.” Id. (citing SEC v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993)).

The Fifth Circuit has neither assigned a particular weight to this presumption nor interpreted the


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presumption in favor of access as creating a burden of proof. Id. at *4. But in light of the public’s

right to access judicial records, courts are required to “use caution in exercising [their] discretion to

place records under seal.” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 689–90

(5th Cir. 2010) (citing Fed. Sav. & Loan Ins. Corp. v. Blain, 808 F.2d 395, 399 (5th Cir. 1987)). “In

exercising its discretion to seal judicial records, the court must balance the public’s common law

right of access against the interests favoring nondisclosure.” Bradley, 2020 WL 1329658, at *4 (citing

Van Waeyenberghe, 990 F.2d at 848). “The presumption however gauged in favor of public access to

judicial records is one of the interests to be weighed on the public’s side of the scales.” Id. (internal

quotations omitted).

        “Not every document, however, is a judicial record subject to the common law right of

access.” Id. at *5. “[S]ealing may be appropriate where orders incorporate confidential business

information.” N. Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182, 204 (5th Cir. 2015).

In some cases, such as those involving “trade secrets, the identity of informants, and the privacy of

children,” Jessup v. Luther, 277 F.3d 926, 928 (7th Cir. 2002), or those in which information could be

used for “scandalous or libelous purposes,” Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995),

the interest in secrecy is compelling. But when the party seeking leave to file under seal “does not

identify any particular confidential information in the orders that may cause it harm, and much of

the information therein is available elsewhere,” sealing is generally unwarranted. N. Cypress, 781 F.3d

at 204; see also Powers v. Duff & Phelps, LLC, No. 1:13-CV-768, 2015 WL 1758079, at *7–8 (W.D. Tex.

Apr. 17, 2015) (“[T]he parties’ decision to designate documents as confidential does not mandate

that the Court seal the record. The standard for sealing court documents is more stringent than [the]

standard for protecting discovery materials under a protective order.”). “[I]n order for a document

to be sealed, the movant must not only point to specific confidential information contained in the

document, but must also show the specific harm that would be suffered if the public were granted


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access to this document.” Omega Hosp., LLC v. Cmty. Ins. Co., No. CV 14-2264, 2015 WL 13534251,

at *4 (E.D. La. Aug. 12, 2015) (citing N. Cypress, 781 F.3d at 204).

        The United States has not presented any compelling reasons for sealing the Depositions

other than that civil servants have a privacy interest. (Mot. Seal, Dkt. 36, at 2). While civil servants

may very well have such a privacy interest, the United States has not explained how it outweighs the

presumption of public access to the court documents. See Nixon, 435 U.S. at 597; Bradley, 2020 WL

1329658, at *4 (citing United States v. Sealed Search Warrants, 868 F.3d at 395). Additionally, the United

States does not seek to seal the transcripts of the Depositions. (Mot. Seal, Dkt. 36, at 2). The fact

that the United States does not object to the content of the Depositions being public also favors

access to the Depositions. See N. Cypress, 781 F.3d at 204. The Court will deny the United States’

motion to seal.

       2. The State’s and the Texas Intervenors’ Objections to the United States’ Declarations

        On September 30, 2021, the State filed its objections to the declarations attached to the

United States’ Motion. (Dkt. 55). The next day, during the hearing on the Motion, the State

additionally objected to the two declarations attached to the United States’ reply, (Dkt. 59). (Hr’g

Tr., Dkt. 65, at 6–7). The State objected to those two declarations as improper because (1) they are

new evidence submitted with a reply brief and (2) the State did not have the opportunity to cross

examine one of the declarants. (Id. at 7). At the hearing on the preliminary injunction motion, the

Texas Intervenors moved to strike three declarations proffered by the United States: Dr. Allison

Gilbert, Amy Hagstrom Miller, and Melaney Linton. (Hr’g Tr., Dkt. 65, at 96). The Texas

Intervenors moved to strike them as inadmissible hearsay. (Id.). The Texas Intervenors also objected

that they lacked a meaningful opportunity to contest the content of the declarations. (Id. at 96–97).

The Court took the evidentiary objections under advisement. (Id. at 7).




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        The Court will now deny the State’s and the Texas Intervenors’ evidentiary objections. For

preliminary injunctions, courts may less strictly follow the rules of admissibility and even may rely on

inadmissible evidence. See, e.g., Sierra Club, Lone Star Chapter v. F.D.I.C., 992 F.2d 545, 551 (5th Cir.

1993) (“Furthermore, at the preliminary injunction stage, the procedures in the district court are less

formal, and the district court may rely on otherwise inadmissible evidence, including hearsay

evidence.”); Null v. Wainwright, 508 F.2d 340, 344 (5th Cir. 1975) (“Strict evidentiary rules of

admissibility are generally relaxed in bench trials, as appellate courts assume that trial judges rely

upon properly admitted and relevant evidence.”). The Court will examine the evidence presented

and make determinations, whether explicit or implicit, about whether to rely on that evidence as it

makes its findings of fact and conclusions of law.

        To the extent the State or the Texas Intervenors believe they lacked a meaningful

opportunity to contest evidence, the Court notes that a full evidentiary hearing was held on October

1, 2021, at which the State, for example, presented deposition testimony from when the State cross-

examined declarants for the United States and had a meaningful opportunity to present and refute

evidence. (See Minute Entry, Dkt. 61). The Court reminds the Texas Intervenors that they did not

file their motion to intervene, (Dkt. 28), until two weeks after this case was filed; the Court

expedited its consideration of that motion; and the Court allotted them 30 minutes at the hearing (as

compared to the one hour given to each party) to present evidence or argument. (See Order Denying

Mot. Reconsideration, Dkt. 53, at 1–2). Taking into account the compressed schedule, the Court

provided the Texas Intervenors, like the parties, a meaningful opportunity to present and refute the

evidence.

                                         B. Motion to Dismiss

        “The statutory scheme [in S.B. 8] is not only unusual, but unprecedented.” Jackson, 2021 WL

3910722, at *1 (Roberts, C.J., concurring). The intent of this scheme, according to its drafters, was


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to stymie judicial review and ensure that no private party would be able to bring a pre-enforcement

suit to challenge the constitutionality of the law. See supra Section II(B). Thus far, this tact has been

effective—the Supreme Court denied a private, pre-enforcement preliminary injunction against S.B.

8, and the law has been in effect for over a month. See id. at *3 (Sotomayor, J., dissenting). The

United States seeks to establish that its distinct, sovereign interests in upholding the supremacy of

the Constitution, safeguarding constitutional rights, ensuring the availability of judicial review, and

protecting the work of federal agencies all warrant its opportunity to sue in this Court. Based on the

following analysis, the Court holds that the United States indeed has standing to file its lawsuit with

this Court

                                                1. Standing

        The first question this Court must answer is whether the United States has the authority to

sue Texas to enjoin S.B. 8 in federal court. Article III of the Constitution confines the federal

judicial power to the resolution of “Cases” and “Controversies.” Raines v. Byrd, 521 U.S. 811, 819

(1997). For there to be a case or controversy, the plaintiff must have a “personal stake” in the case.

Id. A personal stake exists when three requirements are met: The plaintiff must show (i) that the

injury it suffers is concrete, particularized, and actual or imminent; (ii) that the injury was likely

caused by the defendant; and (iii) that the injury would likely be redressed by judicial relief. See Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (stating the three elements of Article III standing).

The standing requirements are heightened somewhat in a motion for a preliminary injunction, where

the plaintiff must make a “clear showing” that she has standing to maintain the preliminary

injunction. Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017). However, “[t]he injury alleged . . . need

not be substantial; it need not measure more than an identifiable trifle.” OCA-Greater Hous. v. Texas,

867 F.3d 604, 612 (5th Cir. 2017) (quotations omitted).




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          The United States asserts that S.B. 8 injures the federal government in two ways. (Mot.

Prelim. Inj., Dkt. 8, at 12). First, it claims S.B. 8 unconstitutionally impairs the United States’

responsibilities under federal law to provide abortion-related services in certain circumstances.

(Compl., Dkt. 1, at 2). Specifically, it argues S.B. 8 will expose the United States and its third-party

contractors to liability and increased costs for providing abortion-related services to persons in the

care and custody of federal agencies.21 Second, the United States asserts that it is “injured by Texas’s

attempt to circumvent its obligations under the federal Constitution” and “thwarting mechanisms of

judicial review provided by federal law.” Id. It contends it possesses the authority to sue when a state

violates the federal government’s interest in upholding the Constitution and injures the federal

government’s sovereignty. (Mot. Prelim. Inj., Dkt. 8, at 22).

                                              a. Injury-in-Fact

          The first requirement of Article III standing doctrine is that the plaintiff’s injury be concrete,

particularized, and actual or imminent. Lujan, 504 U.S. at 560–61. An injury is “concrete” if it is

“real, and not abstract.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2204 (2021) (citing Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1549 (2016)). Certain harms readily qualify as concrete injuries under Article

III, including traditional tangible harms such as physical or monetary injury. Id. However, a harm

need not be tangible to be concrete; various intangible harms can meet this requirement, including

violations of constitutional rights, such as freedom of speech or the free exercise of religion. Spokeo,

136 S. Ct. at 1549; TransUnion, 141 S. Ct. at 2204. A harm is particularized if the plaintiff has

personally suffered the harm. Lujan, 504 U.S. at 560 n.1. Finally, a harm is actual or imminent if the

harm has happened or is sufficiently threatening, not merely if it may occur at some future time. Id.

at 564.


 The United States offers as examples of federal agencies impacted by S.B. 8 the Department of Labor, the
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Office of Refugee Resettlement, the Bureau of Prisons, the Centers for Medicare and Medicaid Services, the
Office of Personnel Management, and the Department of Defense. (Compl., Dkt. 1, at 15–24).

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                          i. Injury-in-Fact to Federal Agencies and Programs

        Insofar as S.B. 8 impedes the federal government’s ability to provide abortion-related

services mandated by regulations, statutes, and case law, the United States has met its burden to

demonstrate a concrete, particularized, and actual injury. See id. at 561 (“The party invoking federal

jurisdiction bears the burden of establishing these elements.”). This Court finds that S.B. 8

concretely injures the United States by prohibiting federal personnel and contractors from carrying

out their obligations to provide abortion-related services and subjecting federal employees and

contractors to civil liability for aiding and abetting the performance of an abortion. (Mot. Prelim.

Inj., Dkt. 8, at 17).

        By imposing damages liability of $10,000 or more on any person performing, inducing,

aiding, or abetting an abortion, S.B. 8 exposes the federal government, its employees, and its

contractors to monetary injury. See TransUnion, 141 S. Ct. at 2204 (stating that certain harms readily

qualify as concrete injuries, such as monetary injury). Under S.B. 8, these employees and contractors

must choose between facing this civil liability and damages or violating federal regulations, statutes,

or case law. For example, the Federal Bureau of Prisons (“BOP”) regulations provide that a BOP

prison’s Clinical Director “shall arrange for an abortion to take place” when a pregnant inmate

requests an elective abortion. 28 C.F.R. § 551.23(c) (emphasis added). BOP further bears all costs of

providing an abortion “in the case of rape or incest.” (See McLearen Decl., Dkt. 8-10, at 3–4). S.B. 8,

however, may result in civil liability even when the pregnancy was caused by rape, sexual assault, or

incest. Tex. Health & Safety Code § 171.208(j) (providing only that civil actions “may not be

brought by a person” who impregnated, through rape, sexual assault, or incest, the individual

seeking an abortion).

        Several other agencies of the federal government are similarly impacted by S.B. 8. The

United States Marshals Service (“USMS”) offers individuals in its custody the opportunity to seek


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elective abortions. (Sheehan Decl., Dkt. 8-11, at 2). The Department of Defense (“DoD”) has a

statutory obligation to provide abortion services in cases where the pregnant person’s life would be

endangered by carrying the fetus to term, or in instances of rape or incest. 10 U.S.C. §§ 1074;

1093(a). The Department of Health and Human Services’ Office of Refugee Resettlement (“ORR”)

may not interfere with access to a pre-viability abortion for unaccompanied minors in the agency’s

custody. J.D. v. Azar, 925 F.3d 1291, 1338 (D.C. Cir. 2019). Indeed, the ORR must provide access to

abortion services when requested and permitted by law. (De La Cruz Decl., Dkt. 8-12, at 5). The

Department of Labor’s (“DOL”) Job Corps program employs private contractors that are

contractually obligated to inform Job Corps participants about their options to terminate a

pregnancy. (Matz Decl., Dkt. 8-14, at 2–3, 5–6; Torres Decl., Dkt. 8-13, at 3–4). The Office of

Personnel Management (“OPM”), which manages the health benefits of federal employees,

annuitants, and other statutorily eligible individuals, has contracts with providers that offer abortion

procedures in certain circumstances. (Bodenheimer Decl., Dkt. 8-15, at 2). Finally, the Medicaid

program in Texas, which is a cooperative state-federal program administered by Centers for

Medicare & Medicaid Services (“CMS”), may be required to cover abortions that are deemed

medically necessary. 42 U.S.C. § 1396d(a)(1)–(2); (Costello Decl., Dkt. 8-16, at 4).

        Crediting the declarations of the administrators of the BOP, USMS, DoD, ORR, DOL,

OPM, and CMS—and taking into account the regulations, statutes, and cases governing the

abortion-related services provided by these agencies—this Court finds that the federal government

indeed provides services that would subject federal employees and contractors to civil liability under

S.B. 8. As S.B. 8 forces these agencies to choose between facing civil damages or providing the

mandated services, this Court further finds that the United States suffers a concrete injury to its

ability to effectuate these services and programs. The injury is particularized as the impacted

agencies are agencies of the federal government. Finally, the harm is actual—S.B. 8 took effect at


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midnight on September 1, 2021. See Jackson, 2021 WL 3910722, at *3 (Sotomayor, J., dissenting).

Several of the United States’ agency administrator declarants stated that upon S.B. 8 taking effect,

they would be required to begin transporting those in their custody or care in Texas to out-of-state

locations to receive abortion services, which would increase the cost of providing those services and

possibly subject the agencies to civil liability for providing this transport. (See McLearen Decl., Dkt.

8-10, at 5–6; Sheehan Decl., Dkt. 8-11, at 4–5; De La Cruz Decl., Dkt. 8-12, at 7; Torres Decl., Dkt.

8-13, at 5–6; Matz Decl., Dkt. 8-14, 5–6). Overall, this Court finds that S.B. 8 subjects the United

States to an injury-in-fact insofar as the United States provides abortion-related services to persons

in the care or custody of federal agencies.

                                          ii. Parens Patriae Standing

        The next question is whether the United States suffers an injury-in-fact such that it has

standing to challenge a potential violation of Constitutional rights that not only impacts federal

agencies, but the public at large. The United States argues that it possesses a “sovereign interest” in

ensuring that States are not able to enact laws in plain violation of the Constitution. There is no

doubt that harms to the exercise of Constitutional rights is a concrete harm for Article III purposes.

See generally Pleasant Grove City, Utah v. Summum, 555 U.S. 460 (2009) (permitting a suit based on a

violation of free speech rights); Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520

(1993) (permitting a suit based on a violation of the Free Exercise Clause). It is further without

question that any harm posed to the United States by the enactment of S.B. 8 is actual; as stated

above, the law went into effect at midnight on September 1, 2021. The primary question, then, is

whether the United States indeed has an interest in ensuring States may not enact laws that likely

violate the Constitution such that the injury is particularized.

        States have long had the authority to sue private defendants to vindicate citizens’ rights, and,

in doing so, to vindicate the interests of the state as a sovereign. See, e.g., State of Georgia v. Tennessee


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Copper Co., 206 U.S. 230, 237–38 (1907) (holding that Georgia could sue a private company over the

release of noxious fumes because Georgia had an interest “independent of and behind the titles of

its citizens” in preventing pollution that endangered the state’s ecosystem). This authority of states

to sue private defendants in parens patriae also extends to protecting federal rights.22 See, e.g., Georgia v.

Pennsylvania Railroad Co., 324 U.S. 439, 451 (1945) (authorizing Georgia to sue a private company for

violations of federal antitrust laws because “Georgia, as a representative of the public, is complaining

of a wrong which, if proven, limits the opportunities of her people, shackles her industries, retards

her development, and relegates her to an inferior economic position among her sister states . . .

Georgia’s interest is not remote—it is immediate”).

         The State asserts that parens patriae standing is limited to state governments. (Resp., Dkt. 43,

at 18). However, this assertion is demonstrably incorrect. In Massachusetts v. Mellon, the Supreme

Court indicated in dicta that the United States may also sue to vindicate federal rights. Indeed, as the

Supreme Court noted, states may not sue the federal government to enforce their citizens’ federal

rights because “[i]n that field, it is the United States, and not the State, which represents [its citizens]

as parens patriae when such representation becomes appropriate, and to the former, and not to the

latter, they must look for such protective measures as flow from that status.” Commonwealth of Mass. v.

Mellon, 262 U.S. 447, 485–86 (1923). The Supreme Court lent further credence to this concept when

it relied on the dicta in Mellon to deny Florida leave to file a suit in parens patriae against the United

States for instituting an allegedly unconstitutional tax. Florida v. Mellon, 273 U.S. 12, 18 (1927); see also

South Carolina v. Katzenbach, 383 U.S. 301, 324 (1966) (citing Mellon in support of the proposition that

a “State does not have standing as the parent of its citizens to invoke these constitutional provisions



22Parens patriae—literally “parent of the country”—refers traditionally to the role of state as sovereign and
guardian of persons under legal disability. Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592,
600 (1982) (citing Black's Law Dictionary 1003 (5th ed. 1979)).


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against the federal government, the ultimate parens patriae of every American citizen”). The Fifth

Circuit recently reinforced the concept that states may not sue the federal government in parens

patriae to enforce Constitutional rights because the federal government is the ultimate parens patriae

when it comes to enforcement of the Constitution. Brackeen v. Haaland, 994 F.3d 249, 292 n.13

(2021) (rehearing en banc) (quoting Katzenbach, 383 U.S. at 324).

        The United States has standing to file suit in parens patriae for probable violations of its

citizens’ Constitutional rights. As stated in Pennsylvania Railroad, States can sue in parens patriae to

vindicate their citizens’ federal rights against private parties. But the dicta in Mellon (and the

subsequent case law relying on this dicta) clarifies that states’ standing to sue in parens patriae for

violations of federal and Constitutional rights does not extend to suits against the federal

government because, in that arena, the federal government’s interest in protecting its citizens’ rights

overrides the state interest. Id. This preclusion of state standing necessarily implies the existence of

federal standing. But this Court need not solely rely on this inference. The principle is stated

outright: while states may sue in parens patriae in support of federal and constitutional rights in certain

instances, the United States is the “ultimate parens patriae.” Id. When it comes to violations of the

federal and constitutional rights of U.S. citizens, the United States has standing to represent “[its

citizens] as parens patriae,” and it is to the United States they “look for such protective measures as

flow from that status.” Mellon, 262 U.S. at 485–86.

        Having established that the United States has the authority to file this suit in parens patriae, it

is necessary to identify the character of the federal government’s particular interest. The Supreme

Court has stated that to maintain an action in parens patriae, a state “must articulate an interest apart

from the interests of particular private parties, i.e., the State must be more than a nominal party.”

Snapp, 458 U.S. at 607. One way to establish this interest is by expressing a “quasi-sovereign

interest,” which is a “judicial construct that does not lend itself to a simple or exact definition,” but


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generally refers to “a set of interests that the State has in the well-being of its populace.” Id. at 601–

02, 607 (noting, for example, that a state has a quasi-sovereign interest “in the health and well-being .

. . of its residents” and “in not being discriminatorily denied its rightful status within the federal

system”).

        A sovereign interest also may support a parens patriae suit. Pennsylvania v. New Jersey, 426 U.S.

660, 666 (1976) (denying Pennsylvania leave to file a suit in parens patriae because “[n]o sovereign or

quasi-sovereign interests” of the state were implicated); Com. Of Pa. v. Porter, 659 F.2d 306, 315 (3d

Cir. 1981) (noting that a suit by Pennsylvania in parens patriae was advancing the state’s “significant

sovereign interest” in preventing violations of its citizens’ constitutional rights); South Carolina v.

North Carolina, 558 U.S. 256, 266 (2010) (stating that “when a State is a party to a suit involving a

matter of sovereign interest, it is parens patriae and it must be deemed to represent all [of] its

citizens”) (internal quotations omitted).

        The United States sets out in its reply brief that it does not “principally” rely on parens patriae

as a basis for standing because “it is suing to vindicate the government’s own interest.” (Reply, Dkt.

56-1, at 2 n.1). Possessing a sovereign or quasi-sovereign interest is, in fact, a requirement to sue in

parens patriae. The United States, although it does not explicitly rely on parens patriae to support its

standing argument, argues that it possesses both quasi-sovereign and sovereign interests in this suit.

(See Compl., Dkt. 1, at 5). Regarding quasi-sovereign interests, the United States asserts that its

interest in ensuring its citizens can invoke the power of the federal courts to vindicate their rights is

a quasi-sovereign interest “in the health and well-being” of its citizens and “in not being . . . denied

its rightful status within the federal system.” (Id. (citing Snapp, 458 U.S. at 601–02)). The State, in

response, argues that S.B. 8 is “not hazardous to women’s health.” (Resp., Dkt. 43, at 19). However,

this Court need not address the merits of these arguments. Instead, it finds that the United States

possesses an indisputably sovereign interest sufficient to support its standing in this lawsuit.


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        The United States argues that it has a “profound sovereign interest” in vindicating its citizens

constitutional rights and ensuring those rights “remain redeemable in federal court.” (Compl., Dkt.

1, 4–5). It asserts that it has a weighty interest in protecting the supremacy of the Constitution by

opposing laws that shield violations of U.S. citizens’ constitutional rights from federal judicial

review. (Reply, Dkt. 56-1, at 7). In response, the State contends that a sovereign interest in ensuring

states do not violate the Constitution cannot support Article III standing. The State supports that

argument by suggesting that sovereign injuries are limited to those described in Snapp, which include

interests in “the exercise of sovereign power over individuals” and “the power to create and enforce

a legal code.” (Resp., Dkt. 43, at 20) (citing Snapp, 458 U.S. at 601). However, sovereign interests are

not limited to those discussed in Snapp. The Supreme Court has found, for example, that a state has

a sovereign interest in ensuring it receives “an equitable share of an interstate river’s water.” South

Carolina, 558 U.S. at 274; see also New Jersey v. New York, 345 U.S. 369, 374–75 (1953). As another

example, it is also a sovereign interest for a state to protect its economy from deceptive mortgage

practices. See Nevada v. Bank of America Corp., 672 F.3d 661, 671 (2012). The interests that were

sufficient in these examples pale in comparison to the interest the United States asserts here—none

of those interests involved the potential for large-scale violations of constitutional rights and

frustration of core constitutional principles.

        The State also asserts that the United States’ interest in the case is nominal and insufficient

to establish parens patriae standing. (Resp., Dkt. 43, at 18). However, the claim that the United States’

interest in this case is merely nominal is unfounded. Federal courts have held that states suing in

parens patriae hold “significant sovereign interests of [their] own in” preventing violations of their

citizens’ constitutional rights. Porter, 659 F.2d at 315. Indeed, an interest in upholding the legitimacy

of the constitution and vindicating the constitutional rights of United States citizens is arguably even

more significant when the party seeking to do so is the federal government. See Sanitary Dist. of


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Chicago v. United States, 266 U.S. 405, 426 (1925) (noting that the United States’ sovereign interest in

enforcing constitutional provisions “seem to be stronger than those that have established a similar

standing for a state”).23 Further, the concept of parens patriae—the government as the parent of the

country—fits cleanly within the fundamental principles underlying the very sovereignty of the

United States. “The government of the Union, then . . . is, emphatically, and truly, a government of

the people . . . [i]ts powers are granted by them, and are to be exercised directly on them, and for their

benefit.” U.S. Term Limits, Inc. v. Ray Thornton, 514 U.S. 779, 839 (1995) (Kennedy, J., concurring)

(quoting M’Culloch v. Maryland, 4 Wheat. 316 404–05 (1819)) (emphasis added). The United States is

a government chartered by the people, and its sovereignty is conditioned on its ability to safeguard

the rights of its citizens. Thus, when, as here, a state appears to deprive individuals of their

constitutional rights by adopting a scheme designed to evade federal judicial review, the United

States possesses sovereign interest in preventing such a harm. This interest is sufficient to establish a

particularized injury.

                                               iii. In Re Debs Standing

         While this Court finds the doctrine of parens patriae sufficient to establish the United States’

injury for standing purposes, this Court finds, in the alternative, that the concepts underpinning In

Re Debs and its progeny likewise establish a particularized injury to sovereign interests of the United

States. Debs arose out of the Pullman rail strike of 1894. The Supreme Court held that the United

States had the authority to sue private parties for injunctive relief as the strike was obstructing

interstate commerce. In Re Debs, 158 U.S. 564, 584 (1895). In support of the United States’ interest



23The United States cites—and the State does not directly dispute the applicability of—Vt. Agency of Nat.
Ress. v. United States ex rel. Stevens. 529 U.S. 765 (2000); (see also Reply, Dkt. 56-1, at 2; Hr’g Tr., Dkt. 65, at 14).
While Vermont was a qui tam relator case in which an individual was suing on behalf of the federal
government over violations of federal law, the case is instructive here, as it states “[i]t is beyond doubt that
the complaint asserts an injury” to the sovereignty of the United States “arising from violations of its laws.”
Vt. Agency of Nat. Ress., 529 U.S. at 771.

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in the case, the Supreme Court stated, “[t]he obligations which [the United States] is under to

promote the interest of all, and to prevent the wrongdoing of one resulting in injury to the general

welfare, is often sufficient to give it a standing in court.” Id. at 584.24 This suggests the type of

interest sufficient to give the United States standing can be interpreted broadly to encompass harms

to the public interest and general welfare.

        Lower courts have had differing interpretations of the interests that can establish standing

under Debs. Some have given Debs an expansive reading, suggesting it offers the United States

standing to sue whenever an alleged harm affects the public at large. See, e.g., United States v. Brand

Jewelers, Inc., 318 F. Supp. 1293, 1296 (S.D.N.Y. 1970); Porter, 659 F.2d at 316–17 n.15. Others have

cited Debs in support of standing based on more specific interests, such as national security and

proprietary interests. See, e.g., United States v. Marchetti, 466 F.2d 1309, 1313 (4th Cir. 1972); United

States v. Allen, 179 F. 13, 17 (8th Cir. 1910). Perhaps the most common reading of Debs is that it

offers the United States standing when there are obstructions to interstate commerce. See, e.g., United

States v. City of Montgomery, 201 F. Supp. 590, 594 (M.D. Ala. 1962) (finding the United States had

standing based on large-scale obstructions to interstate commerce); United States v. Solomon, 563 F.2d

1121, 1129 (4th Cir. 1977) (declining to rely on Debs to establish standing because the case did not

involve a “factor of interstate commerce”).




24This Court notes that Debs was decided before the Supreme Court thought of standing and cause of action
as analytically distinct concepts; indeed, it was not until the Supreme Court decided Fairchild v. Hughes in 1922
that the Supreme Court began directly addressing the “right to sue” as such. Fairchild v. Hughes, 258 U.S. 126,
129 (1922) (finding that the plaintiff’s “alleged interest in the question submitted is not such as to afford a
basis for this proceeding”). This Court finds that relevance of Debs to this case is primarily in its discussion of
non-statutory, equitable causes of action. (Reply, Dkt. 56-1, at 5). Therefore, the bulk of this Court’s analysis
of Debs occurs in its discussion of the United States’ cause of action in Section IV(B)(2), infra. However, while
Debs did not directly address standing, subsequent opinions have relied on Debs to determine the
government’s interest in the proceedings for standing purposes. As such, this Court’s use of Debs to address
standing will rely heavily on courts’ interpretations of Debs in subsequent cases.

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        The State asserts that Debs and its progeny do not support the United States’ standing

argument, stating that the case stands for the limited proposition that the United States may sue to

protect its proprietary interest in the mails and its statutory authority over interstate rail commerce,

and that these narrowly defined interests are not present here. (Resp., Dkt. 43, at 20) (citing Debs,

148 U.S. at 583–84). However, the language of Debs itself does not support such a limited view of

the United States’ interests in the case. The Supreme Court explicitly stated that it declined to “place

[its] decision upon” the proprietary interest ground alone. Debs, 158 U.S. at 584. The Court further

stated that the national government has an interest in “brush[ing] away all obstructions to the

freedom of interstate commerce or the transportation of the mails,” not merely those obstructions

over which the United States has statutory authority. Id. Several of the subsequent cases that have

relied on Debs to establish the government’s standing have not read Debs to require that the

government’s interest be based on a statute. See, e.g., Brand Jewelers, 318 F. Supp. at 1297; Marchetti,

466 F.2d at 1313; United States v. City of Jackson, Miss., 318 F.2d 1, 15 (5th Cir. 1963) (noting that a

“proprietary interest provides a non-statutory basis for standing of private persons and would

provide a basis for the United States to sue . . .”).25

        Neither the Supreme Court nor the Fifth Circuit have expressly limited Debs’s implications

for standing, at times offering both more expansive and confined readings of the scope of the

interests supported by Debs. See, e.g., Hopkins Fed. Sav. & Loan Ass'n v. Cleary, 296 U.S. 315, 339

(1935) (citing Debs in support of government standing when the interest at issue involves a matter

“of grave public concern”); Wyandotte Transp. Co. v. United States, 389 U.S. 191, 201 (1967) (stating the

“United States may sue to protect its interests,” which include “ensuring . . . routes of commerce



25While the State is correct in noting that Jackson’s subsequent history left open the question of whether the
United States has standing to sue under Debs absent congressional authorization, the subsequent history does
not overrule the Fifth Circuit’s statements in Jackson regarding the government’s standing to sue without a
statutory basis.

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over which it has assumed control, remain free of obstruction”) Sanitary Dist. of Chicago v. United

States, 266 U.S. at 426 (noting Debs offered the government standing to remove obstructions to

interstate commerce); Fla. E. Coast Ry. Co. v. United States, 348 F.2d 682, 685 (5th Cir. 1965) (same);

City of Jackson, 318 F.2d at 14 (same). Furthermore, in cases where the Supreme Court or the Fifth

Circuit relied on a more limited reading of Debs, they did not do so to the exclusion of a broader

reading.

        In the absence of additional guidance from the Supreme Court and the Fifth Circuit as to the

scope of Debs’s standing analysis, this Court finds that Debs supports standing where the

government’s interest is preventing harms to “the general welfare” and the “public at large.”26 The

United States has demonstrated that its interest in this case does relate to such harms. The same

sovereign interests that supported the United States’ standing argument in parens patriae are

applicable here. The United States’ interest in vindicating its citizens constitutional rights and

ensuring those rights “remain redeemable in federal court” fits within the broad interest Debs

articulated in preventing harms that affect the public broadly. (See Compl., Dkt. 1, 4–5).

        However, this Court notes that were Debs’s progeny to be read narrowly to support standing

only in cases involving interstate commerce, the United States has likewise demonstrated an interest

sufficient to establish standing. In Debs, the Supreme Court found the United States had standing to

sue regarding protests that interfered with interstate commerce. Debs, 158 U.S. at 582. This Court

finds that S.B. 8 interferes with interstate commerce. Congress acknowledged that abortion

implicates interstate commerce when it enacted a ban on “partial-birth abortions.” See 18 U.S.C. §

1531(a). And the particular features of S.B. 8 burden interstate commerce even beyond the impacts

of traditional legislation. By extending liability to persons anywhere in the country, S.B. 8’s structure



26While the interests that form the basis for standing under Debs may be broad, the types of suits the United
States may institute based on these interests are subject to limiting principles. See infra, Section IV(B)(2).

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all but ensures that it will implicate commerce across state lines—whether through insurance

companies reimbursing Texas abortions, banks processing payments, medical device suppliers

outfitting providers, or persons transporting patients to their appointments. (Compl., Dkt. 1, at 13).

In addition to imposing liability on those coming into Texas, the law has also already had the effect

of pushing individuals seeking abortions into other states. (See Br. of Amici, Dkt. 9-1, at 25–26). This

stream of individuals across state lines burdens clinics in nearby states and impedes pregnant

individuals in surrounding states from accessing abortions due to backlogs. (See Tong Decl., Dkt. 8-

6; Cowart Decl., Dkt. 8-7; Rupani Decl., Dkt. 8-8; Yap Decl., Dkt. 8-9). These harms to interstate

commerce are independently sufficient to support the United States’ right to sue in this case.

                                               b. Causation

        The second requirement of Article III standing is that the plaintiff’s injury was likely caused

by the defendant. Lujan, 504 U.S. at 560–61. The causal connection must be such that the injury is

“fairly traceable” to the challenged action of the defendant. Id. The United States has established

that the passage of S.B. 8 caused immediate injury to interests of the United States. Its interests

include ensuring that federal agencies can follow statutes, regulations, and judicial decisions

instructing them to provide abortion-related services without the agencies being subject to liability.

S.B. 8 going into effect also harmed the United States’ sovereign interest in upholding the supremacy

of the Constitution and ensuring that citizens may access their constitutional rights. S.B. 8 taking

effect immediately chilled pregnant individuals from accessing their constitutional right to an

abortion and discouraged abortion providers from providing services, even before a single private

lawsuit was ever filed to enforce the law. (Hagstrom Miller Decl. I, Dkt 8-4, at 2 – 3; Gilbert Decl.,

Dkt. 8-2, at 12–14; Linton Decl., Dkt. 8-5, at 7–9; see also supra Section II(A). The state’s contrary

suggestion, that this chilling of access to abortion rights is a “counterintuitive theory,” minimizes

legitimate and serious constitutional injury. (See Resp., Dkt. 43, at 46).


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        The State argues that the Supreme Court’s decision in Muskrat precludes the United States

from identifying the State as the source of its injuries. According to the State, Muskrat prohibits

federal courts from hearing “a proceeding against the government in its sovereign capacity” when

“the only judgment required is to settle the doubtful character of the legislation in question.” (Resp.,

Dkt. 43, at 1) (quoting Muskrat v. United States, 219 U.S. 346, 361–62 (1911)). The State asserts that

Muskrat stands for the principle that federal courts may not hear cases to determine the

constitutionality of a statute that the sovereign itself is not enforcing, because any injury based on

such a statute is not traceable to future action of the state. (Id. at 4–5).

        But the State’s characterization of Muskrat’s holding is taken out of context and, in any

event, Muskrat does not apply here. In Muskrat, the Supreme Court assessed whether Congress could

artificially create standing for an action between parties that were not truly adverse to one another to

test the constitutionality of a law. Muskrat, 219 U.S. at 350. In 1906, Congress passed a law that

“undertook to increase the number of [Native Americans] entitled to share in the final distribution

of lands and funds” authorized by an earlier statute. Id. at 248. Disputes arose over the

constitutionality of the 1906 law, and so, in 1907, Congress passed another Act purporting to offer

standing to four individuals to sue the United States—which was to distribute the lands and funds

under the 1906 law—to test the law’s constitutionality. Id. at 348–50. However, the United States did

not have interests adverse to those of the plaintiffs; it did not seek to dispute the constitutionality of

the law or the plaintiffs’ right to receive the land and funds. Id. at 361. Congress, in manufacturing

this cause of action, was setting the stage for the Court to issue an advisory opinion on the

constitutionality of the 1906 law, and advisory opinions have been “disapproved by this Court from

the beginning.” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 101 (1998) (citing Muskrat, 219

U.S. at 362). Therefore, the central theme of Muskrat is that Congress may not artificially

manufacture standing for a plaintiff to sue a non-adverse party, because to do so would, in essence,


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require a federal court to issue an advisory opinion. Muskrat, 219 U.S. at 357. The case does not, as

the State suggests, act as a general bar from establishing standing in federal courts when a sovereign

defendant claims it cannot be held responsible for implementing and enforcing its own laws. The

State merely asserting that it is absolved of any enforcement liability does not mean that it did not

cause a constitutional injury.

          Furthermore, taking Muskrat in context, the holding does not apply here. Congress has not

purported to legislatively manufacture standing for the United States to test the constitutionality of

S.B. 8. Nor is the United States seeking an advisory opinion from this Court on the law’s

constitutionality. The United States’ suit against the State is an Article III “case or controversy.”

Interests of the United States—such as its interest in protecting federal agencies and programs from

liability, and its sovereign interest in upholding the Constitution—have already been directly harmed

by the State’s implementation of S.B. 8, and the United States seeks to enjoin the state and state

actors from continuing to engage in actions that harm those interests. Muskrat does not prevent the

United States from establishing standing in this lawsuit.

                                              c. Redressability

          The issue of redressability in this case is interwoven with the cause-of-action analysis, the

central question being whether a suit in equity is an appropriate and available remedy for the United

States.

                                            2. Cause of Action

          S.B. 8 was deliberately crafted to avoid redress through the courts. (See generally Newman

Decl., Dkt. 8-3). Yet it is this very unavailability of redress that makes an injunction the proper

remedy—indeed, the only remedy for this clear constitutional violation. No cause of action created

by Congress is necessary to sustain the United States’ action; rather, traditional principles of equity

allow the United States to seek an injunction to protect its sovereign rights, and the fundamental


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rights of its citizens under the circumstances present here. This case strikes at the core function of

the equitable cause of action, as, “[w]hether acting through its judiciary or through its Legislature, a

state may not deprive a person of all existing remedies for the enforcement of a right, which the

state has no power to destroy, unless there is, or was, afforded to him some real opportunity to

protect it.” Brinkerhoff-Faris Tr. & Sav. Co. v. Hill, 281 U.S. 673, 682 (1930). The American legal

system cannot abide a situation where constitutional rights are only as good as the states allow—

“[t]o impose on [the United States] the necessity of resorting to means which it cannot control,

which another government may furnish or withhold, would render its course precarious, the result

of its measures uncertain, and create a dependence on other governments, which might disappoint

its most important designs . . . .” M’Culloch v. Maryland, 4 Wheat. 316, 424 (1819).

                             a. The Foundations of the Equitable Remedy

        Equitable remedies have a long been established as tools available to courts, predating the

Constitution itself. See Irvine v. Marshall, 61 U.S. 558, 565 (1857) (“[C]ases in equity are to be

understood [as] suits in which relief is sought according to the principles and practice of the equity

jurisdiction, as established in English jurisprudence”). The federal judicial power extends to “all

cases, in law and equity, arising under [the] Constitution[,]” U.S. CONST. art. III, § 2, through which

grant of authority “adopt[s] equitable remedies in all cases . . . where such remedies are appropriate.”

Paine Lumber Co. v. Neal, 244 U.S. 459, at 475 (1917). As Justice Scalia has explained, suits in equity to

“enjoin unconstitutional actions by state and federal officers” are a judge-made remedy deeply

rooted in American jurisprudence, reflecting “a long history of judicial review . . . , tracing back to

England.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (quoting Jaffe &

Henderson, Judicial Review and the Rule of Law: Historical Origins, 72 L.Q. REV. 345 (1956)).

        The State is mistaken in searching for a blueprint of the cause of action here. For the United

States’ cause of action is a creature of equity, a centuries-old vehicle which eschews categorical


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definition. That remedy is available where no adequate remedy exists at law; any attempt to codify

such situations would be futile, and likely require powers of clairvoyance which no legislator

possesses. Relying on Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308 (1999), the

State argues for limiting equitable actions to the exact claims available at common law. (Resp., Dkt.

43, at 14). That reliance, however, is misplaced. Grupo Mexicano at most stands for the proposition

that federal courts have jurisdiction over suits in equity, in which the broad equitable remedies that

predate the Constitution remain available. The formal source of that jurisdiction is codified in the

Judiciary Act of 1789, as discussed in Grupo Mexicano. However, the principle itself is broader and is

not defined by that Act. Indeed, by the time he returned to the question in Armstrong, Justice

Scalia—the author of Grupo Mexicano—had dispensed with any need to locate this power in the

Judiciary Act. Nowhere in the latter case did he cite to the Judiciary Act. Rather, he wrote of general

equitable powers “tracing back to England,” translating to the “judge-made remedy” in the federal

courts. Armstrong, 575 U.S. at 327. It is the essential nature of equity that it is not subject to strict

limitations, unless and until Congress acts directly to restrict it.

        Equity exists independent of any remedies conferred under state law, as, “[t]he Federal

courts . . . are not limited to the remedies existing in the courts of the respective states, but are to

grant relief in equity according to the principles and practice of the equity jurisdiction as established

in England.” Paine Lumber, 244 U.S. at 476; see Robinson v. Campbell, 16 U.S. 212, 222–23 (1818)

(“[T]he remedies in the courts of the United States, are to be, at common law or in equity,

not according to the practice of state courts, but according to the principles of common law and

equity, as distinguished and defined in that country from which we derive our knowledge of those

principles.”). Indeed, “[t]he right to equitable relief does not depend upon the nature or source of

the substantive right whose violation is threatened, but upon the consequences that will flow from

its violation.” Paine Lumber, 244 U.S. at 476; see Holland v. Challen, 110 U. S. 15, 25, (1884) (“If the


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controversy be one in which a court of equity only can afford the relief prayed for, its jurisdiction is

unaffected by the character of the questions involved.”).

        Far from a novel vehicle, “injunctive relief has long been recognized as the proper means for

preventing entities from acting unconstitutionally.” Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74

(2001). And the action in equity is “unlike the Bivens remedy, which [courts] have never considered

a proper vehicle for altering” unconstitutional regulations.27 Id. That an equitable action is available

to challenge a violation of the United States’ sovereignty does not rest on judicial or congressional

recognition of a right of action under the specific constitutional right at issue. See Free Enter. Fund v.

Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010) (“The Government asserts that petitioners

have not pointed to any case in which this Court has recognized [a] . . . right of action directly under

. . . the Appointments Clause or separation-of-powers principles. . . . If the Government's point is

that [such a] claim should be treated differently than every other constitutional claim, it offers no

reason and cites no authority . . . .”) (quotations omitted); see Bell v. Hood, 327 U.S. 678, 684 (1946)

(“[I]t is established practice for [the Supreme] Court to sustain the jurisdiction of federal courts to

issue injunctions to protect rights safeguarded by the Constitution.”).

                                         b. Unavailability of Remedies at Law

        Equitable remedies are appropriate where “in the particular case the threatening effects of a

continuing violation . . . are such as only equitable process can prevent.” Paine Lumber, 244 U.S. at

476. That is, an injunction is appropriate where required by the “ends of justice”: where “the remedy

in equity could alone furnish relief.” Watson v. Sutherland, 72 U.S. 74, 79 (1866). A state may not,

within its authority, legislate in a manner that deprives its citizens of the avenues of redress required

under the constitution. See, e.g., McKesson Corp. v. Div. of Alcoholic Beverages & Tobacco, Dep't of Bus.


27The State attempts to analogize to Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971), and its
progeny in its objections to this suit. (Resp., Dkt. 43, at 23 n.7). But this case is not an action for damages, so
the limitations on Bivens actions and other damages actions have no bearing here.

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Regul. of Fla., 496 U.S. 18, 31 (1990) (“If a State places a taxpayer under duress promptly to pay a tax

. . . and relegates him to a postpayment refund action in which he can challenge the tax’s legality, the

Due Process Clause of the Fourteenth Amendment obligates the State to provide meaningful

backward-looking relief to rectify any unconstitutional deprivation.”); Reich v. Collins, 513 U.S. 106,

111 (1994) (“[W]hat a State may not do . . . is to reconfigure its scheme, unfairly, in midcourse—to

“bait and switch,” . . . . Georgia held out what plainly appeared to be a ‘clear and certain’

postdeprivation remedy . . . and then declared, only after Reich and others had paid the disputed

taxes, that no such remedy exists.”); cf. Webster v. Doe, 486 U.S. 592, 603 (1988) (“[Section] 102(c)

may [not] be read to exclude review of constitutional claims. . . . [W]here Congress intends to

preclude judicial review of constitutional claims its intent to do so must be clear. . . . ‘[S]erious

constitutional question[s]’ . . . would arise if a federal statute were construed to deny any judicial

forum for a colorable constitutional claim.”) (internal citations omitted). The federal courts cannot

abide state foreclosure of judicial review of constitutional claims.

        When no other remedy is available, by statutory right or otherwise provided by law,

traditional principles of equity remain to ensure that fundamental rights are protected. Indeed,

“‘[e]quity suffers not a right to be without a remedy.’” CIGNA Corp. v. Amara, 563 U.S. 421, 440

(2011) (quoting R. Francis, Maxims of Equity 29 (1st Am. ed. 1823)). Where the State has acted

deliberately to remove all possible remedies at law, equity remains available to vindicate federal

rights. See Paine Lumber Co., 244 U.S. at 474 (noting that an equitable remedy is available where

Defendants acted with “malice . . . in the intentional doing of an unlawful act, to the direct damage

of another, without just cause or excuse”). Equitable relief is not appropriate in all—or even most—

circumstances; but where it is called for, there is no doubt as to its propriety:

        The Constitution of the United States does not declare in terms that infringements of the
        rights thereby secured may be prevented by injunction. Ordinarily they may not be. It is only
        where a threatened infringement will produce injury and damage for which the law can
        afford no remedy—such, for instance, as irreparable and continuing damage, . . . —that

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         resort may be had to equity; and when this does appear, the right to an injunction arises
         because that is the only appropriate relief.

Paine Lumber Co., 244 U.S. at 476–77. Put simply, “[t]he absence of a plain and adequate remedy at

law affords the only test of equity jurisdiction . . . .” Watson, 72 U.S. at 79.

         Here, S.B. 8 is deliberately structured so that no adequate remedy at law exists by which to

test its constitutionality. By purporting to preclude direct enforcement by state officials, the statutory

scheme is intended to be insulated from review in federal court.28 The State itself concedes that the

law’s terms proscribe review by the federal courts, limiting review to state court alone. (Resp., Dkt.

43, at 27).29 And even in state court, the opportunities for review are severely constrained. By

limiting the defenses that a defendant may raise in state court, the law’s authors effectively cut off

any hope that a defendant will prevail. See supra at II(A)(3)(b). The State makes much of potential

defendants’ ability to challenge the constitutionality of the statute in state court. (Resp., Dkt. 43, at

27, 36, 45, 50). However, the law itself prohibits defendants from raising the defense that they

believed the law to be unconstitutional. Tex. Health & Safety Code § 171.208(e)(2). And by

preventing defendants from recovering any attorney’s fees in the event that they prevail, the law

winnows down the class of individuals financially able to sustain the litigation—even if they are sure

to prevail. Moreover, the scheme provides no mechanism for suit by pregnant persons seeking

abortions, the individuals most affected by the law. Given these circumstances, the Court finds that

redress at law is likely unavailable in federal court and is likely unavailable through the state courts as




28 The State’s invocation of United States v. Madison County Board of Education, 326 F.2d 237 (5th Cir. 1964),
misses the point. The issue in that case was not the general authority of the federal government to bring an
equitable action, but the propriety of it doing so when the challenged statute provided a remedy—review in
the federal courts of appeals. Id. at 242. Here, federal judicial review is not merely “inadequate,” id., it is
unavailable.
29 The State also offers the possibility that a suit could make its way to federal court if filed against a federal

officer, who then elected to remove the suit. This possibility is open to only a small subset of potential
defendants, and as such cannot suffice to render review available.

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well. Thus, this is a paradigmatic case in which equitable remedies are necessary vindicate a

fundamental constitutional right.

                               c. The United States as a Plaintiff in Equity

        The United States is well within its authority to bring this suit, as “the Constitution

contemplates suits among the members of the federal system” including those “commenced and

prosecuted against a State in the name of the United States[.]” Alden v. Maine, 527 U.S. 706, 755–56

(1999). Such a power is inherent in the very “constitutional duty” of the Executive to “take Care that

the Laws be faithfully executed.” Id. (quoting U.S. CONST. art. II, § 3). The United States may, as

may any private plaintiff with standing, resort to equity to protect its interests. As the Fifth Circuit

wrote in City of Jackson:

        [T]here is no reason to restrict the Nation's non-statutory rights of action within the same
        limits established for private persons. The Constitution cannot mean to give individuals
        standing to attack state action inconsistent with their constitutional rights but to deny to the
        United States standing when States jeopardize the constitutional rights of the Nation. Or
        that the United States may sue to enforce a statute but not sue to preserve the fundamental
        law on which that statute is based. Or that the United States may sue to protect a proprietary
        right but may not sue to protect much more important governmental rights, the existence
        and protection of which are necessary for the preservation of our Government under the
        Constitution.

318 F.2d at 15–16. The State notes that in a subsequent denial of rehearing en banc, two judges

limited their concurrences so that they did “not reach the question whether the United States would

have standing to sue under the Commerce Clause [or the Fourteenth Amendment of the

Constitution] absent all of these enactments of the Congress.” .” (See Resp., Dkt. 43, at 30) (citing

United States v. City of Jackson, Miss., 320 F.2d 870, 872–73 (5th Cir. 1963) (Bootle, J., specially

concurring); accord. id. at 873 (Ainsworth, J., specially concurring)). However, as the United States

correctly notes, that subsequent history does not alter the precedential value of the decision and its

reasoning, even if the judges ultimately relied on different ground in that instance. (Reply, Dkt. 59, at

16). And, as the United States further notes, the Fifth Circuit subsequently relied on City of Jackson as


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support for the constitutional bases for suits by the United States in the public interest. (Id.) (citing

Fla. E. Coast Ry., 348 F.2d at 685).

        Where appropriate, as here, federal courts have not hesitated to grant injunctions sought by

the United States to vindicate otherwise unprotected constitutional rights, even when no cause of

action is provided by statute. This relief is premised on the basic principle, articulated in Debs, that

“[e]very government, intrusted by the very terms of its being with powers and duties to be exercised

and discharged for the general welfare, has a right to apply to its own courts for any proper

assistance in the exercise of the one and the discharge of the other . . . .” 158 U.S. at 584. The Court

has recognized the authority of the United States to sue in equity when its own proprietary interests

are at stake. See, e.g., United States v. San Jacinto Tin Co., 125 U.S. 273 (1888); Wyandotte Transp. Co., 389

U.S. at 201 (“Our decisions have established . . . the general rule that the United States may sue to

protect its interests.”). And courts have held that interference with interstate commerce can

constitute a national interest of sufficient weight as to sustain appeals to equity by the United States.

See supra Section IV(B)(1)(a)(iii). Indeed, “[n]o delicate touch is required in weighing unlawful state

action against national policy. This is doubly true in a constitutional area, interstate commerce, in

which the Federal Government has unquestioned paramount interest. . . . Under [the Commerce

Clause] there is authority for the United States to sue without specific congressional authorization.”

City of Jackson, 318 F.2d at 13–14. In Debs, the Court enjoined protests that interfered with interstate

commerce, explaining that “[t]he strong arm of the national government may be put forth to brush

away all obstructions to the freedom of interstate commerce . . .” 158 U.S. at 582;30 see Sanitary

District of Chicago, 266 U.S. at 425–26 (“The United States is asserting its sovereign power to regulate




30To the extent that the State claims Debs should be limited as authority to cases involving interstate
commerce, (Resp., Dkt. 43, at 20–21), the Court there made clear that it did not intend its reasoning to be so
limited, cautioning, “[w]e do not care to place our decision upon this ground alone.” Debs, 158 U.S. at 584.

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commerce [and uphold its treaty obligations] . . . . [I]n matters where the national importance is

imminent and direct even where Congress has been silent the States may not act . . . .”).

        Courts have long embraced the principle that United States can sue in equity to right a

“grievous wrong upon the general public . . . .” United States v. Am. Bell Tel. Co., 128 U.S. 315, 357

(1888); see also Robbins v. United States, 284 F. 39, 46, (8th Cir. 1922) (“[N]ational policy is involved of

protecting the public in traveling within the park, and in such a case, injunction is the proper

remedy.”). This right inheres in such extreme cases where “the wrongs complained of are such as

affect the public at large, and are in respect of matters which by the constitution are intrusted to the

care of the nation, and concerning which the nation owes the duty to all the citizens of securing to

them their common rights . . . .” Debs, 158 U.S. at 586. For example, in Debs, the Court recognized

the authority of the United States to enjoin the Pullman strikes when they constituted a fundamental

threat to interstate commerce, an area of chief federal concern. Id. at 564. The United States may

properly turn to the courts for an injunction “[w]hen a State, not by some sporadic act against a

particular individual but by a law or pattern of conduct, takes action motivated by a policy which

collides with national policy as embodied in the Constitution,” and when “the action of a State

violative of the Fourteenth Amendment conflicts with the Commerce Clause and casts more than a

shadow on the Supremacy Clause . . . .” City of Jackson, 318 F.2d at 14.

        The State questions the strength of Debs as authority for this suit, but its objections are

misplaced. It cites Solomon, 563 F.2d at 1127, for the proposition that Debs requires a statutory

interest in order to provide a cause of action. (Resp., Dkt. 43, at 21).31 The State misreads both Debs

and Solomon in so arguing. In Solomon, the controversy involved “no factor of interstate commerce[,]”


31The State also cites the concurrence of Judge Tamm in Clark v. Valeo, 559 F.2d 642, 654 (D.C. Cir. 1977),
for the same point. (See Resp., Dkt. 43, at 21). This case is entirely inapposite, as it dealt with interbranch
conflict over the interpretation of election regulations and was dismissed as unripe. The considerations
relevant to executive interference in election administration raise a host of concerns related to separation of
powers and justiciability that are not present here.

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nor injury to “the public at large,” nor a “situation that constitutes a national emergency.” Solomon,

563 F.2d at 1129. By contrast, here the offending law implicates interstate commerce. See supra

Section IV(B)(1)(a)(iii). Its harms affect the public at large, as it affects any person with reproductive

capacity, who engages in sexual contact with a person with reproductive capacity, or who can

conceivably be sued under S.B. 8. See supra at II(A)(3)(a). Further, it has, in just over one month, had

a “truly catastrophic” effect. (Gilbert Decl., Dkt. 8-2, at 13). Likewise, the State’s claim that Debs is

limited to claims to abate a public nuisance is incorrect. (Resp., Dkt. 43, at 28). By its own terms,

Debs speaks of a broader federal authority: “The entire strength of the nation may be used to enforce

in any part of the land the full and free exercise of all national powers and the security of all rights

intrusted by the constitution to its care.” Debs, 158 U.S. at 582. When a public nuisance interferes

with “the full and free exercise” of federal power, then an equitable action provides a remedy. But a

public nuisance is far from the only way in which “the security of all rights intrusted by the

constitution” may be imperiled. Debs, 158 U.S. at 582.32

         These objections aside, the Court need not go so far as to endorse the broadest reading of

Debs to find a substantial likelihood of success here. First, the United States can be expected to use

its discretion in deciding to commence the significant, and potentially politically damaging,

undertaking of a suit in equity in federal court. See Alden, 527 U.S. at 751 (“When the Federal

Government asserts authority over a State's most fundamental political processes, it strikes at the


32 This case is also unlike the post Armstrong, 575 U.S. 320, cases, where courts have declined to read in
statutory causes of action where none are provided by the legislature. See Safe Streets All. v. Hickenlooper, 859
F.3d 865, 903 (10th Cir. 2017) (“[T]o determine whether a private plaintiff may enforce the [Controlled
Substances Act], we must first determine whether that plaintiff has substantive rights in the CSA that he or
she is seeking to vindicate.”). Here, the constitutional right to abortion under the Fourteenth Amendment is
firmly established, and is rooted in the Constitution rather than a legislative grant. See infra Section IV(C).
Unlike the statutory grants at issue in the Armstrong line, abortion is a substantive, enforceable right sufficient
to sustain an action for equitable relief for its protection. Similarly, the holding of Armstrong itself, that there is
no independent cause of action under the Supremacy Clause, has no bearing here, where the United States
does not purport to bring suit under that clause. Rather, it moves under the equitable cause of action available
to parties with standing who can show an ongoing violation of federal law—which Justice Scalia recognized
in Armstrong, 575 U.S. at

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heart of the political accountability so essential to our liberty and republican form of government.”).

Moreover, the confluence of circumstances here is unlikely to be repeated with such frequency as to

overwhelm the courts. The United States offers three limiting principles to determine when the

United States may bring a suit in equity to vindicate the rights of citizens: (1) a state law violates the

constitution, (2) that state action has a widespread effect, and (3) the state law is designed to

preclude review by the very people whose rights are violated. (See Hr’g Tr., Dkt. 65, at 24). The

Court expresses no opinion as to whether there may be other considerations apparent in future cases

that will call for further limiting the availability of equitable relief. However, under the circumstances

present here, it is substantially likely that the equitable cause of action has firm support, and the

United States may seek an injunction against the State.

        The final factor identified by the United States will likely carry the most weight, as states can

be expected not to deliberately deprive their citizens of redress through the courts. It is the rare case

in which direct actions by the state lead directly and indisputably to a deprivation of fundamental

federal rights.33 But in the unlikely event that the state behaves so egregiously that it actively

infringes constitutional protections, then the United States may properly sue to enjoin the offensive

action. The Fifth Circuit has affirmed this principle, granting equitable relief to the United States

“[w]hen a State, not by some sporadic act against a particular individual but by a law or pattern of

conduct, takes action motivated by a policy which collides with national policy as embodied in the

Constitution.” City of Jackson, 318 F.2d at 14; cf. Ex parte Hull, 312 U.S. 546, 549 (1941) (invalidating a

prison regulation requiring court documents to pass through an internal review process before being


33 The State cites City of Philadelphia, where the Third Circuit declined to allow the Attorney General to enjoin
purportedly unconstitutional policies of the city’s police department based in part on its fear of sanctioning
unconstrained executive interference with local policing. 644 F.2d at 201. The court there worried that to
allow federal enforcement under the circumstances there would endorse “standards . . . so vague as to lack
real content.” Id. By contrast, here there is a clear metric by which to assess the propriety of the United States’
suit: the presence of deliberate state action in violation of the supremacy of the federal government and
Constitution.

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filed because “the state and its officers may not abridge or impair petitioner's right to apply to a

federal court for a writ of habeas corpus”); Burton v. Wilmington Parking Authority, 365 U.S. 715, 725

(1961) (“By its inaction, . . . the State, has not only made itself a party to the [challenged action], but

has elected to place its power, property and prestige behind the admitted discrimination. [It] has so

far insinuated itself into a position of interdependence . . . that it must be recognized as a joint

participant . . . .”); Brinkerhoff-Faris Tr., 281 U.S. at 678–79 (where state law administrative remedy

was futile, but state court refused to hear case due to failure to exhaust administrative remedies,

equitable relief in federal court was appropriate; and “[i]f the result above stated were attained by an

exercise of the state's legislative power, the transgression of the due process clause of the Fourteenth

Amendment would be obvious”).

        Above all, it is the intentional design of the law by state actors for the chief purpose of

avoiding judicial review that sets it apart—and makes it particularly likely to be appropriate for this

Court to enjoin. Indeed, there have been many examples of unconstitutional state laws attempting to

restrict abortion—not to mention laws in other areas—in which private parties have successfully

challenged through the ordinary operation of judicial review. See, e.g., June Med. Servs., LLC v. Russo,

140 S. Ct. 2103 (2020); Hellerstedt, 136 S. Ct. at 2320; Stemberg v. Carhart, 530 U.S. 914 (2000); Planned

Parenthood of Se. Pa. v. Casey, 505 U.S. 883 (1992); Webster v. Reprod. Health Servs., 492 U.S. 490 (1989);

Thornburgh v. American Coll. of Obstetricians and Gynecologists, 476 U.S. 747 (1986); City of Akron v. Akron

Ctr. for Reprod. Health, 462 U.S. 416 (1983); Colautti v. Franklin, 439 U.S. 379 (1979); Planned Parenthood

v. Danforth, 428 U.S. 52 (1976). The United States has not brought suit over any of these laws, nor

should it have had to. But when the machinations of the state effectively cut off private access to the

federal courts, and the other factors identified by the United States are present, the situation may

warrant resort to an equitable action by the United States.




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        There can be no doubt that S.B. 8 was a deliberate attempt by lawmakers, notably its author,

State Senator Bryan Hughes, to “find another way” around resistance to enforcement of laws

criminalizing abortion. (Newman Decl., Dkt. 8-3, at 5) (citing Jenna Greene, Column: Crafty Lawyering

on Texas Abortion Bill Withstood SCOTUS Challenge, REUTERS (Sept. 5, 2021), https://reuters.com

/legal/government/crafty-lawyering-texas-abortion-bill-withstood-scotus-challenge-greene-2021-09-

05/).34 Hughes has openly described his motivation to avoid judicial review that would invalidate

S.B. 8, stating, “[w]e were going to find a way to pass a heartbeat bill that was going to be upheld.”

(Id. at 9) (citing Jacob Gershman, Behind Texas Abortion Law, an Attorney’s Unusual Enforcement Idea,

THE WALL ST. J. (Sept. 4, 2021), https://www.wsj.com/articles/ behind-texas-abortion-law-an-

attorneys-unusualenforcement-idea-11630762683). Jonathan Mitchell, who conceived of the bill,

pledged to lawmakers that S.B. 8 would “have a fighting chance, and will have a better chance than a

regular heartbeat law” to avoid, not by its content but by it structure, being invalidated as

unconstitutional. (Id. at 17) (citing Michael S. Schmidt, Behind the Texas Abortion Law, a Persevering

Conservative Lawyer, N.Y. TIMES (Sept. 12, 2021), https://www.nytimes.com/2021/09/12/us/

politics/texas-abortion-lawyerjonathan-mitchell.html). State actors worked deliberately to craft a

statutory scheme that would avoid review by the courts, and thereby circumvent any

pronouncement of its unconstitutionality. The words of the Debs Court are perhaps even more

fitting in this case: “[i]f ever there was a special exigency, one which demanded that the courts




34Hughes described the law as “a very elegant use of the judicial system”; others called it “creative lawyering”
on the part of Jonathan Mitchell—the law’s architect. (Newman Decl., Dkt. 8-3, at 5). Hughes and Mitchell
spearheaded a conference call between Hughes, Mitchell, and other legislators at which Mitchell convinced
the group to back the law. (Id. at 17). Beginning with local ordinances designed to ban abortion while
insulating municipalities from footing the bill for litigation, Mitchell set out to “counter the judiciary’s
constitutional pronouncements” protecting the right to abortion (Id. at 14–15). Mitchell was “galvanized” to
formulate the “more radical concepts” underlying the law by what he considers “political branches [that] have
been too willing to cede control of constitutional interpretation to the federal judiciary.” (Id. at 13–14).
Mitchell sought to show “that the states need not adopt a posture of learned helplessness in response to
questionable or unconstitutional rulings.” (Id. at 15).

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should do all that courts can do, it was disclosed by this bill . . . .” 158 U.S. at 592. Without

endorsing the breadth of the principle in Debs, equity allows the United States to sue when other

remedies are deliberately withheld by the State.

                                     d. The Lack of Statutory Basis

        Finally, equitable remedies need not be rooted in an act of Congress. Defendants make

much of the lack of a statutory cause of action under which the United States may sue. However,

“[t]he principles of equity exist independently of, and anterior to, all congressional legislation.”

United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 339 (1906). As Justice Miller explained,

“[t]he powers of the executive officers of England are . . . vested in the executive officers of the

United States” not automatically but as “defined by law, constitutional or statutory,” such “that to one or

both of these sources we must resort . . . .” San Jacinto Tin Co., 125 U.S. at 307–08 (quoting the case of

The Floyd Acceptances, 7 Wall. 676 (1868)) (emphasis added). And the absence of statutory language

enshrining these equitable principles in law cannot alone diminish their force. The Supreme Court

has “frequently cautioned that [i]t is at best treacherous to find in congressional silence alone the

adoption of a controlling rule of law.” United States v. Wells, 519 U.S. 482, 496 (1997); see Pension Ben.

Guar. Corp. v. LTV Corp., 496 U.S. 633, 650 (1990) (discussing how congressional “inaction lacks

‘persuasive significance’ because ‘several equally tenable inferences’ may be drawn . . . .”) (quoting

United States v. Wise, 370 U.S. 405, 411 (1962)); see Helvering v. Hallock, 309 U.S. 106, 119–20 (1940)

(“To explain the cause of non-action by Congress when Congress itself sheds no light is to venture

into speculative unrealities.”). Thus, the absence of a statutory cause of action should not be equated

with a decision by Congress to withhold a cause of action.

        The State makes much of legislative history from the 1950s and 1960s regarding a statutory

cause of action for the Attorney General to bring equitable actions to enforce Fourteenth

Amendment rights. (Resp., Dkt. 43, at 46). In United States v. City of Philadelphia, the Third Circuit


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looked to debates regarding three provisions that Congress considered and ultimately did not pass.

644 F.2d 187, at 193–97 (3d Cir. 1980). It took that history to evince a legislative intent “to deny the

government the right of action here.” Id. at 197. But that history has little bearing on the action here.

City of Philadelphia and the legislative debates it cites must be understood in their respective contexts.

The legislative debates in the 1950s and 1960s were concerned exclusively with enforcement of the

Civil Rights Acts of 1957, H.R. 6127, 85th Cong. (1957), the Civil Rights Act of 1960, H.R. 8601,

86th Cong. (1960), and the Civil Rights Act of 1964, H.R. 7152, 88th Cong. (1964). Those statutes

were addressed at countering racial discrimination specifically, just as the City of Philadelphia litigation

itself concerned racially discriminatory policing practices subject to the civil rights statutes. City of

Philadelphia, 644 F.2d at 190. The legislative debates at issue occurred between 1957 and 1964,

placing them a decade before the Supreme Court first recognized the right to abortion in Roe v.

Wade, 410 U.S. 113 (1973). Congress could not have considered and declined to provide a cause of

action relating to the right to abortion before the right itself had ever been recognized. The

implication that these legislators intended to express any opinion at all regarding a right that did not

yet exist, in discussions relating specifically to the Civil Rights Acts, borders on the absurd.

         The legislators there could not have contemplated the possibility, much less intended, that

their discussions regarding civil rights enforcement would have the effect of ousting other

constitutional rights. In considering enforcement of the Civil Rights Acts, Congress took pains to

ensure that adequate procedural mechanisms were available. See, e.g., City of Philadelphia, 644 F.2d at

194 (“[Congress] provided several criminal and civil actions. In s 9 of the Civil Rights Act of 1866, . .

. it even authorized the President to call out the military ‘to prevent the violation and enforce the

due execution of this Act.’”); id. at 197 (“The Judiciary Committee deleted the proposed Title III and

reported H.R. 7152 with a substitute designed to authorize the Attorney General under certain

circumstances to sue to enjoin racial segregation in public facilities owned or operated by a state or


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local government.”). But by providing for enforcement in this single area, it in no way precluded any

mechanisms for constitutional enforcement in other areas. This legislative history cannot stand for

the proposition that there is no cause of action when the state has acted, as it has here, to actively,

aggressively, and deliberately deprive its citizens of a constitutional right.

        While the reasoning of City of Philadelphia may be faulty in its breadth—and to the extent that

it purports to speak to all litigation under the Fourteenth Amendment, see id. at 196—the result is

correct. There, unlike here, no freestanding right to relief in equity existed because a remedy was

available at law. Here, no such remedy is available because of the state’s decision to foreclose any

avenue of relief. There, ordinary enforcement mechanisms whereby citizens could vindicate their

federal rights had not been curtailed by the state. Instead, “Congress ha[d] enacted a comprehensive

remedial scheme while deliberately refusing to create the right of action asserted here.” City of

Philadelphia, 644 F.2d at 199–200. A private right of action remained under the Civil Rights Acts. Id.

at 206. Indeed, the Court provided a laundry list of available mechanisms by which the injuries

arising out of unlawful policing practices could be remedied: (1) private suits against “state officials

for damages or injunctive relief under 42 U.S.C. §§ 1981, 1982, 1983, and 1985;” (2) class actions on

the same bases; (3) private actions against the city under Owen v. City of Indep., 445 U.S. 622 (1980),

and Monell v. Dep’t of Soc. Servs. of the City of N.Y., 436 U.S. 658 (1978); (4) private injunctive actions

which had “been maintained successfully against ‘widespread’ violations committed by local law

enforcement officials;” and (5) criminal prosecutions by the United States for constitutional

violations under 18 U.S.C.A. §§ 241 and 242. City of Philadelphia, 644 F.2d at 192–93. There can be

no claim that no remedies at law existed for the injuries there, even if the efficacy of those remedies

is less than clear. The same cannot be said here. And, in particular, it is the deliberate action by the

State to foreclose all private remedies that separates this case from City of Philadelphia. Thus, the




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legislative history discussed in City of Philadelphia cannot be taken as evidence of legislative intent to

foreclose the equitable cause of action here.

        Neither does the private right of action under § 1983 foreclose this suit.35 There is no

evidence that § 1983 was meant to displace suits brought by the United States. That mechanism is

designed to empower private plaintiffs in their suits against state officers; it is not a tool for the

United States as plaintiff. See Hernandez v. Mesa, 140 S. Ct. 735, 747 (2020) (“[T]he limited scope of §

1983 weighs against recognition of the Bivens claim” as both provide analogous remedies to private

parties). Section 1983 in no way divests the United States of its existing cause of action in equity, nor

scales back that equitable authority. The equitable cause of action predates the private cause of

action and would have continued to exist whether § 1983 had been enacted. Moreover, it would

have been antithetical to the purposes of § 1983 to, by the same legislative act, restrict the United

States’ ability to protect against the constitutional ills targeted by the private right of action. And if

these principles were ever in doubt, the State provides no evidence whatsoever for its affirmative

defense that Congress intended to supersede preexisting equitable remedies through its enactment of

§ 1983. See, e.g., United States v. Haggerty, 997 F.3d 292, 299 (5th Cir. 2021) (“[A]n affirmative defense .

. . must first be raised by a defendant—i.e., the defendant bears the burden of pleading and

production . . . .”).

        Further, under the State’s construction, the United States would have less of a claim to

enforce the Fourteenth Amendment than other parts of the constitution. (See Hr’g Tr., Dkt. 65, at



35The United States correctly notes, (see Reply, Dkt. 59, at 10), that the legislative debates at issue in City of
Philadelphia took place were nearly a century after Congress created the § 1983 individual cause of action for
constitutional violations as part of the Ku Klux Klan Act of 1871. See Monroe v. Pape, 365 U.S. 167, 171 (1961).
This substantial gap in time counsels against reading § 1983 together with the debates at issue in Philadelphia as
support for an implicit denial of a cause of action for the United States. See Gomez-Perez v. Potter, 553 U.S. 474,
486 (2008) (“Negative implications raised by disparate provisions are strongest’ in those instances in which
the relevant statutory provisions were ‘considered simultaneously when the language raising the implication
was inserted.”) (quotations omitted).

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26). This cannot be the case. The suggestion is particularly troubling given the context in which the

Fourteenth Amendment was passed and ratified. The history of Reconstruction is populated with

instances of states failing to protect the constitutional rights of their citizens. See, e.g., McDonald v.

City of Chi., Ill., 561 U.S. 742, 857 (2010) (Thomas, J., concurring) (chronicling the history of lynching

of Black people following the Civil War); Briscoe v. LaHue, 460 U.S. 325, 337 (1983) (“[Ku Klux]

Klan outrages—arson, robbery, whippings, shootings, murders, and other forms of violence and

intimidation. . . . went unpunished . . . because Klan members and sympathizers controlled or

influenced the administration of state criminal justice.”); Strauder v. State of W. Va., 100 U.S. 303, 310

(1879) (“[T]he statute of West Virginia, discriminating in the selection of jurors, as it does, against

negroes because of their color, amounts to a denial of the equal protection of the laws to a colored

man when he is put upon trial for an alleged offence against the State . . . .”). This abdication of duty

led to the ratification of the Fourteenth Amendment, an attempt to use federal power and

affirmative federal enforcement to protect those abandoned, if not targeted, by the states. Indeed,

the Department of Justice itself was created in this same period to serve these same ends.36 Thus, the

power to sue to vindicate the constitutional rights of citizens against states that would infringe them

strikes at the core of the mandate of the Department of Justice, and the essence of the Fourteenth

Amendment.

        As to abortion regulations specifically, the State cites the cause of action provided to the

Attorney General in the Freedom of Access to Clinic Entrances Act of 1993, H.R. 796, 103rd Cong.

(1993) (codified at 18 U.S.C. § 248(c)(2)(A)), as evidence that Congress has contemplated all of the

potential rights of action it could create related to abortion and has “refused to create a broader

cause of action for the Attorney General.” (Resp., Dkt. 43, at 16). Yet this is only one narrow


36
  See Bryan Greene, Created 150 Years Ago, the Justice Department’s First Mission Was to Protect Black Rights,
SMITHSONIAN MAG. (July 1, 2020), https://www.smithsonianmag.com/history/created-150-years-ago-
justice-departments-first-mission-was-protect-black-rights-180975232/.

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provision addressed to a single issue within the much broader field of abortion rights. To suggest

that Congress has given its final word on the subject of abortion through this single statute would

read far more into that enactment than could have plausibly been intended. Abortion is a robust

right, implicating numerous areas of potential regulation. Yet there is remarkably little legislation on

the subject. Indeed, it is the lack of comprehensive federal regulation of abortion that makes the

State’s invocation of statutory causes of action regarding desegregation—a densely regulated area—

particularly inapt. (Resp., Dkt. 43, at 48) (citing 42 U.S.C. §§ 2000b(a), 2000c-6(a)). The absence of a

legislatively created cause of action should not be taken to be more than it is: a lack of Congressional

action one way or the other, with no effect on the preexisting equitable cause of action. Because

Congress has not acted, nothing about this action in equity supersedes any act of Congress. Rather,

it is the State that attempts by this law to supersede the Supremacy Clause and the Fourteenth

Amendment.

        The Court finds the United States is substantially likely to establish a cause of action in

equity against the State.

                                             3. Scope of Relief

        The State’s deliberate attempts to evade federal judicial review extend to the form and scope

of relief that may be afforded by this Court. The United States seeks a preliminary and permanent

injunction against the State prohibiting the enforcement of S.B. 8. (Compl., Dkt. 1, at 26).

Specifically, the United States seeks to enjoin three categories of obligors: (1) the State, (2) state

actors, and (3) private individuals. (Id.). Based on the analysis below, the Court concludes it has the

authority to enjoin the State, its officials, and private individuals.

                                   a. Application to the State of Texas

        Prior to the ratification of the U.S. Constitution, and over the centuries since its ratification,

politicians, scholars, and judges have debated the extent to which federal courts may hear and grant


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relief in a lawsuit against a state. The Constitution and our system of government and laws were

structured to protect state sovereignty for many important reasons, including the desire to uphold

federalism and preclude the national government from “act[ing] upon and through the States.” The

Federalist No. 15 at 109 (Alexander Hamilton). The Eleventh Amendment states: “The Judicial

power of the United States shall not be construed to extend to any suit in law or equity, commenced

or prosecuted against one of the United States by Citizens of another State, or by Citizens or Subject

of any Foreign State.” U.S. CONST. amend. XI. Although the Eleventh Amendment somewhat

minimally protects states from suit, “the Constitution’s structure, its history, and the authoritative

interpretations by [the Supreme] Court make clear, the States’ immunity from suit is a fundamental

aspect of [state] sovereignty.” Alden, 527 U.S. at 755. State sovereignty is not unbounded. States are

“residuary sovereigns,” and “States and their officers are bound by obligations imposed by the

Constitution . . . that comport with the constitutional design.” Id. at 748, 755.

        Within that framework, the threshold question in this Court’s sovereign immunity analysis—

whether the State is shielded from an equitable suit brought by the United States—presents virtually

no complications. The Supreme Court has explained in no uncertain terms that “[i]n ratifying the

Constitution, the States consented to suits brought by other States or by the Federal Government.”

Alden, 527 U.S. at 755; see also United States v. Mississippi, 380 U.S. 128 (1965) (“The reading of the

Constitution urged by Mississippi [that a state cannot be sued by the United States] is not supported

by precedent, is not required by any language of the Constitution, and would without justification in

reason diminish the power of courts to protect the people of this country against deprivation and

destruction by States of their federally guaranteed rights.”). For the same reasons, the State is not




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shielded by the principle of sovereign immunity from this equitable lawsuit by the United States,

and, quite reasonably, the State does not contend otherwise.37

        Even in the absence of a dispute, this Court briefly examines the rationale for why a state

yields its sovereignty to the federal government as it guides the Court’s analysis. In Alden, the

Supreme Court discussed the history and contours of state sovereign immunity at length. 527 U.S. at

712–30, 41–48. While recognizing Maine’s sovereign powers derive from the structure of our

Constitution, the Supreme Court clarified that the “constitutional privilege of a State to assert its

sovereign immunity in its own courts does not confer upon the State a concomitant right to

disregard the Constitution or valid federal law.” Id. at 754–55. The Court continued: “We are

unwilling to assume the States will refuse to honor the Constitution . . . . The good faith of the

States thus provides an important assurance that ‘[t]his Constitution, and the Laws of the United

States which shall be made in Pursuance thereof . . . shall be the supreme Law of the Land.’” Id. at

755 (quoting U.S. CONST. art. VI). Here, the State—by fashioning S.B.8 to insulate it from federal

judicial review and then enacting it as law despite its apparent deprivation of a recognized

constitutional right—appears to be intentionally doing the very thing the Supreme Court was

unwilling to fathom.

        Satisfied that the United States has standing to seek injunctive relief to vindicate the rights of

its citizens, uphold the primacy of the Constitution, and safeguard our republic’s system of law

against the State’s aggressively defiant acts, this Court holds that it has the authority to enjoin the

State of Texas. The State offers virtually no rebuttal, other than to argue that it must understand

“who is supposed to do what” in the face of an injunction.38 (Mot. Dismiss, Dkt. 50-2, 15–16). The


37 The Court notes that S.B. 8 claims the State “has sovereign immunity . . . in any equitable action that
challenges the validity of [S.B. 8] on constitutional grounds or otherwise.” Tex. Health & Safety Code §
171.211(b).
38 The State’s role demonstrates the United States’ injuries are fairly traceable and redressable by the State as

explained supra Section IV(B)(2), (3).

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Court generally agrees. To that end, the Court asked the State during the preliminary injunction

hearing: “[I]f the Court were to enjoin the state of Texas from giving effect to this statute, what

would you believe that would obligate you to do, if anything?” (Hr’g Tr., Dkt. 65, at 89–90). The

State responded:

        Honestly, I’m not sure and I think that’s part of the problem. If it just says the state
        of Texas standing alone and our position, I think correctly, is that the state of Texas
        is not enforcing this, then I would hope that we could get some kind of further
        clarity from the Court about what exactly the Court intends. I don’t know if any -- I
        don’t mean to suggest that anyone would want to do anything that could lead to
        contempt. Again, I’m not sure. It’s hard to imagine what it -- like should I call state
        court judges and tell them to be on the lookout for these filings?

(Id. at 90). The State effectively conceded that its employees, like state judges, have a role to play if

the Court were to issue an injunction against the State.

        Indeed, the State has its prints all over the statute. The operation and enforcement of S.B. 8

requires the State and its employees to act, whether those acts are the maintenance of a lawsuit or

carrying out a court order regarding the enforceability of S.B. 8. The State enacted S.B. 8 when

Governor Abbott signed it into law; the law represents the State’s pre-viability abortion policy; the

State chose to partially delegate its enforcement authority to private individuals; and the State’s

judiciary accepts and hears S.B. 8 lawsuits. See, e.g., (Resp., Dkt. 43, at 49–50) (explaining how the

State, through S.B. 8, chose to regulate abortion care: “Texas has not banned all pre-viability

abortions,” and “Texas has enacted a private cause of action”). And the State continues to defend

S.B. 8, disclaiming responsibility by pointing the finger at the private individuals who the State

deputized as enforcers. The State’s disavowal of S.B. 8 is unconvincing. Employing a private cause

of action neither relieves the State of its obligations to enforce and maintain its own law nor

exempts the State from this federal court’s authority to impose an injunction.

        The Supreme Court recognized that states cannot avoid the preservation of constitutional

rights through a scheme of deflection in Cooper v. Aaron, 358 U.S. 1 (1958). In Cooper, the Little Rock


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schools sought to delay mandated desegregation largely because of the unrest caused by Arkansas’s

governor whose troops blocked Black students from entering a white high school in 1957. Id. at 17.

“Had Central High School been under the direct management of the State itself, it could hardly be

suggested that those immediately in charge of the school should be heard to assert their own good

faith as a legal excuse for delay in implementing the constitutional rights of these respondents, when

vindication of those rights was rendered difficult or impossible by the actions of other state officials.

The situation here is in no different posture because the members of the School Board and the

Superintendent of Schools are local officials; from the point of view of the Fourteenth Amendment,

they stand in this litigation as the agents of the State.” Id. at 15–16. Quoting from Ex parte Virginia,

100 U.S. 339, 347 (1879), the Supreme Court explained that ‘“[a] State acts by its legislative, its

executive, or its judicial authorities . . . . Whoever, by virtue of public position under a State

government, . . . denies or takes away the equal protection of the laws, violates the constitutional

inhibition; and as he acts in the name and for the State, and is clothed with the State’s power, his act

is that of the State. This must be so, or the constitutional prohibition has no meaning.”’ Cooper, 358

U.S. at 16–17. The Supreme Court concluded: “Thus the prohibitions of the Fourteenth

Amendment extend to all action of the State denying equal protection of the laws; whatever the

agency of the State taking the action, or whatever the guise in which it is taken.” Id. at 17.

        Likewise, the State’s scheme to disguise its enforcement role and disclaim accountability

collapses upon cursory inspection. The State enacted S.B. 8 and created a private enforcement

scheme that clothes private individuals with the State’s enforcement power. See id. at 17. That

delegation alone would have been sufficient to show state action. The practical operation of an S.B.

8 lawsuit in Texas courts deepens the State’s enforcement role. As set out above, the State plays a

role at every step of an S.B. 8’s lifecycle in Texas courts. A private cause of action enforcement

scheme is meaningless without state action. Yet, the State endeavors to use it as a sword (to


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effectuate its regulation of abortion) and a shield (to insulate those regulations from federal review).

The State cannot pin the enforcement of S.B. 8 solely on the backs of private individuals and avoid

federal judicial review or injunctive relief. An injunction properly runs against the State.

        The United States also asks this Court to stay all state court proceedings brought under S.B.

8. (Reply, Dkt. 56-1, at 26). The Anti-Injunction Act provides that federal courts generally are

prohibited from enjoining state court proceedings. 28 U.S.C. § 2283. That restriction does not apply

when the United States seeks the injunction. In re Grand Jury Subpoena, 866 F.3d 231, 233 (5th Cir.

2017). Federal courts, in suits brought by the United States, have enjoined state court proceedings.

See, e.g., United States v. Texas, 356 F. Supp. 469, 473 (E.D. Tex. 1972), aff’d, 495 F.2d 1250 (5th Cir.

1974) (“Accordingly, it is . . . [o]rdered that the District Court of Dallas County, 162nd Judicial

District of the State of Texas, is permanently enjoined from further proceedings in the case.”).

Given that the State does not argue otherwise, this Court finds that it also can enjoin the state

judiciary without running afoul of the Anti-Injunction Act.39

                                      b. Application to State Officers

        In addition to sovereign immunity not shielding the State from this suit, the doctrine of

sovereign immunity also offers no protection to state actors when the United States sues a state in

an equitable action like this. Typically, a person, rather than the United States, sues a state official for

a violation of a constitutional right, and the Court starts from the premise that the state has

sovereign immunity and looks to whether the Ex parte Young exception to sovereign immunity

applies. In Ex parte Young, the Supreme Court held that lawsuits may proceed in federal court when a

plaintiff requests prospective relief against state officials in their official capacities for ongoing


39 The State contends that an injunction against it would not bind its courts from hearing S.B. 8 lawsuits with
a strained analogy to Muskrat, 219 U.S. at 362. (Resp., Dkt. 43, at 12–13). While the Muskrat Court expressed
a concern about advisory opinions, Muskrat has no bearing on whether an injunction prohibiting the State
from maintaining S.B. 8 lawsuits also binds the judges and court clerks who oversee and administer S.B. 8
lawsuits.

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federal violations. 209 U.S. 123, 159–60 (1908). The exception “rests on the fiction . . . that because

a sovereign state cannot commit an unconstitutional act, a state official enforcing an

unconstitutional act is not acting for the sovereign state and therefore is not protected by the

Eleventh Amendment.” Okpalobi v. Foster, 244 F.3d 405, 411 (5th Cir. 2001). Because state officials

lack sovereign immunity protection in a suit brought by the United States, this Court need not

address whether their conduct falls within the Ex parte Young exception.40 Even so, the Supreme

Court’s reasoning for creating the Ex parte Young exception informs this Court’s determination. The

exception “is based in part on the premise that sovereign immunity bars relief against States and

their officers in both state and federal courts, and that certain suits for declaratory or injunctive relief

against state officers must therefore be permitted if the Constitution is to remain the supreme law of

the land.” Alden, 527 U.S. at 747. It is rooted in the “supreme authority of the United States.” Young,

209 U.S. at 167.

        Lacking the protections of sovereign immunity, an injunction against the State also would

run as to people who act as an arm of the state, such as state judicial officials like judges and court



40 In Jackson, Chief Justice Roberts noted in his dissent that the procedural posture of that case before the
Supreme Court required the Supreme Court to address “particularly difficult” questions like “whether the
exception to sovereign immunity recognized in Ex parte Young . . . should extend to state court judges in
circumstances such as these” in the “course of two days.” 2021 WL 3910722, at *2 (Roberts, C.J., dissenting).
In addition to having a brief but longer period of time than two days for consideration, this Court not
required to conduct an Ex parte Young analysis by virtue of the United States bringing this equitable lawsuit
and eliminating the State’s claim to sovereign immunity. This also is not a case brought by individuals against
a state like the abortion providers who sued the Louisiana governor and attorney general in Okpalobi. 244
F.3d at 409. There, the Fifth Circuit, sitting en banc, was confronted with whether the Ex parte Young
exception protected Louisiana from suit by individuals when no enforcement connection existed between the
abortion statute and the two state officials. Id. at 416–17. Similarly, this Court is not constrained by the
concerns expressed by the Fifth Circuit in Jackson, when it found no enforcement connection between the
judges and court clerks and S.B. 8 under the rubric of an Ex parte Young analysis. Whole Woman’s Health v.
Jackson, No. 21-50792, 2021 WL 4128951, at *4 (5th Cir. Sept. 10, 2021) (“Plaintiffs fail to show any
enforcement connection between any of the State Defendants and S.B. 8, and therefore cannot satisfy either
understanding of Ex parte Young.”).




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clerks. Given that it is the threat of S.B. 8 lawsuits that deters providers from offering abortion care

services, see supra Section IV(B)(1)(a)(i), an injunction must halt existing S.B. lawsuits and prevent

new suits from being maintained by the state judiciary. Even though private individuals file S.B. 8

lawsuits, the state judiciary plays a role in the lawsuits through several official actions including

docketing, maintaining, hearing, and rendering relief in an S.B. 8 lawsuit.41 The State cannot claim

that its state court judges and court clerks are not “officers, agents, servants, [or] employees” of the

State. Fed. R. Civ. P. 65(d)(2); see, e.g., Tex. Gov’t Code § 411.201 (‘“Active judicial officer’ means . . .

a person serving as a judge or justice of the supreme court, the court of criminal appeals, a court of

appeals, a district court, a criminal district court, a constitutional county court, a statutory county

court, a justice court, or a municipal court[.]”). When they act in their official capacities, state district

court judges and court clerks generally act as an arm of the state as a state official. See Clark v. Tarrant

Cty., Tex., 798 F.2d 736, 744 (5th Cir. 1986) (stating that Texas “district judges . . . are undeniably

elected state officials.”); Holloway v. Walker, 765 F.2d 517 (5th Cir. 1985) (recognizing that Texas

state judges are state elected officials), cert. denied, 474 U.S. 1037 (1985); see also Davis v. Tarrant Cty.,

Tex., 565 F.3d 214, 228 (5th Cir. 2009) (“[In cases brought by individuals,] Texas judges are entitled

to Eleventh Amendment immunity for claims asserted against them in their official capacities as

state actors.”).

        The Fifth Circuit’s opinion in Jackson, 2021 WL 4128951, reinforces what S.B. 8 already

makes clear: Texas courts are a necessary component to the operation of S.B. 8. In Jackson, the Fifth

Circuit considered whether to stay this Court’s proceedings in a related case challenging the



41Even taking into account the Fifth Circuit’s pronouncement that because S.B. 8 states that it ‘“shall be
enforced exclusively through the private civil actions[,]’” Jackson, 2021 WL 4128951, at *4 (quoting Tex.
Health & Safety Code § 171.207(a)), “exclusive means exclusive,” id., and therefore state judges and clerks
have no connection to the enforcement of S.B. 8 actions, this Court is not bound by the Fifth Circuit’s Ex
parte Young analysis in Jackson regarding sovereign immunity since the state actors in this case have no claim to
sovereign immunity.

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constitutionality of S.B. 8. Id. at *1. In deciding to stay the proceedings in the district court, the Fifth

Circuit recognized the sovereign immunity claim of state officials, including a state district judge and

court clerk, id. at *3, and did not shy away from the notion that state judicial officials act as an arm

of the state, referring to state district “court clerks who act under the direction of judges acting in

their judicial capacity.” Id. at *5. In this case, the United States seeks to enjoin the State “including all

of its officers, employees, and agents.” (Compl., Dkt. 1, at 26). Just like Jackson, this lawsuit

challenges the constitutionality of the same law and revolves around the same operative facts. One

significant, material difference between this case and Jackson is that the United States is the plaintiff

here. In both cases, the courts have determined that state officials like judges and clerk act as an arm

of the State, but the legal conclusions drawn from that determination differ: there, being a state actor

potentially protects judges and clerks from suits brought by individuals whereas, here, being a state

actor provides no protection to judges and clerks from a suit brought by the United States. In other

words, “Texas’s scheme to insulate its law from judicial review by deputizing private parties to carry

out unconstitutional restrictions on the State’s behalf” unravels in the face of a lawsuit by the United

States. Jackson, 2021 WL 3910722, at *5 (Kagan, J., dissenting). In Jackson, clinging to sovereign

immunity was a (thus far) successful strategy; in this case, it is the judges and clerks’ very role as state

officials that leaves them vulnerable to an injunction.

        The State’s main argument seems to be that, even if state judges and court clerks act as an

arm of the state, S.B. 8’s language divorces the State from enforcement of the law—“the State does

not enforce [S.B. 8],” (Resp., Dkt. 43, at 17)—and relies on individuals to bring private causes of

action. The law states:

        [T]he requirements of this subchapter shall be enforced exclusively through the
        private civil actions described in Section 171.208. No enforcement of this
        subchapter, and no enforcement of Chapters 19 and 22, Penal Code, in response to
        violations of this subchapter, may be taken or threatened by this state, a political
        subdivision, a district or county attorney, or an executive or administrative
        officer or employee of this state or a political subdivision against any person.

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Tex. Health & Safety Code § 171.207. S.B. 8’s enforcement provision states that only private

individuals can bring an S.B. 8 suit. It is a fallacy to allow the State to disclaim an enforcement role.

See Shelley v. Kraemer, 334 U.S. 1 (1948); (see supra Section IV(B)(3)(a); see infra Section IV(B)(3)(c)). A

lawsuit’s very existence requires state action; it cannot be filed, maintained, heard, or resolved

without state action. Indeed, S.B. 8 expressly states that an individual who files an S.B. 8 lawsuit

relies on state action: a person “may bring a civil action,” may “prevail in [the] action,” “the court

shall award[] injunctive relief[,] statutory damages[,] and . . . costs and attorney’s fees.” Tex. Health &

Safety Code § 171.208(a), (b). S.B. 8 further dictates when courts cannot award damages. Id. §

171.208(c). S.B. 8 mandates when courts cannot award attorney’s fees and costs. Id. § 171.208(i). S.B.

8 instructs when courts may not award relief. Id. § 171.209(f). S.B. 8 even explicitly grants “official

immunity” to “each [state] officer and employee” who is sued in a challenge to S.B. 8. Id. §

171.211(b). Any argument that the State, through its judicial system and judges, is not involved in

the enforcement of S.B. 8 lawsuits is contradicted by the plain language of the statute and by the

reality of how state courts operate as an arm of the state to enforce the law, especially when the State

has intentionally crafted a statute to employ private citizens as its proxy. Put simply, the State’s

participation in enforcing S.B. 8 lawsuits amounts to actionable state action. See Shelley, 334 U.S. at

18 (“[I]t has never been suggested that state court action is immunized from the operation of [the

Fourteenth Amendment] simply because the act is that of the judicial branch of the state

government.”).

        Finally, federal courts have the authority to specifically enjoin state judicial officials should

this Court enjoin natural persons in addition to the State. The Supreme Court has instructed that

“judicial immunity is not a bar to prospective injunctive relief against a judicial officer acting in her

judicial capacity.” Pulliam v. Allen, 466 U.S. 522, 541–42 (1984); see Mireles v. Waco, 502 U.S. 9, 10 n.1

(1991) (stating that while a judge is generally immune from a suit for money damages, a “judge is not

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absolutely immune from criminal liability . . . or from a suit for prospective injunctive relief”). In

Pulliam, the Supreme Court considered judicial immunity in Section 1983 actions but, in its

reasoning, it relied, in part, on the “common law’s rejection of a rule of judicial immunity from

prospective relief.” 466 U.S. at 536. Because its reasoning sounded partly in the common law, the

Pulliam’s Court reasoning and its conclusion that prospective relief is available against state court

judges undermines the State’s argument that Article III prohibits federal court relief against state

judges acting in their Article III capacity.

                                  c. Application to Private Individuals

        The United States also asks this Court to enjoin those “private parties who bring suit under

S.B. 8.” (Compl., Dkt 1, at 26). The private individuals, like the state officials, are themselves acting

as an arm of the state. The State entrusted part of its enforcement authority to private individuals by

deputizing them to bring S.B. 8 lawsuits. Jackson, 2021 WL 3910722, at *3 (Sotomayor, J., dissenting)

(“[T]he Texas Legislature has deputized the State’s citizens as bounty hunters, offering them cash

prizes for civilly prosecuting their neighbors’ medical procedures.”). In Jackson, the Fifth Circuit’s

analysis of its appellate jurisdiction over a private individual who might sue under S.B. 8 hinged on

the fact that the “connection between judges, clerks, and [the private individual are] impossible to

miss.” Jackson, 2021 WL 4128951, at *7. So much so that the Fifth Circuit determined that the

private individual’s “jurisdictional issues [under S.B. 8] are ‘inextricably intertwined’ with the same

issues in the State Defendants’ appeal . . . .” Id. (quoting Swint v. Chambers Cty. Comm’n, 514 U.S. 35,

51 (1995)). S.B. 8 vests private individuals with the authority to enforce the statute, “a traditionally

exclusive state power.” (Mot. Prelim. Inj., Dkt. 8, at 40). The Chief Justice of the Supreme Court has

himself described the statutory scheme as “unprecedented” and noted that it “delegated

enforcement . . . to the populace at large. . . . to insulate the State from responsibility for




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implementing and enforcing the regulatory regime.” Jackson, 2021 WL 3910722, at *1 (Roberts, C.J.,

dissenting).

        As such, private individuals enforcing S.B. 8 are properly regarded as state actors.

“Individuals suing under S.B. 8 are not suing ‘for violation of distinct legal duties owed’ to them as

individuals, but instead are suing ‘for violation of legal duties owed the public.’” (Mot. Prelim. Inj.,

Dkt. 8, at 40) (quoting Texas v. Dep’t of Labor, 929 F.3d 205, 213 (5th Cir. 2019)). Courts have

characterized private parties as state actors where a state allows or is involved with conduct that

would be unconstitutional should the state itself engage in that conduct.42 See also Edmonson v. Leesville

Concrete Co., 500 U.S. 614, 621–22 (1991) (“Our precedents establish that, in determining whether a

particular action or course of conduct is governmental in character, it is relevant to examine the

following: the extent to which the actor relies on governmental assistance and benefits; whether the

actor is performing a traditional governmental function; and whether the injury caused is aggravated

in a unique way by the incidents of governmental authority.”) (internal citations omitted). Apt is

Shelley, a 1948 case brought by the Kraemers, a white couple, against the Shelleys, a Black couple, to

stop the Shelleys from moving into the house they had just purchased in a St. Louis neighborhood.43

334 U.S. at 4–6. The Kraemers sought to enforce the terms of a restrictive covenant that specifically

excluded Blacks from occupying the property. Id. Before the Supreme Court, the Shelleys, who were

unaware of the restrictive covenant when they purchased their home, argued that they had been

denied equal protection of the laws. Id. at 8. Confident that racial restrictive covenants violate the


42 See, e.g., Reitman v. Mulkey, 387 U.S. 369, 380–81 (1967) (finding state action where law “authorize[d] . . .
racial discrimination in the housing market”); Smith v. Allwright, 321 U.S. 649, 663–64 (1944) (holding that a
state’s establishment of primary system made party that set up an all-white primary “an agency of the state”);
Nixon v. Condon, 286 U.S. 73 (1932) (state’s conferral of authority to party committee to determine who may
vote in primary created state action); Skinner v. Ry. Lab. Execs. Ass’n, 489 U.S. 602, 615–16 (1989) (finding
state action where the government removed “all legal barriers” to private conduct at issue and “made plain . .
. its strong preference” that private parties engaged in the conduct).
43 Before the Supreme Court were a bundle of cases, the first of which that came to the Supreme Court on

certiorari was the dispute arising from the Shelleys’ purchase of their home. Shelley, 334 U.S. at 4.

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Fourteenth Amendment when they involve “action by state legislature or city councils,” the Court

considered whether “agreements among private individuals” to discriminate removed the state

action necessary to invoke the Fourteenth Amendment. Id. at 12–13. Noting that a restrictive

covenant standing alone would not violate the Constitution, the Supreme Court concluded that

“here there was more. These are cases in which the purposes of the agreements were secured only

by judicial enforcement by state courts of the restrictive terms of the agreements.” Id. at 13–14. The

Supreme Court imputed the unconstitutional acts of the private individuals to the state because the

state “grant[ed] judicial enforcement” of the unconstitutional act. Id. at 20. Likewise here, the State

has granted judicial enforcement of private causes of action brought under S.B. 8. and has done

more. In addition to allowing its judiciary to enforce a likely unconstitutional S.B. 8, the State

designed S.B. 8’s private cause of action enforcement mechanism and authorized private individuals

to bring suit on its behalf, and the private individuals who bring an S.B. 8 suit “make extensive use”

of the state judicial system. Edmonson, 500 U.S. at 622 (“Although private use of state-sanctioned

private remedies or procedures does not rise, by itself, to the level of state action, our cases have

found state action when private parties make extensive use of state procedures with ‘the overt,

significant assistance of state officials.’”) (internal citations omitted). The fact that the enforcement

of S.B. 8 begins with a private individual does not immunize the State. See Shelley, 334 U.S. at 20

(“Nor is the Amendment ineffective simply because the particular pattern of discrimination, which

the State has enforced, was defined initially by the terms of a private agreement.”).

        While this Court is convinced that private individuals who bring an S.B. 8 lawsuit act as an

arm of the State in this case, this Court also examines whether it has the authority to enjoin them

separately for being in active concert with the State. Under Federal Rule of Civil Procedure 65, an

injunction may bind the parties, the parties’ “officers, agents, servants, employees, and attorneys,”

and “other persons who are in active concert or participation” with the parties or the parties’


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officers. Fed. R. Civ. P. 65(d)(2)(A)-(C). To avoid the likely insurmountable challenge of providing

actual notice to all people who can bring an S.B. 8 suit—if such notice would be necessary—the

Court must be satisfied that the private individuals who sue under S.B. 8 act in active concert with

the State in order to issue an injunction as to them as nonparties. Most courts look to whether the

nonparty is in privity with the parties or the nonparty’s “interest [was] represented adequately by a

party in the original suit.” Texas, 929 F.3d at 211. Deputizing private individuals to sue abortion

providers creates the necessary privity and obviates the need for individualized notice.

        The private individuals who bring S.B. 8 lawsuits are in active concert with the State to

enforce S.B. 8. As the State acknowledged, Rule 65(d)(2) was intended to prevent defendants from

‘“nullify[ing] a decree by carrying out prohibited acts through aiders and abettors[.]”’ (Resp., Dkt. 43,

at 24) (quoting Regal Knitwear Co. v. NLRB, 324 U.S. 9, 14 (1945)). Private individuals who file S.B. 8

lawsuits help effectuate the State’s blueprint to potentially deprive Texans of their constitutional

rights. Before S.B. 8, these individuals would have had neither a cause of action to obtain relief in a

suit against abortion care providers nor standing to bring such a suit. The State chose to deputize

them; the State chose to remove any requirement that they suffer an injury to bring suit (an injury is

almost always required to bring suit); and the State chose to incentivize them by automatically

awarding them damages of at least $10,000 if their suit is successful. Tex. Health & Safety Code §

171.208(a), (b).

        This Court’s conclusion that private individuals are either state actors or in active concert

with the State is bolstered by the positions of the intervenors in this case. In their Motion to

Intervene, which this Court granted, (Dkt. 40), the Texas Intervenors stated that they intend to sue

people and entities that violate S.B. 8 for conduct that is “clearly unprotected by the Constitution.”

(Mot. Intervene, Dkt. 28, at 2). The Texas Intervenors carefully tried to argue they are not state

actors, but their declared intent to enforce S.B. 8 speaks the loudest. For example, Jeff Tuley


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(“Tuley”) intends to bring S.B. suits for (1) non-physician abortions, (2) self-administered abortions,

and (3) post-viability abortions. (Id. at 3; Tuley Decl., Dkt. 28-1, at 7). To explain why he sought

intervention in this case, Tuley stated: “Preserving this enforcement mechanism is important to Mr.

Tuley because several district attorneys in Texas refuse to enforce these laws.” (Mot. Intervene, Dkt.

28, at 3). Tuley admitted that he seeks to stand in place of district attorneys in abortion cases where

the district attorney does have the enforcement right to bring a lawsuit, like for a post-viability

abortion that is already prohibited by the State and enforced by the State. The Texas Intervenors

want to use the procedural mechanisms of S.B. 8 to enforce abortion restrictions that are not

substantively prohibited by S.B. 8. But those abortion restrictions are already enforced by the State.

Adding private causes of action to the mix either duplicates or supplants the enforcement work

being done by the State. Whether duplicating the efforts of the State or supplanting the State, the

Texas Intervenors are acting in active concert with the State or acting as an arm of the State.

        More broadly, the Intervenors as a group believe that the State granted them a roving

commission to enforce the State’s abortion laws. The fact that the Texas Intervenors understand

that their interests would be impacted if this Court enjoins enforcement of S.B. 8 drives home the

point that the Texas Intervenors recognize that they are carrying out state policy and enforcement

and that an injunction of S.B. 8 would interfere with their rights to enforce state laws. The other

intervenor, Oscar Stilley (“Stilley”), an Arkansas resident who filed an S.B. 8 lawsuit against an

abortion provider, spells it out: “The State of Texas in enacting [S.B. 8] has delegated power that it

does have to people it does not know.” (Stilley Resp., Dkt. 48, at 2, 8). He continues: “We are told

that doctors don’t have standing to raise the constitutional rights of their patients – but Oscar Stilley

somehow has standing to sue people he’d probably like if he knew them, for things he doesn’t

disagree with, which caused him no damage or injury whatsoever.” (Id.). Stilley has sued an abortion

provider and wants to continue suing abortion providers and health insurance companies solely to


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make money. (Id. at 5–7). His strategy is to sue and then offer a cheap settlement of “perhaps as low

as $100 per abortion”—versus $10,000 or more in statutory damages. (Id. at 6). His is a volume

business. Setting aside the absurdity and perversity of a law that incentivizes people who do not

disagree with abortion care to sue abortion providers to make a quick buck, Stilley explicitly states

his perception that the State delegated part of its enforcement power, i.e., bringing suits, to him. (Id.

at 2).

         The State’s concern that private individuals should not be enjoined because they have not

been heard by the Court conflates persons who are enjoined through an injunction with persons

who may be in contempt for violating an injunction. The State relies on Zenith Radio Corp. v. Hazeltine

Rsch., Inc., in which the party subsidiary company and its nonparty parent company were enjoined.

395 U.S. 100, 109 (1969). The Supreme Court vacated the judgment against the nonparty parent

company. Id. at 110. The State wrongly assumes that a federal court cannot enjoin a person or entity

without first providing every possible obligor with notice and an opportunity to be heard. In fact,

the Supreme Court, in Arizona v. United States, upheld an injunction against Arizona that governed

the conduct of its state and local law enforcement officers who had not first been given notice or an

opportunity to be heard regarding the injunction. 567 U.S. 387, 410 (2012). What the Zenith Court

held was that “a nonparty with notice cannot be held in contempt until shown to be in concert or

participation.” 395 U.S. at 112. Since the question of contempt is not before this Court, the Court

takes no position on whether it can hold in contempt a person who has not received notice of or

been heard on an injunction.

                                C. Motion for Preliminary Injunction

                                 1. Likelihood of Success on the Merits

         The Court’s findings of fact, together with its analysis of the parties’ submissions, lead it to

conclude that the United States is substantially likely to succeed on the merits of its claims. It is


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substantially likely that S.B. 8 violates the Fourteenth Amendment, whether as an unconstitutional

pre-viability abortion ban, or as an unconstitutional undue burden on pre-viability abortion. It is also

substantially likely that S.B. 8 unconstitutionally interferes with principles of preemption and

intergovernmental immunity.

                        a. Whether S.B. 8 Violates the Fourteenth Amendment

        The United States argues that S.B. 8 purports to deny Fourteenth Amendment substantive

due process rights to pre-viability abortions, in contravention of binding precedent. S.B. 8 prohibits

any “abortion on a pregnant woman if the physician detected a fetal heartbeat . . . or failed to

perform a test to detect a fetal heartbeat.” Tex. Health & Safety Code § 171.204(a). It allows for an

exception only in the case of a documented “medical emergency[.]” Id. § 171.205. When the

Supreme Court heard a preliminary challenge to S.B. 8 in Jackson, the comments on the law’s

substance ranged from “serious questions regarding [its] constitutionality,” 2021 WL 3910722, at *1,

to concerns that it “threatens to invade a constitutional right,” id. at *3 (Breyer, J., dissenting), to

incredulity at the “flagrantly unconstitutional law engineered to prohibit women from exercising

their constitutional rights and evade judicial scrutiny . . . .” id. (Sotomayor, J., dissenting). Even at

that preliminary stage, before the constitutional issues were even before the court, the “clear, and

indeed undisputed, conflict with Roe and Casey” was plain to see. Id. at *5 (Kagan, J., dissenting). As

Justice Sotomayor wrote in dissent, “[t]he Act is clearly unconstitutional under existing precedents.

The [state] respondents do not even try to argue otherwise. Nor could they: No federal appellate

court has upheld such a comprehensive prohibition on abortions before viability under current law.”

Id. at *4 (Sotomayor, J., dissenting).

                          i. Unconstitutionality of Pre-Viability Abortion Bans

        Indisputable, binding precedent holds that pre-viability bans on abortions are

unconstitutional. Indeed, the Supreme Court has long held that “a State may not prohibit any


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woman from making the ultimate decision to terminate her pregnancy before viability.” Casey, 505

U.S. at 879; see also Roe, 410 U.S. at 163 (“[F]or the period of pregnancy prior to [viability], the

attending physician, in consultation with [her] patient, is free to determine, without regulation by the

State, that, in [her] medical judgment, the patient’s pregnancy should be terminated.”). In recent

years, the Fifth Circuit has repeatedly confirmed that outright bans on pre-viability abortions are

“unconstitutional under Supreme Court precedent without resort to the undue burden balancing

test.” Jackson Women’s Health Org. v. Dobbs, 951 F.3d 246, 248 (5th Cir. 2020); see also Jackson, 945 F.3d

at 274 (“Until viability, it is for the woman, not the state, to weigh any risks to maternal health and

to consider personal values and beliefs in deciding whether to have an abortion.”). Seen in light of

the nearly half-century of precedent in this line, “the Act is a breathtaking act of defiance—of the

Constitution, of this Court's precedents, and of the rights of women seeking abortions throughout

Texas.” Jackson, 2021 WL 3910722, at *4 (Sotomayor, J., dissenting).

        The State contends that S.B. 8 does not constitute an outright “ban” on pre-viability

abortions; rather it attempts to characterize the law as a regulation that poses “mere obstacles” to

pre-viability abortion access. (Resp., Dkt. 43, at 49). But there can be no question that S.B. 8

operates as a ban on pre-viability abortions in contravention of Roe v. Wade, and “equates to a near-

categorical ban on abortions beginning six weeks after a woman’s last menstrual period, before many

women realize they are pregnant, and months before fetal viability.” Jackson, 2021 WL 3910722, at *3

(Sotomayor, J., dissenting). The State analogizes to Gonzales v. Carhart, in which the Court upheld a

law prohibiting the intact dilation and evacuation method of abortion. 550 U.S. 124, 135 (2007). But

the law in question there was limited exclusively to a single method; it had no effect whatsoever on

abortions, at any stage of pregnancy, performed using any other method. Indeed, “the Act allow[ed],

among other means, a commonly used and generally accepted method, so it [did] not construct a

substantial obstacle to the abortion right.” Id. at 165. As such, it could not accurately be considered


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an abortion ban. In contrast, S.B. 8 effectively forecloses all abortions, by any method, that occur

after approximately six weeks of pregnancy. In this way, S.B. 8 reaches far more widely than did the

law at issue in Gonzales—so far, in fact, that it can properly be considered a ban subject to the

constitutional requirements of Roe v. Wade.

        June Medical, 140 S. Ct. at 2112–13, is similarly illustrative. The State suggests that the impact

of the law at issue there was so extensive as to render it effectively a ban, and, whether or not a ban,

to render it comparable to S.B. 8. But again, the two laws should not be equated. Though the Court

in no way intends to minimize the consequences had the law at issue in June Medical been upheld, its

reach was still far more limited than that of S.B. 8—a law that prohibits all abortions, by any

method, by any doctor, that occur after cardiac activity is detected. The former is a regulation that

poses an undue burden on obtaining abortion services; the latter is a categorical ban. Indeed, faced

with patients showing embryonic cardiac activity earlier than six weeks LMP, who “are incredibly

frustrated because they feel like they did everything ‘right’ under the law by trying to get to the

abortion clinic as soon as possible,” Planned Parenthood physicians “explain to patients that S.B. 8

is effectively a near total ban on abortion.” (Linton Decl., Dkt. 8-5, at 11).

        The credible declarations from providers make clear the extent to which S.B. 8 has cut off

abortion access.44 The recent statistics at the two Planned Parenthood Center for Choice, Inc.

(“PPCFC”), facilities in Houston and Stafford are illustrative. Ordinarily, the clinics provided an


44 “Before S.B. 8 took effect, Southwestern [Women’s Surgery Center (“Southwestern”)] provided medication
abortion up to 10 weeks from the first day of a patient’s last menstrual period (“LMP”) and procedural
abortions through 21 weeks and 6 days LMP. Since September 1, 2021, Southwestern has provided only
procedural abortions up until detection of a “fetal heartbeat” as defined under S.B. 8 and described below. In
a typical year, prior to S.B. 8 taking effect, the clinic performed approximately 9,000 medication and
procedural abortions, and I personally performed between 2,000 and 3,000 abortions at Southwestern over
the last year.” (Gilbert Decl., 8-2, at 4-5). In addition, “[i]n 2020, the four [Whole Women’s Health
(“WWH”)]/[Whole Women’s Health Alliance (“WWHA”)] clinics in Texas provided approximately 9,200
abortions. Of these patients, less than 10% were at gestations less than 6 weeks LMP.” (Hagstrom Miller
Decl. I, Dkt 8-4, at 3–4). The various Planned Parenthood centers and affiliates in Texas (comprising 11 of
the 24 licensed facilities in the state) provided, as a low estimate, 14,184 abortions last year. Between 90% and
93.4% of these abortions were provided at 6 weeks LMP or later. (See Linton Decl., Dkt. 8-5, at 4–6).

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average of 25 abortions per day. In the week preceding S.B. 8 going into effect, that number

ballooned to 205 daily, with 184 for Texas residents. (Linton Decl., Dkt. 8-5, at 10). Between

September 1 and September 10, PPCFC performed 123 ultrasounds at the first appointments

required under state law to take place at least 24 hours before an abortion. The clinics had 63

patients scheduled for abortions in the next ten days but could only perform 52 because “some

patients had embryonic activity by the time they returned.” (Id.).45 Thus, the clinics went from

performing approximately 25 abortions per day to approximately 5 per day, all at less than six weeks

LMP. 46 For the approximately 20 women per day who, but for S.B. 8, would have received abortion

care at PPCFC, the Court can only speculate as to the hardships they had to endure. Since

September 1, 2021, these providers ceased performing abortions after detection of embryonic




45 “Unfortunately, we have had to inform some patients at their second visit that they were barred under S.B.
8 from having an abortion. At their first visit, there was no embryonic cardiac activity on the ultrasound, but
when they came back the next day after the state-mandated waiting period, there was embryonic cardiac
activity and we were not able to provide the abortion. This means patients can lose their ability to access
abortion in Texas literally overnight. As a result, our physicians have to caution patients that even though
cardiac activity is not shown at the ultrasound appointment, it could occur on the day of the abortion, which
causes patients significant stress. Another patient was found to be about five weeks pregnant without
embryonic cardiac activity, so she could have qualified for an abortion, but at the same visit, she also learned
she had COVID-19. By the time she would finish the mandatory quarantine, she would be too far along in
her pregnancy to get an abortion in Texas.” (Linton Decl., Dkt. 8-5, at 9).
46 “The vast majority of abortion patients at Southwestern before S.B. 8 took effect were 6 or more weeks

LMP. In 2020, Southwestern performed only 936 abortions for patients up to 5 weeks, 6 days LMP—only
10% of the 8,623 abortions the clinic provided in total that year.” (Gilbert Decl., Dkt. 8-2, at 5).

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cardiac activity.47 One provider, who oversees four Texas clinics, stated that between September 1

and September 14, “[w]e have already turned away more than 100 patients . . . , and every day the

law is in effect, we are forced to turn away the majority . . . .” (Hagstrom Miller Decl. I, Dkt 8-4, at

4). Indeed, “S.B. 8 bans approximately 90% of the abortions . . . previously performed” at those four

clinics.” (Id. at 7). This credible evidence establishes that “S.B. 8 has had an immediate and

devastating effect on abortion care in Texas.” (Id.).

        Although “[m]ost patients obtain an abortion as soon as they are able[,]” many do not know

they are pregnant at the point when embryonic cardiac activity becomes detectable. (Gilbert Decl.,

Dkt. 8-2, at 8). Most people are at least six weeks LMP into pregnancy when they make their first

abortion appointment, and so are permanently precluded from obtaining an abortion in Texas. (Id.).

Clinics have stopped providing both procedural and medication abortions, as “in the rare instance

where the medication fails to complete the abortions, the clinic would be unable to provide the

medically appropriate procedure to complete the abortion.” (Gilbert Decl., Dkt. 8-2, at 4–5).48


47 (See Gilbert Decl., Dkt. 8-2, at 4) (“Since September 1, 2021, Southwestern has provided only procedural
abortions up until detection of a ‘fetal heartbeat’ as defined under S.B. 8.”); (Hagstrom Miller Decl. I, Dkt. 8-
4, at 4) (“Since S.B. 8 took effect on September 1, 2021, all four WWH/WWHA clinics in Texas have
stopped offering both medication and procedural abortions for patients whose pregnancies have cardiac
activity, meaning that our clinics are only providing abortions to patients with gestational ages under
approximately 6 weeks LMP.”); (Id. at 7) (I have had personal conversations with the majority of independent
abortion clinics in Texas regarding S.B. 8 and can affirm that the independent abortion providers in Texas are
all complying with S.B. 8. All of these clinics continue, for now, to provide abortions only for pregnant
people without any embryonic or fetal cardiac activity, meaning that we are forced to turn away the majority
of patients seeking abortion in Texas.”); (Linton Decl., Dkt. 8-5, at 7) (“The risk of civil liability, damages,
and certain cost of litigation if a provider offers abortion in violation of S.B. 8 (as well as the possibility of a
court order stopping the provider from providing abortions) means that none of the Planned Parenthood
providers—and, to my knowledge, no other abortion provider in Texas—has offered services after
embryonic cardiac activity is detected since September 1. . . . Because of the real possibility that [Planned
Parenthood South Texas] Surgical Center and its physicians and staff will be sued for providing any
abortions, and be forced to defend against these meritless lawsuits, it has suspended all abortion services as of
September 1.”).
48 Another provider addresses the same concerns: “We have seen at least two patients who obtained

medication abortions before September 1 and returned at their follow-up visits after September 1 with
ongoing pregnancies—meaning they were in the very small fraction of patients for whom the
medication abortion was unsuccessful. In the past, we would have provided these patients with
procedures to complete their abortions, as that is the medical standard of care, but because of S.B. 8


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According to one provider’s credible description, “[m]edication abortion is thus not an option we

feel we can provide patients in light of S.B. 8’s restrictions, even though it is medically preferred for

many patients.” (Gilbert Decl., Dkt. 8-2, at 4–5). The provider describes how, because of S.B. 8, she

“had two patients . . . who are minors, who had never had a pelvic exam before, and who both

preferred a medication abortion that I was unable to provide.” (Id. at 15). As that provider credibly

summarized, “[a]s a practical matter, S.B. 8 is a near total ban on abortion. It prohibits abortion care

at the earliest moments that a pregnancy may be detected and often before a patient has any reason

to suspect that they may be pregnant.” (Id. at 8).

                                             ii. Undue Burden

        Even if S.B. 8 is more properly characterized as a regulation, it is nonetheless

unconstitutional because it places an “undue burden” on individuals seeking an abortion. Casey, 505

U.S. at 874. More specifically, “an undue burden is a shorthand for the conclusion that a state

regulation has the purpose49 or effect of placing a substantial obstacle in the path of a woman

seeking an abortion of a nonviable fetus.” Casey, 505 U.S. at 877. Since the Court set out this

standard, it has invalidated state laws that impose far lower burdens on access to abortion care than

does S.B. 8. In Hellerstedt, it held unconstitutional a Texas law (H.B. 2) requiring that doctors who

perform abortions have active admitting privileges at a hospital no more than 30 miles from the

abortion facility, and that such facilities meet the state-law standards “ambulatory surgical centers.”

136 S. Ct. at 2299. These requirements led approximately half of the abortion clinics in Texas to

close, meaning that women forced into the few remaining clinics faced longer wait times, crowding,

and longer distances to travel to providers. Id. at 2313. Based on the “substantial obstacle” the



we were forced to turn these patients away. One of these patients was only 18 years old. Our physician was so
upset that a staff member had to help the doctor break the news to the patient.” (Hagstrom Miller Decl., Dkt.
8-4, at 10).
49 See supra Section IV(B)(2)(c).


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regulations “[e]ach place . . . in the path of women seeking a previability abortion, each constitutes

an undue burden on abortion access . . . , and each violates the Federal Constitution.” Id. And in June

Medical, the Court invalidated an almost identical Louisiana law, again explaining that “the burdens

[the law] imposes far outweigh any . . . . benefit, and thus the Act imposes an unconstitutional undue

burden.” 140 S. Ct. at 2121.

        While the laws at issue in those cases surely created severe impediments to abortion access,

they pale in comparison to the obstacles at issue here. For, as one provider credibly described:

        Even under the best circumstances, if a Texan determines they are pregnant as soon as they
        miss their period, they would have roughly two weeks to decide whether to have an
        abortion, comply with state-mandated procedures for obtaining an abortion, resolve all
        financial and logistical challenges associated with abortion care in Texas, and obtain an
        abortion. As a result of S.B. 8, the many pregnant people who do not learn that they are
        pregnant until after 6 weeks LMP may never access abortion in Texas.

(Gilbert Decl., Dkt. 8-2, at 8). Moreover, under S.B. 8, a doctor must be willing to pay no less than

$10,000 for every abortion she performs. See Tex. Health & Safety Code § 171.208(i). Nor does the

deterrent stop there: so too must every nurse, security guard, insurer, or rideshare driver. This law is

not a question of a one-time, excessive, and unnecessary resource investment needed to comply with

a law. It is an ongoing, wide-ranging, and debilitating burden on anyone associated with providing

abortions, sufficient to effectively cut off access to the medical procedure entirely. (See Hagstrom

Miller Decl. I, Dkt. 8-4, at 7; Gilbert Decl., Dkt. 8-2, at 16–17). If any provider does take the

extraordinary step of proceeding with an abortion in the face of the law, she will be saddled with

litigation extending potentially for years, and in which she is precluded from even raising the

unconstitutionality of the law as a defense and must also contend with repercussions from




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professional licensing boards.50 And even if the provider ultimately prevails, the law prohibits her

from ever recovering attorney’s fees from her opponent. See Tex. Health & Safety Code § 171.208(i).

Given the unlikelihood of any provider having the financial wherewithal to overcome under these

financial obstacles, the effect of S.B. 8 is to force all abortion providers in Texas to cease performing

constitutionally protected medical procedures.

        These provisions operate—and were intended to operate—as an effective deterrent to

provision of pre-viability abortion services in Texas, precluding the vast majority of individuals from

accessing this constitutional right. One provider lamented that, “[n]ow that abortion is almost

entirely inaccessible in Texas, patients have few options and each of their stories is more

heartbreaking than the last.”51 Indeed, it is the dismantling of the provider network that constitutes

the undue burden on access to abortion.52 The same provider noted credibly that “S.B. 8 is like no

other abortion restriction or abortion ban we have dealt with before,” and its “immediate impact . . .




50 The Court finds credible the provider’s description that “our physicians, particularly the ones that travel
from out of state, are concerned that if lawsuits are filed against them, they will be required to report these
lawsuits to their professional licensure boards and hospitals in every state where they are licensed, and that
they will ultimately lose their professional privileges and credentials. For most of our physicians, the risk was
too great to even come to work.” (Hagstrom Miller Decl. I, Dkt. 8-4, at 11).
51 Declarant and abortion provider Amy Hagstrom Miller describes some of these “heartbreaking” cases:

“The first patient we saw at our Fort Worth clinic on September 1 was ineligible under S.B. 8. She had a 3-
month-old daughter and had just started a new job. She had just left an unsupportive partner and moved in
with her parents and feared that if she told them about her pregnancy, they would kick her out. Similarly, we
saw a patient on September 1 at our Austin clinic who was so stunned to learn she was 10 weeks LMP and
ineligible for abortion in Texas that she was in too much shock to process our suggestions for where to turn
for care. We saw another patient last week with consistent periods who had no signs of pregnancy other than
a positive pregnancy test. The patient thought she was likely 4-5 weeks LMP but was shocked to learn that
her ultrasound showed that she was beyond 13 weeks. The patient already has a young infant at home, less
than a year old. We have not heard from any of these patients since they left our clinics.” (Id.).
52 (See Gilbert Decl., Dkt. 8-2, at 13) (“Southwestern has weathered short-term abortion bans in Texas before

and barely survived. Last year, when Southwestern was shut down for approximately three weeks due to the
COVID-19 executive order shutdown, the impact was severe. Repeatedly having to stop and restart services,
as various court orders allowed us to reopen only to be shut down again hours later, created absolute chaos
for our patients and staff. The COVID-19 shutdown took an immense emotional toll on our staff and drove
our clinic to the financial brink. . . . [I]t took us months to work through the patient backlog. Even then, we
were unable to see every patient who needed our services.”).

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on our patients, staff, and physicians has been truly catastrophic.” (Gilbert Decl., Dkt. 8-2, at 13).

Indeed, as a Planned Parenthood Provider credibly described the state of affairs:

        both practically and emotionally, abortion providers and their staff are now barely hanging
        on due to S.B. 8. Our staff are doing all they can to help patients navigate this awful law,
        including working long hours to get patients in as quickly as possible for their appointments.
        They are doing their best to provide as many ultrasounds on a daily basis as they can in order
        to catch those few patients where cardiac activity will not be detected, but there are only so
        many working hours in a day and our staff are still dedicated to providing high-quality care.
        This experience has also been traumatic for our physicians and staff as they must tell patient
        after patient that they cannot care for them, despite that, medically, they should be able to
        and, indeed, went through significant medical training to provide the very medical care that
        their patients are asking them to provide and are entitled to receive. They are essentially
        being forced to inflict trauma on their patients.

(Linton Decl., Dkt. 8-5, at 14–15). The law appears to be having the desired chilling effect: the

provider describes a staff “plagued by fear and instability” who “remain seriously concerned that

even providing abortions in compliance with S.B. 8 will draw lawsuits from anti-abortion vigilantes

or others seeking financial gain under S.B. 8’s bounty hunting scheme.” Id.53 As one provider aptly

observed, the days since the ban went into effect “have been nothing short of agonizing for our

staff. No one should be forced to risk overwhelming costs of litigation and crushing penalties to




53 Gilbert continues, “I am one of only two physicians, out of the eight physicians that typically provide care
at our clinic, who is currently providing abortions at Southwestern. While our other physicians are willing to
provide S.B. 8-compliant abortions, we feel constrained to limit the potential liability of our physicians to
lawsuits brought under S.B. 8 by having fewer physicians providing abortions. Bringing in additional
providers also adds to the clinic’s costs at a time when Southwestern confronts an unknown period of higher
security costs and significantly reduced patient volume.” Id. Further, “[b]ecause S.B. 8 allows almost anyone
to sue me, Southwestern, and the staff who work with me, I continue to worry that just by coming to work, I
risk exposure to multiple lawsuits . . . .” (Id. at 17–18).

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provide safe and common health care. No one should be subject to state-directed harassment for

caring for patients in need.” (Linton Decl., Dkt. 8-5, at 12).54

        Providers understand that “[e]ven if there is no basis for the suits [they] know will be filed, . .

. [their] physicians, nurses, and staff will be forced to travel to the claimant’s home county, hire a

lawyer, and spend months, if not years, defending themselves.” (Hagstrom Miller Decl. I, Dkt. 8-4,

at 7).55 Indeed, “The costs of defending against what could be a flood of lawsuits in every county in

Texas would be impossible for abortion providers to absorb, even if they were to win each case.”

(Linton Decl., Dkt. 8-5, at 8). The threats are not limited to litigation itself—“almost immediately


54 “Abortion providers deal with relentless harassment from abortion opponents, including as they come into
work each day, which has increased since S.B. 8 took effect. For example, Texas Right to Life (‘TRTL’)
launched a ‘whistleblower’ website to recruit S.B. 8 claimants, as well as ‘informants’ to support S.B. 8
enforcement suits by providing information about abortion providers’ and support networks’ perceived
violations. Though the website, which could previously be found at www.prolifewhistleblower.com, is
currently down, TRTL has expressed its intention to quickly restore it. The website stated that ‘[a]ny abortion
performed in violation of the Texas Heartbeat Act is a criminal offense, and any individual or entity that aids
or abets an abortion on a child with a detectable heartbeat in Texas is violating the law as well.’ It further
provided that ‘[TRTL] will ensure that these lawbreakers are held accountable for their actions’ and invited
visitors to ‘[j]oin the Team of Pro-Lifers working to enforce’ S.B. 8 and ‘[s]end an anonymous tip or
information about potential violations’ of the Act. Recruits who clicked on the button inviting them to
become a ‘team member’ by submitting contact information were asked: ‘How are you interested in enforcing
the Texas Heartbeat Act?’ with response options of ‘Litigating,’ ‘Plaintiff,’ ‘Data Collection,’ and ‘Other’ and
they were also asked to provide the ‘best time for a TRTL team member to call you to talk about enforcing’
S.B. 8. Individuals who selected the option to send an anonymous tip were asked to provide ‘as much detail
as possible’ on ‘how [they thought] the law ha[d] been violated,” as well as “how [they] obtain[ed] this
evidence’ and the ‘Clinic or Doctor this evidence relate[d] to.’ Our staff have also had to endure protestors
trespassing; conducting drone surveillance; blocking roads, driveways, and entrances; yelling at staff and
patients; using illegal sound amplification; video recording staff, staff vehicles, and license plates, as well as
surreptitiously recording inside the health center; trying to follow staff home; and more. On the first day S.B.
8 went into effect, we had to call the police because a protestor was blocking the driveway with his vehicle.
He came back the next day, and even had a porta-potty delivered. The next day, someone trespassed on the
property and vandalized a few of our signs. We are also aware that someone created a forum on Reddit where
numerous individuals posted discussions on how they could be bounty hunters under S.B. 8 and turn doctors
into the police, which has since been taken down.” (Linton Decl., Dkt. 8-5, at 13–14).
55 One provider notes credibly, “[w]hile we generally have low staff turnover, ever since S.B. 8 started

receiving public attention, staff began to express serious fears that their jobs would no longer exist . . . . [W]e
have lost around one staff member every week, including two of our clinic directors. . . . Our physicians in
particular, many of whom are licensed in multiple states and travel to Texas to provide patient care, are
extremely concerned about their potential personal and professional liability under S.B. 8. Our physicians and
nurses worry that lawsuits under S.B. 8 might trigger investigations and other repercussions, including loss of
licensure, that will follow these professionals for the rest of their careers, even if they choose to practice
outside Texas.” (Hagstrom Miller Decl., Dkt. 8-4, at 10–11).

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after” S.B. 8 was signed into law, vigilantes began harassing providers based on their newfound

enforcement authority.56 The deterrent effect of the law has translated directly to a “devastating”

impact as clinics must “turn away patients in droves . . . .” (Gilbert Decl., Dkt. 8-2, at 14–15).

Providers are “only able to help a fraction of the patients [they] ordinarily would see and treat, as

most patients . . . are beyond the gestational limit imposed by S.B. 8.” Indeed, one provider stated

that “[i]f the law is not struck down soon, [her] clinic in Dallas will inevitably close.” Id. at 14.57




56 “In late May, an individual snuck into the Austin Clinic by following a patient through the front door to
evade our security. Once inside, the individual distributed a letter about S.B. 8 to our Austin Clinic staff and
those present in the reception area. . . . The individual was asked to leave, but once outside, the individual was
joined by another person and both individuals continued to distribute the letter to staff outside, still on the
clinic’s private property. The letter gives a phone number and email address for individuals to use to report
violations of S.B. 8 and states: ‘please call or send us a text at any time.’ The threats have continued despite
our public statements that we would be and now are in compliance with S.B. 8. On the day before S.B. 8 took
effect, our Fort Worth clinic opened at 7:30 am and was working until 11:56 pm to serve as many patients as
possible before the law took effect at midnight. Our physician and staff were in tears, terrified that they
would not be able to see every patient who was still sitting in the waiting room before the deadline. All the
while, our clinic was under surveillance from anti-abortion activists stationed outside. Protesters flooded the
areas around our clinic, shining flashlights into the cars of patients as they entered and exited the parking lots.
After nightfall, the protesters brought in giant lights and shined them at the clinic, illuminating the parking lot
and the building in order to track our every move. The protesters called the fire and police departments
multiple times throughout that day in an attempt to stop our work or slow down the last abortions we would
be able to provide after six weeks LMP. Since September 1, the threats have only gotten worse. Several days
before S.B. 8 took effect, my staff brought to my attention a website run by Texas Right to Life called
prolifewhistleblower.com. . . . The website requests information from individuals interested in enforcing S.B.
8, including those interested in “litigating” or becoming a “plaintiff.” . . . My staff also identified a subreddit
called ‘TexasBountyHunters’ where individuals have posted plans to enforce S.B. 8. In addition, WWH and
WWHA have seen an uptick in protester activity at our clinics, and threatening calls, emails, and social media
posts. For example, one message we received read: ‘It's a shame we can no long murder innocent babies in
their mother's womb. If your women are so about ‘Their body, their choice’ then let's make the law say this:
As long as a woman is willing to die along with her unborn child we'll allow her to get rid of it. You see? It's
not about her body at all, it's about the body of the unborn child which is a human at conception. Thank God
for the sane people that still exist in this world. You should be in prison for life.’” (Hagstrom Miller Decl. I,
Dkt. 8-4, at 10–11).
57 Another provider expressed that “[i]f we are not able to resume providing abortion services soon, I am

worried about our ability to retain staff. Even before S.B. 8 took effect, the Act was already taking a negative
toll on our ability to recruit new staff. PPCFC has already had two prospective staff members decline job
offers specifically because of fear of S.B. 8.” (Linton Decl., Dkt. 8-5, at 14).

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        With all the turmoil and uncertainty caused by S.B. 8, “[p]atients are panicked, both for

themselves and their loved ones.” (Gilbert Decl., Dkt. 8-2, at 15).58 Even those who attempt to

comply with the law may be harmed. For example, one provider describes seeing a patient “who has

been taking the same contraception consistently for a decade and nonetheless found herself

pregnant. She was only 5.4 weeks LMP but had detectible cardiac activity, so I had to turn her

away.” Id. The 24-hour waiting period required under state law “is also compounding the burden of

S.B. 8” as patients “become ineligible for abortion care between their first and second

appointments.” Id. at 16.59 One provider describes patients “devastated to learn that after two

appointments, . . . their only option for abortion care is to leave Texas, which not all can do.”60

Moreover, “because under S.B. 8 patients only have a very limited window of time after discovering

they are pregnant to decide that they want an abortion, S.B. 8 is forcing some patients to make a

decision about their abortion before they are truly ready to do so.” (Gilbert Decl., Dkt. 8-2, at 17).61

One provider credibly describes “particular[] concern[s] about the unaccompanied migrant teenagers


58 Gilbert continues, “I saw a patient for counseling who was eligible for an abortion under S.B. 8 but
nonetheless broke down in tears because she was so scared that her sister, who was planning to drive her to
the clinic the next day for her procedure, would be sued under S.B. 8 for aiding and abetting. Other patients
are making appointments before they have received a positive pregnancy test, seeking unnecessary blood tests
and procedures, for fear that if they are pregnant, they will be unable to access care.” (Id.)
59 The Court finds credible Gilbert’s statement that one in fifteen patients becomes ineligible for abortion

under S.B. 8 between their first and second appointments. Id. Further, according to a provider, Planned
Parenthood “call centers also inform patients that if there is embryonic cardiac activity, they will have to seek
abortion out of state, and so if they think the pregnancy is greater than six weeks LMP, they may come in for
an ultrasound to help them determine the gestational age of their pregnancy, but we will not be able to
perform their abortion. Explaining the new law to people and the fact that it means we cannot provide them
an abortion, and then helping them navigate a way to get out of state and get to another provider, means that
calls with patients are taking twice as long as they used to. As a result, our hold times have increased
significantly, which in turn makes it harder for us to reach and schedule those people who may still be eligible
for an abortion but have a short window to get in for an appointment before they are banned.” (Linton Decl.,
Dkt. 8-5, at 9).
60 “One patient, for example, showed cardiac activity when she arrived for her abortion and upon learning she

was ineligible for an abortion, she broke down in tears.” (Id.)
61 A provider notes that one of her clinics “already had a woman who came to one of our health centers

reporting that because she had no money or resources, she said she had turned to the internet where she
found some ‘abortion tea.’ She took it, and it didn’t work. The ultrasound showed embryonic cardiac activity,
and so we had to tell her that her only option was to try and travel out of state.” (Linton Decl., Dkt. 8-5, at
12).

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who often present at our . . . clinic, as the logistical barriers to these patients’ care mean that they are

unable to reach us for treatment prior to 9 weeks LMP,” at least in part because “the judicial bypass

process [for minors] usually takes at least 2 weeks. The majority of these patients do not become

pregnant through consensual sex and tend to be much younger than other minor patients we treat.”

(Hagstrom Miller Decl., Dkt. 8-4, at 8-9).

        Even though the ban has been in effect for just over a month, necessarily limiting the data

available, this harm is still far from speculative. One provider stated that S.B. 8 “shut down about 80

percent of the abortion services we provide.” (Newman Decl., Dkt. 59-1, at 4–6) (citing Alan Braid,

Opinion: Why I Violated Texas’s Extreme Abortion Ban, Wash. Post (Sept. 18, 2021), https://www.

washingtonpost.com/opinions/2021/09/18/texas-abortion-provider-alan-braid/). Others place the

figure higher: between 85% and 95% of all abortions previously provided in Texas are now

prohibited by law. (See Hagstrom Miller Decl. I, Dkt. 8-4, at 3-4; Gilbert Decl., Dkt. 8-2, at 5; Linton

Decl., Dkt. 8-5, at 6). This burden is far more extreme than that created by H.B. 2 in Hellerstedt,

which caused half of abortion facilities to close, doubled the number of women living more than 50

miles from a clinic, and increased the number of women living more than 150 miles from a clinic by

more than 350%. Hellerstedt, 136 S. Ct. at 2296.62 The law thus has both the “purpose” and the




62As a whole, the situation is even more dire for minors: “[n]ow that the school year has begun, minors who
cannot confide in their families about their pregnancies or desire for an abortion are unable to explain a
protracted absence from school. Thus, S.B. 8 condemns minors to carry to term or take matters into their
own hands.” (Rupani Decl, Dkt. 8-8, at 8). Indeed, “[t]he near impossibility of obtaining an abortion within
the time permitted by the Act is all the more clear for our minor patients. Minor patients without a history of
pregnancy may be less likely to recognize early symptoms of pregnancy than older patients who have been
pregnant before. In addition, some of these patients cannot obtain written parental authorization for an


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“effect of placing a substantial obstacle in the path of a woman seeking an abortion of a nonviable

fetus.” Casey, 505 U.S. at 877. If this situation does not constitute an undue burden, it is hard to

imagine what would.

        The State makes a half-hearted attempt to establish that pregnant persons are still able to

access abortions since S.B. 8 went into effect on September 1. But its assertions only illustrate how

effective the ban has been. The State cites only one case of an abortion being performed in post-S.B. 8

Texas. (Resp., Dkt. 43, at 50) (“Even as everyone is adjusting to the new law, women have been able

to obtain post-heartbeat abortions. Dr. Alan Braid, for example, reports that at least one of his

patients received an abortion ‘beyond the new legal limit[.]’”)). With this claim, the State appears to

argue that abortion services remain available because providers are willing to act in violation of S.B.

8—in other words, the law is constitutional because people will violate it. The absurdity of this

reasoning speaks for itself. Moreover, the abortion in question was a unique case, as it was seemingly

performed to invite publicity of the unconstitutional law. (Newman Decl., Dkt. 59-1, at 4–6) (citing

Alan Braid, Opinion: Why I Violated Texas’s Extreme Abortion Ban, Wash. Post (Sept. 18, 2021),

https://www. washingtonpost.com/opinions/2021/09/18/texas-abortion-provider-alan-braid/);

(Hagstrom Miller Decl. II, Dkt. 59-2 at 2 (“To my knowledge only one abortion in violation of S.B.

8 has occurred since September 1.”)). Even if this was not the only prohibited abortion to take place,



abortion as required by state law and must obtain a court order permitting them to receive care. Tex. Fam.
Code §§ 33.001–33.014. A court may take up to five business days to rule on a patient’s petition to bypass the
state’s parental-consent law for abortions, id. § 33.003, not including any time that may be necessary for a
minor patient to appeal an unfavorable decision. That process cannot realistically happen before a patient’s
pregnancy reaches 6 weeks LMP.” (Linton Decl., Dkt. 8-5, at 7). According to Linton, “the law is having a
particularly burdensome effect on minors who need a judicial bypass. We have already seen minors who do
not show embryonic cardiac activity at their initial ultrasound appointment, but will inevitably show cardiac
activity by the time that they come back for the abortion because it will take them days to get a judicial
bypass. These patients are so desperate, and we are worried that they will do something unsafe because the
only alternative for them to get an abortion is to go out of state, which is incredibly difficult for a minor to do
on their own. It is also our experience that some minors seeking a judicial bypass do so because they cannot
tell their parents about their pregnancy and abortion decision for fear of violence. We worry S.B. 8 will force
them into a dangerous situation.” (Linton Decl., Dkt. 8-5, at 11).

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the absence of other examples in a state which ordinarily would have seen thousands of abortions in

a month’s time makes clear the immediate chilling effect of the law.63

                                            iii. Out-of-State Recourse

         The State further asserts that Texas residents can still travel to other states to access abortion

care, which nullifies the likely unconstitutionality of the ban. (Resp., Dkt. 43, at 51). It argues that

the fact that people are travelling across state lines to obtain abortions, which may ultimately force

other states to expand their capacity, proves that abortion is still accessible and will remain so. (See

Tong Decl., Dkt. 8-6, at 3–5). But forcing people to make expensive and otherwise unnecessary

journeys to secure abortions cannot render this law constitutional.64 And even if they try to

accommodate the influx, other states may not be able to expand their capacity to keep pace.65 The


63 To be clear, the claim of constitutional infirmity does not arise out of the existence of a state tort law on its
own, as the State suggests with its puzzling analogy to New York Times v. Sullivan, 376 U.S. 254 (1964) and
Snyder v. Phelps, 562 U.S. 443 (2011). (See Resp., Dkt. 43, at 69; Hr’g Tr., Dkt. 65, at 70). It is the chilling effect
of the state law that creates the grave constitutional concern here, in contrast to the comparatively innocuous
defamation and other tort laws at issue in the cases the State cites. Here, review of the tort law is unavailable
through the ordinary process available in those cases because the abortion services that would result in civil
actions have been coerced out of existence.
64 (See Hagstrom Miller Decl. I, Dkt 8-4, at 8) (“Based on our prior experiences with clinic shutdown laws, we

know that the majority of our patients will not be able to travel out of state to obtain an abortion due to their
work, school, family, or childcare responsibilities and the high costs. In addition, many of our patients have
cited fears about travel during the COVID-19 pandemic or an inability to travel due to COVID-19 as one of
the many reasons they cannot travel out of state for care.”); (Gilbert Decl., Dkt. 8-2, at 16) (“I talked to a
colleague in Alabama who saw a patient last week from Dallas who drove ten hours to get to her, only to be
forced to wait several days for her procedure due to Alabama’s 48-hour waiting period.”).
65 A provider in Oklahoma and Kansas explained that her staff were “working hard to expand our capacity

and increase the number of patients we can serve at both clinics. . . . [by] working toward adding more clinic
days at both locations. Hiring and scheduling physicians and other support staff is no simple feat, though. In
both Kansas and Oklahoma, it is difficult to find in-state physicians who are willing to provide abortion care
because of the documented stigma, harassment, and violence abortion providers face. As a result, we must
recruit doctors from other states who will travel to our clinics. These physicians work with us on a part-time
basis and maintain medical practices and personal lives in their home states. It is challenging to find out-of-
state abortion providers willing to travel to our clinics, and even when we do find them, they must become
licensed in Kansas or Oklahoma before they can provide there. Our clinics also have a critical need for
additional support staff. In particular, we need more nurses . . . . Hiring this medical staff during a pandemic
is challenging to do. Trust Women Oklahoma City has already asked its physicians to increase their clinic days
to provide abortions three days each week. Some doctors are able to make this arrangement, but others
cannot. If S.B. 8 is not blocked, we will work toward providing abortions four days per week (up from two
days), but such a move is entirely dependent on our ability to hire and schedule new physicians and staff. But


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State’s examples only serve to illuminate just how unduly burdensome this ban is in practice. Indeed,

“[w]hile some patients have been able to pull together the resources to travel out of state for medical

care, many others cannot do so and are being forced to carry their pregnancy to term against their

will or to seek ways to end their pregnancies on their own.” (Linton Decl., Dkt. 8-5, at 5). And this

says nothing of the burden on patients and providers in other states. The Court finds, as one

provider credibly described, “[a]bsorbing thousands of Texas residents will have a domino effect on

access and wait times, and will interfere with our ability to provide timely reproductive and sexual

health care to the communities we currently serve. Thus, patients living in [other states] must delay

preventative care or go without . . . .” (Cowart Decl., Dkt. 8-7, at 8).

        Many patients are unable to travel to other states for any number of reasons, from

immigration status to dangerous family situations to financial constraints.66 Indeed, “[t]raveling out

of state for abortion care presents significant, if not insurmountable, logistical and financial

challenges” such that “even the lucky ones able to travel are both delayed in obtaining care and need

to travel hundreds more miles to reach an abortion provider.” (Hagstrom Miller Decl., Dkt. 8-4, at

9).67 And delay is more than a minor inconvenience: patients must “continue to cope with the

physical symptoms of pregnancy, which for many include debilitating nausea and vomiting[;]” face

the risk that “others will discover the pregnancy, including abusive partners or family members[;]”


even if the two Trust Women clinics do expand their capacity, I fear that we still will not be able to serve
Texans and other out-of-state patients affected by S.B. 8.” (Tong Decl., Dkt. 8-6, at 8–9).
66 (See Hagstrom Miller Decl. I, Dkt. 8-4, at 4) (“A majority of patients at the McAllen Clinic are Spanish

speakers, and many face immigration-related restrictions on traveling outside of the Rio Grande Valley. For
example, while many of the patients are in this country legally, their visas prohibit them from traveling
outside of the Rio Grande Valley, so they cannot travel to New Mexico or even to San Antonio for any
reason, including to access abortion services.”); (Gilbert Decl., Dkt. 8-2, at 14–15) (“[T]here have been
multiple undocumented patients who were ineligible for an abortion under S.B. 8, but who stated that
traveling out of state was not an option for fear of being stopped by border patrol and deported. Another
patient said she could not travel out of state because she could not tell her unsupportive family that she was
having an abortion and ‘disappear for a few days’ without an explanation.”).
67 “For example, we saw one patient in McAllen who had already made a backup appointment in Oklahoma,

an 11-hour drive away. I have also spoken to colleagues in Michigan, Florida, New York, New Mexico, and
Georgia who have all seen patients from Texas in the last week.” (Hagstrom Miller Decl. I, Dkt. 8-4, at 9).

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deal with increasing costs and medical risks of both pregnancy and abortion with increasing

gestational age; and “cope with the fear of not being able to obtain abortion care in time (based on

other states’ gestational age limits, as most of the states surrounding Texas ban abortion after 22

weeks LMP)—and of the life-altering consequences of having to go through childbirth against their

will.” (Hagstrom Miller Decl., Dkt. 8-4, at 9). The increased travel burdens have forced more Texans

to turn to practical support organizations for financial and other support.68 The director of one non-




68 One out of state provider credibly described some of the practical obstacles: “We have also seen patients
who are homeless and face tremendous difficulties navigating how to travel a long distance to get an abortion.
One Texas patient, for example, told us that by the time they realized they were pregnant, they could not have
an abortion under S.B. 8 but they did not have any funds to travel out of state. The patient told us they felt
defeated, but knew that having an abortion was the best choice for them for a number of reasons.
Fortunately, we were able to get them an appointment at our health center in Colorado and provide assistance
for them to get there. Sadly, this level of personal and individualized support will simply not be possible for
everyone who contacts us (and there are so many more who will never contact us). Carless individuals trying
to find transportation to our health centers from Texas are also experiencing numerous obstacles to travel.
For example, we recently provided care to a Texas patient who was 7 weeks pregnant, but who did not have
her own credit card to rent a car (which many rental companies require) in order to travel to New Mexico for
an appointment. Although the patient is employed full-time, saving the funds to rent the car and pay for gas
(in addition to the cost of the abortion) was difficult for her. The patient told us she was ultimately able to
secure a rental car by using a friend’s credit card, and drove alone out and back to her appointment in the
same day—over 1000 miles round trip—because she didn’t have paid time off work and couldn’t afford to
miss the hours.” (Cowart Decl., Dkt. 8-7, at 5).

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profit has witnessed the challenges her clients must face,69 all while contending with potential liability

under S.B. 8, and dwindling funds available to support patients in need.70




69 “The number of callers seeking assistance . . . has shot up from approximately ten per week to ten to fifteen
per day. All but one has been unable to obtain an abortion in Texas because no abortion provider is offering
abortion care in the state after approximately six weeks of pregnancy, and virtually all our clients are past six
weeks. As a result, our callers are frantically trying to secure the resources needed to attend abortion
appointments out of state. By driving virtually all Texas residents out of state for abortion care and saddling
abortion facilities closer to various areas of Texas with long wait times, S.B. 8 has forced our callers to secure
appointments in farther and farther locations, including Tulsa and Oklahoma City, Oklahoma; Wichita,
Kansas; Santa Fe and Albuquerque, New Mexico; Denver, Colorado; and Seattle, Washington. Traveling to
any of these locations from Texas has been much more expensive, logistically demanding, and nerve-
wracking for our clients than traveling within the state, particularly during the COVID-19 pandemic. . . . The
out-of-state travel precipitated by S.B. 8 has also required lodging spanning multiple days, added food costs,
extended time away from work depriving clients of critical wages and jeopardizing their jobs, extended time
away from children requiring alternate care arrangements, extended time away from home making it difficult
to conceal a pregnancy or abortion from an abuser, and extended time away from school compromising
minors’ confidentiality before their parents.
          One of our clients obtained an ultrasound . . . only to learn there was cardiac activity and she would
be unable to obtain an abortion in Texas. To do so, she traveled almost 200 miles roundtrip within the state.
Since then, she has struggled to secure enough time off of work to leave Texas. The client’s appointment is
not for another three weeks, in Oklahoma City, Oklahoma, which will require her to make close to a 1,000-
mile round-trip for abortion care. . . . Another client has an appointment today in Albuquerque, New Mexico
and called us in a panic yesterday because, despite fighting tooth and nail, she had been unable to come up
with the funds for a hotel or any ground transportation. Fortunately, we were able to work with another
practical support organization to make sure she could obtain her abortion. . . . Another consequence of S.B. 8
is that most of our current clients must end their pregnancies without the support of loved ones, who can
rarely make lengthy trips without substantial financial and practical support either. . . . [O]ur clients now have
to choose between obtaining earlier appointments in even more distant locations or delaying their abortion
care even longer to get an appointment closer (but not close) to home. Most of our clients attempt to travel
farther because they are committed to ending their pregnancies as soon as possible. . . . One Texan faced with
this dilemma, piled her children into her car and drove over 15 hours overnight to obtain a medication
abortion in Kansas rather than struggle to patch together the money needed for air-fare and childcare or
remain in limbo. Another Texan traveled 12 hours round-trip to Oklahoma during the day to get her
procedure because she did not want her partner to know and was scared he would find out if she was not
home overnight.” (Rupani Decl., Dkt. 8-8, at 2).
70 “S.B.8 has constrained [the organization’s] ability to increase its budget to match the surge in callers and

greater scope of their needs. In the seven business days thus far in September, we have already spent $10,000.
We estimate that we will expend at least $25,000 before October, or a minimum of $10,000 more than usual.
Yet, at least fifteen potential donors have expressed fear that funding . . . . could be understood as aiding or
abetting under the statute. Accordingly, we have been unable to increase the number of callers we help since
S.B. 8 took effect.” When [the organization] lacks the resources to help a caller leave the state for abortion
care, we refer them to other practical support organizations throughout the country. Because these
organizations are serving the same influx of Texans, however, they too are often at capacity. Several callers
have been unable to obtain assistance from any of us and thus unable to leave Texas for an abortion.
Notably, almost all of them have at least one child at home and have expressed that they cannot afford to
care for their existing children if they are forced to have another. In my experience, these callers will carry to
term against their will if S.B. 8 remains in effect.” (Id. at 7–8)

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        Texas residents forced to leave the state must also contend with the abortion restrictions and

backlogs in other states. The Court finds credible the evidence showing that the inundation of Texas

patients overburdens abortion services in other states, many of which are already stretched to the

breaking.71 For example, one provider in Oklahoma described the debilitating pressure on that

state’s limited abortion care resources. Before S.B. 8 went into force, her clinic provided abortions to

approximately ten Texas patients per week, totaling about one quarter of their patients. (Tong Decl.,

Dkt. 8-6, at 4). Since September 1, however, there has been a “dramatic increase in patient volume”:

“the clinic’s call volume has more than doubled from approximately 15 patient appointment calls

per day to 30 to 40. About two-thirds of our patient appointment calls now come from Texas

patients seeking abortions that are unavailable throughout their home state.” (Id.). The clinic is

scheduling at capacity but can accommodate no more than 40 patients per day and 80 per week.

Less than two weeks after the law went into effect, the clinic “has been forced to delay patients’

abortions because of the volume of appointments needed.” (Id.).72 A provider at two Planned

Parenthood facilities in Oklahoma credibly expressed similar sentiments:

        I have treated numerous individuals who reside in Texas and who have been forced to travel
        to Oklahoma to terminate their pregnancies. The surge of Texans that we have provided
        abortions to in our Oklahoma health centers since September 1 is unprecedented, and the
        demand only continues to grow. . . . [T]his is causing our schedules to become very

71  In neighboring Oklahoma, only one clinic in the state provides abortions after approximately 18 weeks
LMP. (Tong Decl., Dkt. 8-6, at 3). As Tong describes, “[d]ue to Oklahoma’s burdensome anti-abortion
restrictions, there are only four abortion clinics in the state, all of which are located in Oklahoma City and
Tulsa. Pregnant people in rural areas of Oklahoma, including the panhandle and southwestern corner of the
state, must travel hundreds of miles to reach the nearest abortion provider. Very few doctors who live in
Oklahoma are willing to provide abortion care. The regulatory requirements are extremely burdensome, and
physicians who do provide abortions are subject to discrimination in the medical and local communities,
harassment, and threatened and actual violence. . . . Trust Women Oklahoma City is therefore staffed entirely
by Oklahoma-licensed physicians based in other states who travel to Oklahoma City to provide abortion care.
. . . As a result, Trust Women Oklahoma City is able to offer abortion appointments only two days each
week.” (Id. at 2–3).
72 “Before September 1, if a patient called on Monday for an appointment, the clinic would generally be able

to schedule the patient for an abortion on a Thursday or Friday of the same week (with the mandatory 72-
hour delay required by Oklahoma law). Now, the clinic is scheduling patients for appointments three weeks in
advance—a significant delay for a time-sensitive medical procedure, and a delay that was extremely rare
before September 1.” (Id.).

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        backlogged and I fear that we will not be able to continue to serve our existing patient
        population in Oklahoma in a timely manner given the overflow of patients coming from
        Texas. I believe this will force many patients to have abortions later in pregnancy, pressure
        patients from communities in Oklahoma to scramble to seek care in other states farther
        away, influence some patients to attempt to terminate their pregnancies outside the medical
        system altogether in unsafe ways, or result in people carrying unwanted pregnancies to term.

(Yap Decl., Dkt. 8-9, at 3).73 The provider also notes credibly that, among the obstacles to obtaining

an abortion in Oklahoma, the state has a 72-hour waiting period, making the travel prohibitively

burdensome or expensive for some. (Yap Decl., Dkt. 8-9, at 5).74 The impact on the Oklahoma

clinics is stunning:

        Since S.B. 8 took effect twelve days ago, I was the sole provider at our Tulsa and Oklahoma
        City health centers . . . and treated 69 patients who reside in Texas. In the days leading up to
        S.B. 8’s effective date, I also treated many patients from Texas who had heard about the law
        in the news and were already scared . . . . [I]n the first six months of 2021 we treated a total
        of 175 Texas residents. . . . [W]e saw 40% of the total number of patients from Texas that
        we would normally see in six months in just twelve days. And since S.B. 8 took effect, we
        have seen an overall staggering 646% increase of Texan patients per day compared to the
        first six months of the year. Currently, people who are traveling from Texas to get an
        abortion in Oklahoma are taking up at least 50% (and on some days nearly 75%) of the
        appointments we have available at our Oklahoma health centers. . . . Indeed, there are over
        240 Texans that have made appointments to . . . this week and next week.75

73 The declarant is “the only abortion provider at our Tulsa health center” and must “occasionally travel to
Oklahoma City to provide abortions when not other provider can.” The Oklahoma City Planned Parenthood
facility relies on “out-of-state doctors who each travel to Oklahoma to provide care a few days per month.”
(Id. at 4). The facilities have provided more than 1,300 abortions in 2021. (Tong Decl., Dkt. 8-6, at 3).
74 “We have had at least two patients from Texas make appointments to have a medication abortion but after

they had traveled to our Tulsa health center, we determined that they were ineligible for a medication
abortion and had to be rescheduled for another day to get a procedural abortion. This meant they had to
travel back to Texas, and then make another round trip from Texas to Oklahoma—traveling hundreds of
miles to get an abortion. We had to reschedule one of these patients for one week later because—due to her
work schedule—the only day she could make the long trip to Oklahoma was the following Saturday. This is a
concern we have heard from other Texas patients, too. Our schedule was already booked but we made an
exception because otherwise this patient would have had to wait two weeks, forcing her to have a more
expensive procedure, which she said she could not afford.” (Tong Decl., Dkt. 8-6, at 7).
75 The provider continues his credible description, “on Saturday, September 10, I provided abortions at our

Tulsa health center and of the 28 patients that received abortions, 17 were from Texas. The day before when
I provided abortions in Oklahoma City, of the 30 patients who received abortions, 23 of those patients were
from Texas. We expect this trend to only worsen over the coming weeks. . . . Specifically, for the week of
September 13, there are 101 people scheduled to have abortions at our Tulsa health center, of which 52 are
from Texas. And at our Oklahoma City health center, there are 219 people scheduled to have abortions, of
which 137 are people who live in Texas.” (Yap Decl., Dkt. 8-9, at 6). Further, “[b]ecause our schedules in
Oklahoma are quickly filling up, we have also begun telling people that they can travel to our health centers in
Kansas, or even Arkansas, to get an appointment sooner.” (Id. at 9).

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This provider echoes the concern that “[p]regnant people from Texas are scared and are frantically

trying to get appointments. They are doing everything they can to get to a state that will allow them

to terminate their pregnancies.” (Id. at 5).76

        Similarly, in Kansas, a clinic that previously provided 20-40 abortions per week, and few to

Texas residents, has seen a crushing increase in patients.77 Since S.B. 8 took effect, “the clinic’s total

call volume has doubled, and approximately half of our calls now come from Texas patients seeking

abortions that they are no longer able to obtain in their home state. That clinic, Trust Women

Wichita is scheduling as many abortion procedures as it can—approximately 30 patients per clinic

day, or 60 patients per week.” (Id. at 5). About half of its patients now are from Texas, traveling

from as far as San Antonio and Houston—some travel 600 miles each way simply to obtain the pills




76 The provider continues, “What I have seen unfold since S.B. 8 took effect has been absolutely devastating.
The patients that are able to make it to Oklahoma to get their abortion are having to make substantial
sacrifices and overcome numerous obstacles, including struggling to come up with the funds to make the trip
to Oklahoma. They are also scared that someone may find out that they had an abortion when they go back
home to Texas and are unsure of what could happen to them under S.B. 8. Those patients who are seeking
abortions in the context of intimate partner violence or other family violence are risking more than they
already do in order to travel out of state to end their unwanted pregnancies. People are also worried about
having to travel long distances in the middle of a pandemic and what that could mean for the health and
safety of themselves and their families. And I too fear that this increased travel puts myself, our staff, and our
patients at greater risk of contracting COVID-19.
         I also know that we are seeing only a fraction of the people in Texas who are seeking to have an
abortion, with some finding care in other states and others who simply cannot travel out of state or are afraid
to do so. I fear that many people, especially those with the fewest resources, will not be able to obtain safe
abortion care at all and will either seek to terminate their pregnancies themselves outside the medical system,
or be forced to carry unwanted pregnancies to term. Abortion is one of the safest medical procedures, but by
forcing patients to travel long distances and likely delay their procedures, Texas is endangering its citizens.
Not only is there no medical basis for this ban, but it is already inflicting serious hardship and trauma on
patients who are making very personal decisions that are right for them and their families.” (Id. at 10).
77 “Trust Women Wichita provides abortion care to approximately 1500 patients per year. . . . There are only

four abortion clinics in Kansas, serving the state’s nearly three million residents, and all four clinics are in the
Wichita or Kansas City metropolitan areas. Trust Women Wichita currently schedules patients for abortions
two days each week. Our schedule is limited by the availability of our physicians, nearly all of whom fly into
Wichita from out of state to perform abortions and have other practices in their home states, and the capacity
of our nurses and our staff. . . . [I]n 2019, Kansas abortion providers cumulatively provided abortions for
only 25 patients from Texas. . . . In 2020, that number soared to 289 because many abortions were
unavailable in Texas and Oklahoma for approximately one month.” (Tong Decl., Dkt. 8-6, at 5).

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for a medication abortion. (Id. at 5–6).78 This influx has resulted in scheduling delays for “most or

all” patients seeking abortion services at the clinic, increasing the risks and anxieties associated with

the process. (Tong Decl., Dkt. 8-6, at 6) (“Delays can result in adverse mental health consequences

for pregnant people who are forced to carry their pregnancies longer than they desired or

intended.”). And with the overlapping state regulation regimes, a delayed abortion can mean the

difference between a medication abortion—only available up to 11 weeks LMP in Kansas—or a

procedural abortion, if a patient is able to obtain an abortion at all. (Id. at 6–7).79 The provider was

“extremely concerned about [the Oklahoma and Kansas clinics’] ability to provide abortion care to

all pregnant people who contact us.” (Id.).80


78 An Oklahoma provider relates the same phenomenon: “While historically (before S.B. 8 took effect) the
patients we treated from Texas tended to live near the border, we are now seeing patients in Oklahoma who
are traveling from all across Texas. I treated one patient, for example, who got in her car at midnight in Texas
so that she could drive through the night and make it to Oklahoma in the morning for her abortion
appointment, and then she had to turn around the same day to travel back to Texas. Another patient
traveled six hours (one way) to get to Oklahoma and said she drove alone because she was worried about
asking someone to accompany her in case they could get in trouble under S.B. 8. Just since S.B. 8 took effect,
I have treated patients who have traveled from as far as Austin, Houston, Round Rock and San Antonio,
which means patients are traveling anywhere from 5 to 8 hours (one way) to get to our health centers in Tulsa
or Oklahoma City. . . . I can think of at least one patient who got a last minute ticket to come by plane, and
returned back to Texas the same day.
         I also treated a patient from Texas who found someone to give her a ride to Tulsa, Oklahoma for her
appointment, but the trip took longer than expected and they arrived too late for her to get an abortion that
day. We managed to accommodate her on the Oklahoma City schedule for the next day, but she had to
scramble to find a hotel in Oklahoma for the night and get assistance to be able to pay for the hotel.
Unfortunately, her ride could not spend the night in Oklahoma so she had to also find help to get to
Oklahoma City from Tulsa, and then we had to help her with a bus ticket to get back to Texas. There was
only one bus that she could take, so we had to get her in and out of the abortion clinic with enough time to
make it to the bus station. . . . And while we are going to extraordinary measures to accommodate patients
due to S.B. 8, this is not a sustainable way to operate our health centers.” (Yap Decl., Dkt. 8-9, at 5–7).
79 “Additionally, although abortions at any gestational age are very safe, delays will push patients towards

more complicated procedural abortions in their second trimester. Later-stage procedural abortions carry
increased medical risks, may involve multiple visits to the clinic over two days, and involve significantly more
financial cost to patients—creating even more hardship for the economically and medically vulnerable
populations we serve. Most alarmingly, delays in abortion care might prevent some pregnant people from
obtaining an abortion altogether. Although we are working to mitigate that possibility, the need to
accommodate so many additional patients will mean that Trust Women may become unable to see some
patients before they reach the legal gestational limit for abortion in Kansas.” (Tong Decl., Dkt. 8-6, at 7).
80 Further, the clinics “have direct experience with abortion bans in neighboring states and know that the

influx of patients in Kansas and Oklahoma will require capacity we do not have. For example, during the


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        Clinics in Colorado, New Mexico, and Nevada have also seen an increase in Texas patients

since S.B. 8 went into force. Ordinarily, Planned Parenthood facilities in these states provide an

average of 8.8 abortions for Texas residents per week. (Cowart Decl., Dkt. 8-7, at 3). “Yet, in a one-

week period (9/3/21–9/9/21), [the facilities] provided abortion services to 20 Texas patients—

which is 53% of [the] typical monthly patient volume [in] less than a third of the month” and “at

least 64 Texas residents who have scheduled appointments . . . in the coming weeks . . . .” (Id.).81 To

be clear, of these states, only New Mexico shares a border with Texas. Patients are thus undertaking

significant travels, in the midst of a pandemic, to access abortion care.82 In these states too, the

constant stream of Texas patients has created backlogs that in some places prevent residents from

accessing abortion services in their own communities. As the Planned Parenthood provider explains

credibly, a “significant percentage of the appointments available in our relatively small New Mexico

health centers are going to Texas residents. . . . [O]n August 31, the day prior to the law taking

effect, all of our online abortion appointments for [the] Albuquerque health center were made by


COVID-19 emergency in 2020, when both Texas and Oklahoma had executive orders preventing pregnant
people in those states from accessing abortions, Trust Women Wichita provided abortions to 200 Texans.
Both of those abortion bans were short-lived but taught us that we do not have the capacity to accommodate
large numbers of out-of-state patients in addition to the patients living in the communities we typically serve.”
(Id. at 8).
81 According to the credible provider, “this number may be an underestimation as we don’t require patients to

provide their address or location when making an appointment.” (Cowart Decl., Dkt. 8-7, at 4).
82 Patients from Texas travel incredibly long distances to reach our health centers in New Mexico and

Colorado; one patient even traveled all the way to one of our Southern Nevada health centers. For example,
we have had Texas patients travel from Fort Worth to Boulder, CO (approximately 790 miles one way); San
Antonio to Park Hill, CO (approximately 930 miles one way); and Houston to Fort Collins, CO and Aurora,
CO (approximately 1000 miles one way). Even those Texas patients who have come from cities that are
closer to the New Mexico border (such as El Paso and Amarillo) are having to make 4-hour drives (one way)
to reach our Albuquerque, NM health center. When faced with longer wait times at their “nearest” location
within our states, some patients have had to travel longer distances to access the care they need. On average,
the Texas patients we have seen since S.B. 8 went into effect have traveled approximately 650 miles (one way)
to access abortion out of state.” (Id. at 4). Moreover, “for patients who are experiencing intimate partner
violence, seeking an out-of-state abortion poses numerous challenges. For example, one patient told us that
she is discreetly attempting to leave Texas without her husband finding out because he is abusive and she
does not want to carry this pregnancy to term. She has told our staff that she is desperate, and is going to
extraordinary lengths to scrape together the funds (including selling personal items) to be able to make the
additional expenses of an out-of-state trip, but is very worried that her husband will find out given all the
logistical planning that she is doing.” (Id.).

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Texas residents.” (Id. at 5). Further, “[f]rom September 1 to September 11, Texas patients made up

close to one-third (29%) of the total abortion patients we saw at our New Mexico health centers.”

(Id.). When New Mexico clinics were similarly overwhelmed by Texas patients following Governor

Abbot’s shutdown of clinics early in the pandemic, providers were forced to refer New Mexico

patients to Colorado clinics, “negatively impacting their ability to seek care closer to their homes in

New Mexico.”83 According to credible calculations by a provider, “[i]f we averaged the number of

patients seen over the 5-week COVID-19 ban in Texas and assumed the current ban would follow a

similar pattern, [we] would expect to see 2,080 patients from Texas per year, up from 458 . . . . This

would be 4.5 times as many patients as [we] usually see[] from Texas.” (Id. at 7). But these smaller

clinics simply cannot cope with such an increase in demand;84 “[e]ven before the pandemic, this

would have strained operations and impacted patients from across our region. But . . . the pandemic

has put significant strain on our operations and we are not operating today at the same capacity . . .

.” (Id. at 7). Among other complications, the pandemic has created staffing shortages that further

burden abortion care resources.85 “Thus, despite sound operations, exhausting effort, and deep


83 “During the approximately five weeks when Texas deemed abortion services non-essential (3/22/20–
4/25/20), [Planned Parenthood facilities in the three states] saw 198 patients from Texas where we would
have expected only 44 patients based on prior monthly averages. This was a 350% increase over expected
patient volume from Texas and is a relevant case study for what we can anticipate since the State’s ban on
abortions after 6 weeks went into effect. During the time that the COVID-19 executive order was in place,
we were referring patients from New Mexico to our Colorado health centers in Durango and Cortez . . . . At
its peak during the COVID-19 ban, PPRM saw double the Texas patients in one week (64) than would
typically be observed in an entire month. Naturally, the numbers from this five-week period only captured
Texas patients who had the means, funding, and could take time away from school, work and other
responsibilities to facilitate travel outside of Texas for abortion care and undercounts the true demand for
services. For a host of reasons, many people will be unable to make the long out-of-state trips to bordering
states at all.” (Cowart Decl., Dkt. 8-7, at 6–7).
84 “[A]ccording to the most recent publicly available data, in 2019, there were 55,966 abortions performed in

Texas on Texas residents, whereas in 2019, the total number of abortions performed in New Mexico was
2,735. In 2020, there were 10,368 total abortions performed in Colorado.” (Id. at 7).
85 “Currently, we are at 75% staff capacity with significant shortages of licensed providers and support staff.

Indeed, right now due to staffing shortages, two New Mexico sites are sharing providers as we work to
increase staffing. Dealing with an influx of patients traveling long distances from another state also adds to
the stress and concerns our staff have about their own health and safety in avoiding contracting COVID-19.”
(Id. at 8).

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dedication to all patients regardless of their zip code, there is simply no way we can increase capacity

by that sort of magnitude to absorb tens of thousands Texas patients seeking their important, legal

health care.” (Id. at 8). These circumstances “will inevitably lead to scheduling delays[,]” as the

facilities were already scheduling two weeks in advance by mid-September. (Id. at 6). Moreover, the

clinics in New Mexico and Nevada do not provide abortions after 18 weeks LMP, meaning wait

times are even longer for those at later gestational stages.86 According to the Amici, similar effects

are expected to be felt in California and Illinois as well, underscoring the vast geographic reach of

S.B. 8’s implications. (Br. of Amici, Dkt. 9-1, at 10).

        All this is to say that the State does not exist in a vacuum. Indeed, if Texas’s neighbors,

much less every other state, were to pass laws similar to S.B. 8—which if S.B. 8 is constitutional—

they are free to do—there would be no other states to which pregnant people could travel to obtain

an abortion. (See Newman Decl., Dkt 59-1, at 2) (citing Kurtis Lee & Jaweed Kaleem, The New Texas

Abortion Law Is Becoming a Model for Other States, L.A. TIMES (Sept. 18, 2021), https://www.latimes.

com/world-nation/story/2021-09-18/texas-abortionunited-states-constitution) (“From the Deep

South to the Upper Midwest, legislators in many conservative states have started to explore how

similar laws could be put in place in the months ahead.”). Underscoring the national scope of the

harm, Kansas clinics are now struggling to cope with an influx of patients from Louisiana who, prior

to the passage of S.B. 8 would have traveled to Texas for abortions, but now must find another,




86The provider continues credibly, “[u]nderstandably, people are devastated that they cannot access health
care closer to home and that they are having to wait longer and face tremendous barriers than if Texas had
not forced abortion providers to shut down. One Texas patient had planned her pregnancy but recently
learned that the fetus had an anomaly incompatible with life. She was told by her doctor in Texas that there is
no exception under S.B. 8 for her circumstances, and that her only options were either to carry to term with
the fetus dying after birth, or to leave the state to receive the needed care to terminate the pregnancy.
Understandably, she was stricken with grief in dealing with this added burden. Our patient does not want to
incur the trauma of being forced to carry the pregnancy to term, and is hoping to move past this loss to
continuing planning her family. Faced with this heartbreaking “option,” she decided to make the long trip to
Colorado to seek care out of state.” (Id. at 6).

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more hospitable state among the ever-dwindling number. (Tong Decl., Dkt. 8-6, at 6). And laws

recently enacted in Oklahoma will, if they take effect, further burden the region’s abortion care

resources.87 Even now, an Oklahoma provider “had one woman from Texas who made an

appointment . . . but by the time she was scheduled, completed the consult appointment, and made

it in for the abortion appointment, . . . learned she was past the gestational age limit by which we

could provide an abortion at our clinic[,]” meaning the provider “regrettably had to refer that Texas

patient to a health center hours away in Colorado.” (Yap Decl., Dkt. 8-9, at 7). Indeed, states across

the country have enacted record numbers of abortion restrictions in recent years, including laws that

purport to ban all or most abortion services. (See Br. of Amicus, Dkt. 9-1, at 26). Given this trend,

there are increasingly few places for Texas residents to turn. State lines only provide a refuge so long

as different laws exist across them. But the constitutionality of a Texas law surely cannot turn on the

policy choices of its fellow states.

                                       iv. Other Provisions of S.B. 8

        The “undue burden” affirmative defense also fails to save the law, in the event that the law is

understood as a regulation rather than a ban, and assuming that the deterrent effect of the law has

not succeeded to the extent that a provider can still be found to perform the procedure. The Casey

court was clear in defining an “undue burden,” explaining, “Because we set forth a standard of

general application to which we intend to adhere, it is important to clarify what is meant by an

undue burden. . . . To the extent that the opinions of the Court or of individual Justices use the

undue burden standard in a manner that is inconsistent with this analysis, we set out . . . the

controlling standard.” 505 U.S. at 876–77. The affirmative defense written into S.B. 8 “bears no


87“Oklahoma has passed five anti-abortion laws, all of which will take effect on November 1, 2021, unless
blocked by court order. At least two of those laws would decimate abortion access in the state: (1) H.B. 1102,
which is essentially a total ban on abortion that declares provision of abortion to be unprofessional conduct
by physicians that carries a penalty of, at a minimum, suspension of medical licensure for one year, and (2)
H.B. 2441, which bans abortion at approximately six weeks LMP.” (Tong Decl., Dkt. 8-6, at 9).

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resemblance” to the Casey standard, (Mot. Prelim. Inj., Dkt. 8, at 15), and so cannot bring an

otherwise unconstitutional law into compliance with that precedent. Further, it is implausible that

this obscure and somewhat unclear provision in the law will be sufficient to convince providers to

continue to provide abortions in the face of all of the obstacles discussed above. And unless it has

this effect, the affirmative defense—despite its name—does nothing to lessen the undue burden

imposed by S.B. 8.

        Having found that Section 3’s post-embryonic cardiac activity ban is likely unconstitutional,

the remaining provisions of S.B. 8 must also be found facially invalid, as this Court declines to comb

through S.B. 8 “in piecemeal fashion” after determining that “the statutory provisions at issue [are]

facially unconstitutional.” Hellerstedt, 136 S. Ct. at 2318–19, as revised (June 27, 2016). Sections, 6 ,7

and 9 of S.B. 8 are unconstitutional in that they serve no purpose aside from implementing and

punishing non-compliance with the six-week ban. For example, the Court need not assess separately

S.B. 8’s mandate that physicians test for cardiac activity in an embryo before performing an abortion

because this requirement has no cognizable state interest aside from “the prohibition on abortion

after detection of cardiac activity.” See Planned Parenthood S. Atl., 2021 WL 672406, at *1; SisterSong

Women of Color Reprod. Just. Collective v. Kemp, 472 F. Supp. 3d 1297, 1324 (N.D. Ga. 2020) (remaining

provisions of Georgia abortion law invalid where “mutually dependent” on section found

unconstitutional). Similarly, the remaining sections of Section 3 that purport to create scheme to

enforce the six-week ban have no meaning in the absence of any prohibition of abortions under S.B.

8. See S.B. 8 § 171.208(a)(2) (limiting liability to those who aid or abet an abortion “performed or

induced in violation of” S.B. 8). As such, Sections 3, 6, 7, and 9 of S.B. 8 are facially invalid in their

entirety, and accordingly their enforcement must be enjoined. The same must be true for the entirety

of S.B. 8, for “[t]he provisions are unconstitutional on their face: Including a severability provision

in the law does not change that conclusion. Hellerstedt, 136 S. Ct. at 2319.


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        The State argues that, should the Court find any provision of S.B. 8 to be unconstitutional, it

should sever such provisions from the law and leave the remaining provisions intact. In support of

this request, the State cites the severability provision of the law, which confirm that the Texas

legislature “intended all provisions . . . to be severable,” that it “would have enacted any and all

provisions . . . regardless of whether any provisions are subsequently determined to be

unconstitutional,” and that “each provision is severable.” (Resp., Dkt. 43, at 55). However, as the

Supreme Court wrote in Hellerstedt, “our cases have never required us to proceed application by

conceivable application when confronted with a facially unconstitutional statutory provision.” 136 S.

Ct. at 2319. Such an approach would be “quintessentially legislative work” outside the bounds of the

court’s ordinary review. Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320, 329 (2006). The

State attempts to distinguish the law and its severability provision from those at issue in Hellerstedt,

but such a distinction cannot stand, because the severability provision of the very same law is at issue:

Texas Health and Safety Code Chapter 171. In that case and here, the State has attempted to insulate

its amendments to that law with substantially the same severability provisions. Compare Hellerstedt,

136 S. Ct. at 2318–19 (“The severability clause says that ‘every provision, section, subsection,

sentence, clause, phrase, or word in this Act, and every application of the provision in this Act, are

severable from each other.’. . . It further provides that if ‘any application of any provision in this Act

to any person, group of persons, or circumstances is found by a court to be invalid, the remaining

applications of that provision to all other persons and circumstances shall be severed and may not

be affected.’”) (citing H.B. 2, § 10(b), with Resp., Dkt. 43, at 70 (“In section 171.212 . . . , the Texas

Legislature explicitly stated that (1) it intended all provisions of chapter 171, in which the heartbeat

provisions are located, to be severable, and (2) it would have enacted any and all provisions of

chapter 171 regardless of whether any provisions are subsequently determined to be




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unconstitutional.”)). Here, as there, the Court “reject[s] Texas’ invitation to pave the way for

legislature to immunize their statutes from facial review.” Hellerstedt, 136 S. Ct. at 2319.

         b. Whether S.B. 8 Violates Preemption and Intergovernmental Immunity Principles

         The United States also separately asserts as-applied challenges based on S.B. 8’s interference

with federal officers and programs that provide or facilitate abortions for those under the programs’

ambits. (Compl., Dkt. 1, at 15–24; Mot. Prelim. Inj., Dkt. 8, at 16–22). As the Court has already

established the United States’ likelihood of success in establishing the unconstitutionality of S.B. 8

broadly, it need not dwell extensively on as-applied challenges to S.B. 8’s impact on federal

programs. However, it will briefly address this point as it finds the United States has a high

likelihood of success in demonstrating that S.B. 8 violates constitutional principles of preemption

and intergovernmental immunity. Under the doctrine of preemption, “state laws are preempted

when they conflict with federal law.” Arizona, 567 U.S. at 399 (2012). State laws are also preempted

when they “stand as an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress.” Aldridge v. Miss. Dep’t of Corrections, 990 F.3d 868, 875 (5th Cir. 2021)

(quotations omitted). This doctrine includes cases where “compliance with both federal and state

regulations is a physical impossibility.” Arizona, 567 U.S. at 399 (quotations omitted). In order for a

state law to be preempted, it must be in “sharp conflict” with the federal law. Williams, 987 F.3d at

198.88

         Regarding intergovernmental immunity, states cannot “control the operations of the

constitutional laws enacted by Congress” nor directly impede the Executive Branch’s “execution of

those laws.” Trump v. Vance, 140 S. Ct. 24124, 2425 (2020). States may not subject federal officers to

liability by states for carrying out their federal duties. In re Neagle, 135 U.S. 1, 62 (1890) (noting that



 The preemption doctrine applies to federal regulations as well as statutes. See, e.g., Fla. Lime & Avocado
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Growers, Inc. v. Paul, 373 U.S. 132, 138, 141 (1963).

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the Supremacy Clause protects the right of the United States and its officers to enforce federal law

without state interference). Further, a state law violates intergovernmental immunity if it “interferes

with a federal contractor’s ability to discharge” its contractual obligations to the federal government.

Student Loan Servicing, 351 F.Supp.3d at 73–74.

         In response to the United States’ arguments that S.B. 8 is preempted by federal law and

violates principles of intergovernmental immunity, the State’s primary argument is that “Texas

courts are unlikely to interpret the Act to apply the federal government . . .” (Resp., Dkt. 43, at 39).89

However, this argument is ineffective for two reasons: First, S.B. 8 does not explicitly disclaim its

applicability to the federal government. And second, without an explicit disclaimer, the doctrines of

preemption and intergovernmental immunity are violated, regardless of whether anyone actually sues

the United States to enforce S.B. 8. The United States has sufficiently established that S.B. 8

conflicts with the laws and regulations governing the abortion-related services of its agencies, as it

would subject them to liability for carrying out their mandates to provide or facilitate pre-viability

abortions. (See, e.g., McLearen Decl., Dkt. 8-10, at 4–5; Sheehan Decl., Dkt. 8-11, at 6; Matz Decl.,




89The State argues this Court should not decide the applicability of S.B. 8 to the federal government because
of the Pullman abstention doctrine. (Resp., Dkt. 43, at 40). The Pullman abstention doctrine is appropriate only
when “(1) there is a substantial uncertainty as to the meaning of the state law and (2) there exists a reasonable
probability that the state court’s clarification of state law might obviate the need for a federal constitutional
ruling.” See Hawaii Hous. Auth. v. Midkiff, 467 U.S. 229, 236 (1984). The doctrine “is an extraordinary and
narrow exception to the duty of a District Court to adjudicate a controversy properly before it.” Southwest
Airlines Co. v. Texas Inter. Airlines, Inc., 546 F.2d 84, 92 (1977) (citing Alleghany Cty. V. Frank Mashuda Co., 360
U.S. 185, 188–89 (1959)). “[A]bstention is inappropriate when the United States seeks to assert in federal
court a superior federal interest.” United States v. Composite State Bd. Of Medical Examiners, State of Ga., 656 F.2d
131, 135 (1981). As discussed supra in Section IV(B)(1)(a)(ii), the United States has a significant federal
interest in ensuring its agencies are able to follow the laws and regulations governing their provision of
abortion-related services. This interest is superior to that of the State’s in supporting the validity of S.B. 8, as
S.B. 8 likely violates the Supremacy Clause, preemption, and principles of intergovernmental immunity. As
such, this Court does not find that this case fits within Pullman’s “extraordinary and narrow exception” to this
Court’s jurisdiction.

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Dkt. 8-14, at 5; Bodenheimer Decl., Dkt. 8-15, at 3).90 For example, S.B. 8 permits liability for

providing abortion services in cases of rape, incest, and assault, see Tex. Health & Safety Code §

171.208(j), while federal regulations require BOP to assume all costs for an individual who requests

an abortion if the pregnancy resulted from rape or incest. (McLearen Decl., Dkt. 8-10, at 6, 25); 28

C.F.R. § 551.23. This type of direct conflict between S.B.8 and federal law easily constitutes a case

where “compliance with both federal and state regulations is a physical impossibility.” Arizona, 567

U.S. at 399 (quotations omitted).

         The State additionally goes through each of the federal programs cited by the United States

as being impacted by S.B. 8 and, in doing so, makes three main arguments. First, the State asserts

that BOP, USMS, ORR, OPM, DOL, and Medicaid are only required to perform abortion-related

services when they are able to do so in line with the applicable state law regarding abortions, and as

such, should be able to accommodate S.B. 8. (Resp., Dkt. 43, at 40–42). But, of course, the

requirement that abortion provision be consistent with state law assumes the constitutionality of the

state law. Requiring federal programs providing mandated abortion services to suffer liability based

on a state law that is likely unconstitutional “subject[s] federal officers to liability . . . for carrying out

their federal duties” and is thus most likely violation of intergovernmental immunity. See In Re

Neagle, 135 U.S. at 62.




90 The Texas Intervenors argue that any federal obligations to arrange for post-heartbeat abortions can be
“fulfilled by having those abortions performed in other states.” (Int. Resp., Dkt. 44, at 16). The State itself
made this argument during the October 1, 2021 hearing on the preliminary injunction. (Hr’g Tr., Dkt. 65, at
86). But that is precisely the issue—in order for these agencies to comply with their responsibilities under
federal statutes, regulations, and case law, they must expend considerable resources. (McLearen Decl., Dkt. 8-
10, at 5–6; Sheehan Decl., Dkt. 8-11, at 4–5; De La Cruz Decl., Dkt. 8-12, at 7; Torres Decl., Dkt. 8-13, at 5–
6; Matz Decl., Dkt. 8-14, 5–6). The agency directors have stated they are unsure of how to comply with their
federal law obligations and S.B. 8 simultaneously, and whether providing services that purport to violate S.B.
8 will subject them to liability. (See, e.g., McLearen Decl., Dkt. 8-10, at 4). This is sufficient to demonstrate that
S.B. 8 is, at the very least, “an obstacle to the accomplishment and execution of” these agencies’ obligations
under the law. See Aldridge, 990 F.3d at 875.

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        The second argument the State makes is that DoD and ORR are not themselves responsible

for coordinating abortion services but must instead simply “step out of the way” when individuals in

their care or custody request such services. (Resp., Dkt. 43, at 41–42; see also Hr’g Tr., Dkt. 65, at 57).

However, the evidence before this Court does not support this conclusion. ORR regulations state

that the agency “must provide access to abortion services when requested and permitted by law.”

(Def. Hr’g Exh., Dkt. 67-11, at 44–46; De La Cruz Decl., Dkt. 8-12, at 5). Further, the DoD has the

authority to use federal funds to provide abortions to individuals in its care when “the life of the

mother would be endangered” or where the pregnancy resulted from “rape or incest.” S.B. 8

explicitly. 10 U.S.C. § 1093(a). But S.B. 8 allows suits based on “rape, sexual assault, [or] incest,” and

the law provides only a very narrow exception for abortions during a “medical emergency,” which

may not be interpreted by providers working with DoD to encompass an abortion any time the

mother’s life might be endangered. See Tex. Health & Safety Code § 171.205(a).91 As such, the

regulations and statutes governing the ORR and DoD are in conflict with S.B. 8 and likely violate

the preemption doctrine.

        Finally, regarding DOL, the State makes the curious argument that there is no violation of

intergovernmental immunity since only one or two participants in Texas’s Job Corps centers

requested abortion services between 2019-21. (Resp., Dkt. 43, at 41, 43–44). It appears the State

believes there is some sort of volume requirement when it comes to the number of people that must

be affected by a law to find a violation of intergovernmental immunity. This requirement, of course,

does not exist. See Elk Grove Unified Sch. Dist. v. Newdow, 124 S. Ct. 2301, 2323 (2004) (“There are no

de minimis violations of the Constitution—no constitutional harms so slight that the courts are

obliged to ignore them.”). S.B. 8 has already changed the way DOL provides healthcare for their


91This same conclusion applies to Medicaid, which must, when medically necessary, provide abortion-related
services for pregnancies resulting from rape or incest, or to save the life of the pregnant person. (Costello
Decl., Dkt. 8-16, at 4).

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participants by increasing costs and limiting opportunities for these individuals to access abortions,

should they request one. (See Torres Decl., Dkt. 8-13, at 5–6; Matz Decl., Dkt. 8-14, 5–6).92 The law

plainly conflicts with the agency’s obligations to facilitate services for any present or future Job

Corps participants seeking an abortion beyond the timeline allowed by S.B. 8. As such, there is a

high likelihood S.B. 8 violates intergovernmental immunity.

        Given the propriety of the United States as plaintiff, the State as defendant, the nature of the

equitable action, and the apparent constitutional violations, the Court finds that the United States is

substantially likely to succeed on the merits of its claims.

                                             2. Irreparable Harm

        The party seeking a preliminary injunction must prove that irreparable harm is likely, not

merely possible. Winter, 555 U.S. at 22. Irreparable harm “consists of harm that could not be

sufficiently compensated by money damages or avoided by a later decision on the merits.” Canon,

Inc. v. GCC Int’l Ltd., 263 F. App’x 57, 62 (Fed. Cir. 2008). The State urges that a preliminary

injunction would not prevent irreparable harm, as “[t]he threat of liability would remain given the

significant possibility that a preliminary injunction would be stayed, reversed, or not turned into a

permanent injunction . . . .” (Resp., Dkt. 43, at 60). What the State fails to understand, or chooses

not to acknowledge, are the stakes of this injunction in the lives of its citizens. The cases it cites

address monetary penalties, funding regulations, and arbitration procedures. See, e.g., American Postal

Workers Union, AFL-CIO v. U.S. Postal Service, 766 F.2d 715 (2d Cir. 1985); Buckingham Corp. v. Karp,

762 F.2d 257, 262 (2d Cir. 1985); Ohio v. Yellen, No. 1:21-cv-181, 2021 WL 1903908, at *14 (S.D.

Ohio May 12, 2021); Chiafalo v. Inslee 224 F. Supp. 3d 1140, 1147 (W.D. Wash. 2016); Oxford Capital



92Job Corps administrator Rachel Torres testified during a deposition that the North Texas Job Corps center
does not pay costs related to abortion services for its participants. (Def. Hr’g Exh. 12, Dkt. 67-12, at 36–38).
This is in line with her sworn declaration, which explained how three of the four Job Corps sites in Texas do
in fact pay for abortion-related costs. (Torres Decl., Dkt. 8-13, at 5).

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Ill., L.L.C. v. Sterling Payroll Fin., L.L.C., No. 1:01-cv-1173, 2002 WL 411553, at *5 (N.D. Ill. Mar. 15,

2002). At the most basic level, these cases do not present the same fundamental and immediate

threats to the lives and wellbeing of citizens as seen here. Attempts to analogize to those cases are of

course valid to understand the legal principles, but this exercise cannot be allowed to overshadow

the reality that real people are being denied the constitutionally protected right to make decisions

about their pregnancies. The State attempts to distance the law from its consequences, but let us be

clear: S.B. 8 prevents individuals from exercising their right to obtain abortions in Texas, and an

injunction will restore that right. The Court finds credible the appraisal of the current state of affairs

by one provider:

        Every day that S.B. 8 is in effect, our patients are in jeopardy. Draconian laws like S.B. 8 do
        not stop people from needing abortions, and they don’t stop abortions from happening—by
        eliminating safe and legal options, they only force abortion care underground with
        potentially devastating consequences. This cruel and dangerous law is causing irreparable
        harm to our patients and the communities we serve.

(Linton Decl., Dkt. 8-5, at 15).

        The State attempts to argue that a preliminary injunction will provide no redress to the

harms caused by S.B. 8, claiming that the deterrent effect of S.B. 8 will remain even if the law is

preliminarily enjoined. (Resp., Dkt. 43, at 61). This claim rests on the section of S.B. 8 providing that

“reliance on any court decision that has been overruled on appeal or by a subsequent court” is “not

a defense.” Tex. Health & Safety Code § 171.208(e)(3). The State claims it is unlikely providers will

be willing to resume abortion procedures upon an injunction, given that the retroactivity provision

in S.B. 8—of questionable legality itself—extends future liability to abortions facilitated during the

operation of any preliminary injunction. There is no reason to assume providers will be so deterred.

Indeed, the President and Chief Executive Officer of Whole Women’s Health and Whole Women’s

Health Alliance (which collectively operate four clinics in Texas) has represented that the clinics

under her authority will resume providing those abortions prohibited under S.B. 8 “if and when a


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preliminary injunction is entered in this case[,]” and has received personal confirmation that other

clinics will do the same. (See Hagstrom Miller Decl. II, Dkt. 59-2, at 2).93 But even if the desired

chilling effect of this provision does materialize, such speculation is no reason for the Court to tie its

own hands.

        Despite the State’s attempts to obscure the question, the irreparable harm inquiry is in reality

quite clear: people seeking abortions face irreparable harm when they are unable to access abortions;

these individuals are entitled to access to abortions under the U.S. Constitution; S.B. 8 prevents

access to abortion; a preliminary injunction will allow—at least for some subset of affected

individuals—abortions to proceed that otherwise would not have.94 The harm from S.B. 8 has

already materialized, as “[t]he civil penalties and burdens of litigation threatened by this ban are

severe and . . . . have already prevented abortion providers from carrying out [their] medical and

ethical duties.” (Gilbert Decl., Dkt. 8-2, at 15). It is clear that, absent an injunction, “[t]he majority of

pregnant Texans who want an abortion will be forced to carry those pregnancies to term and face

the risks—medical and financial—attendant with childbirth.” (Hagstrom Miller Decl. I, Dkt. 8-4, at

8). Moreover, the Court finds credible the existential threat to abortion clinics, and thus to the


93 Hagstrom Miller further attests, “this week our physicians have been using their discretion to provide
patients whose pregnancies are found to have cardiac activity with all state mandated information to comply
with Texas’s 24-hour mandatory delay, so that if and when a preliminary injunction is entered, we will be
ready to call those patients to come in for abortions. . . . I have had personal conversations with the majority
of independent abortion clinics in Texas regarding S.B. 8. I can affirm that like WWH/WWHA, many
providers will resume pre-viability abortion services to patients with cardiac activity up to the legal limit in
Texas (17.6 weeks LMP or 21.6 weeks LMP, depending on the type of clinic) if and when a preliminary
injunction is entered in this case. While we continue to have concerns about liability under S.B. 8 if the
injunction is later reversed, neither we nor our patients can wait the months or even years for completion of
all S.B. 8 litigation to resume services. If this Court issues an injunction, we intend to follow the Court’s order
and resume services.”) (Id. at 2-3).
94 (See Rupani Decl., Dkt. 8-8, at 8) (“Despite our staff working 12- to 14-hour days, however, [a practical aid

organization] cannot meet the level and scope of need we are seeing since S.B. 8 took effect. Indeed, no
network of organizations can serve the untold number of Texans seeking abortions whose only option now is
to leave the state, but who cannot afford to or are practically unable to do so. Currently, the relatively
fortunate clients are those who are able to leave Texas, subject nonetheless to delayed abortion care, lengthy
travel, and significant time away from work and home. In these ways, S.B. 8 has triggered an unprecedented
crisis that will persist until the statute is invalidated.”).

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constitutional right to abortion, as articulated by the President and Chief Executive Officer of

Whole Women’s Health and Whole Women’s Health Alliance:

        If the law remains in effect for an extended period of time, and we are only able to serve a
        fraction of our patients with a fraction of our staff, we will have to shutter our doors and
        stop providing any healthcare to the communities we serve. I believe that, without court-
        ordered relief in the next couple of weeks, S.B. 8 will shutter most if not all of the remaining
        abortion clinics in Texas. . . . We simply cannot stay open if we are only providing a fraction
        of patient services.

(Hagstrom Miller Decl. I, Dkt. 8-4, at 11). Therefore, an injunction is appropriate and warranted to

prevent irreparable harm to the United States’ interest in protecting the constitutional rights of its

citizens.

                                3. Balance of Equities and Public Interest

        When the United States is a party to a preliminary injunction motion, the final two factors of

the inquiry—balance of the equities and public interest—merge. Nken, 556 U.S. at 435. Here it is

abundantly clear that the harm to the plaintiff and the public interest “are one and the same, because

the government’s interest is the public interest . . . .” Pursuing Am.’s Greatness v.

Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016). The State argues that, to the extent S.B. 8

causes any harm to individual citizens, it is not within the United States’ purview to rectify those

harms, and that the harm to the United States itself is merely “de minimis” financial costs. (Resp.,

Dkt. 43, at 54). However, the United States’ interest in vindicating the constitutional rights of its

citizens is a sovereign interest, as “our National Government is republican in form and . . . national

citizenship has privileges and immunities protected from state abridgement by the force of the

Constitution itself.” U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 842 (1995) (Kennedy, J.,

concurring). The United States is charged with protecting those “privileges and immunities.” See

Brackeen, 994 F.3d at 292 n.13 (stating that the federal government, and not the state, is the ultimate

protector of the constitutional rights of its citizens). Defending the constitutional rights of citizens is



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always in the public interest. G&V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079

(6th Cir. 1994) (citing Gannett Co., Inc. v. DePasquale, 443 U.S. 368, 383 (1979)).

        Included within the United States’ interest in upholding the legitimacy of the Constitution is

the federal government’s interest in defending against schemes that offer state governments an

opportunity to do an end run around the Constitution. See infra Section V (discussing how the model

of S.B. 8 could be replicated to impede upon other types of constitutional rights). The United States

has demonstrated that it is in its interest—and therefore the public’s interest—to prove that the

Constitution is not only as strong as one state’s thinly veiled attempt to restrict constitutional rights

and preclude judicial review. “[T]here is the highest public interest in” preserving

“constitutional guarantees, including those that bear the most directly on private rights. United States

v. Raines, 362 U.S. 17, 27 (1960). Conversely, the State can have no interest in enforcing a law that is

likely unconstitutional on its face, nor can it have any valid interest in shielding an arguably

unconstitutional law from judicial review. See Velazquez, 531 U.S. at 546 (noting that a statute written

with the intent to limit judicial review “threatens severe impairment of the judicial function”).

                  V. THE PRELIMINARY INJUNCTION AND ITS EFFECT

        Based on the foregoing, this Court holds that a remedy in equity is warranted and will enter a

preliminary injunction that comports with the well-established principles of equity. The State insists

that this Court should examine the individual provisions of S.B. 8 and sever only portions of it.

(Resp., Dkt. 43, at 70–71); Tex. Health & Safety Code § 171.212. While S.B. 8’s severability clause

“express[es] the enacting legislature’s preference for a narrow judicial remedy,” its severability clause

does not require this Court to perform legislative work.95 Hellerstedt, 136 S. Ct. at 2319. Like the

Hellerstedt Court, this Court will not attempt the legislative exercise of picking and choosing what


95While S.B. 8 states that “[n]o court may decline to enforce the severability requirements . . . on the ground
that severance would rewrite the statute or involve the court in legislative or lawmaking activity,” this Court
follows the Supreme Court’s instructions.

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portions of S.B. 8 could remain in effect, if any, to avoid the substantial risk of causing the

“inconsistent application of only a fraction of interconnected regulations” in Chapter 171 of the

Texas Health and Safety Code. Id. at 2320.

        Despite the Texas Attorney General’s lack of clarity about what the State would do in the

face of a preliminary injunction, this Court trusts that the State will identify the correct state officers,

officials, judges, clerks, and employees to comply with this Order. The Court relies on the Texas

Attorney General’s representation that the State “would [not] want to do anything that could lead to

contempt.” (Hr’g Tr., Dkt. 65, at 90).

        IT IS ORDERED that the State of Texas, including its officers, officials, agents,

employees, and any other persons or entities acting on its behalf, are preliminarily enjoined from

enforcing Texas Health and Safety Code §§ 171.201–.212, including accepting or docketing,

maintaining, hearing, resolving, awarding damages in, enforcing judgments in, enforcing any

administrative penalties in, and administering any lawsuit brought pursuant to the Texas Health and

Safety Code §§ 171.201–.212. For clarity, this Court preliminarily enjoins state court judges and state

court clerks who have the power to enforce or administer Texas Health and Safety Code §§

171.201–.212.

        As set out above, this Court has the authority to enjoin the private individuals who act on

behalf of the State or act in active concert with the State, including the Intervenors, and that

injunction would be commensurate in scope with S.B. 8’s grant of enforcement power. However,

the Court need not craft an injunction that runs to the future actions of private individuals per se,

but, given the scope of the injunctions discussed here and supported by law, those private

individuals’ actions are proscribed to the extent their attempts to bring a civil action under Texas

Health and Safety Code § 171.208 would necessitate state action that is now prohibited.




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        IT IS ORDERED that the State of Texas must publish this preliminary injunction on all of

its public-facing court websites with a visible, easy-to-understand instruction to the public that S.B. 8

lawsuits will not be accepted by Texas courts. IT IS FURTHER ORDERED that the State of

Texas shall inform all state court judges and state court clerks of this preliminary injunction and

distribute this preliminary injunction to all state court judges and state court clerks. The Court

recognizes that it may not be in the best position to dictate the particulars. Accordingly, the State

may propose different means of disseminating this information—that still achieve the goals of

informing the state judiciary and plainly informing the public of this preliminary injunction and its

effect—for this Court’s review and approval.

        In reaching the conclusion that a preliminary injunction is necessary here, the Court has

attempted to carefully and thoughtfully weigh the important interests of the parties in this case and

be mindful of the larger principles at play. In particular, the Court acknowledges the State’s concern

that this decision could increase the number of suits brought by the United States against states. The

Court is satisfied that this is an exceptional case and likely will remain an exceptional case for several

reasons. First, historically, the United States does not file many suits against states. In the last

decade, the United States sued a state fourteen times under a theory of preemption or

intergovernmental immunity. (Hr’g Tr., Dkt. 65, at 105). And, “those were actions brought by

administrations of different political parties.” (Id.). Second, the United States acts when state law

violates the Constitution and has a widespread effect. (See id. at 24). Third, and this what makes this

case exceptional, the United States seeks to enjoin the State in this case not only because the United

States believes S.B. 8 violates the constitutional rights of Texas citizens and is causing widespread,

significant injuries, but also because the United States alleges that the State “designed [S.B. 8] to

preclude the ability of those whose rights are being violated from vindicating their rights.” (Hr’g Tr.,

Dkt. 65, at 24).


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        The United States, in response to this Court’s questioning about limiting principles,

explained:

        [T]he reason that the United States had to file this action is not just that Texas
        enacted legislation that was designed unconstitutionally to impose restrictions on
        abortion rights. Other states have done the same things. And women who have
        wanted to pursue abortions or clinics that provide abortions have succeeded in
        challenging those laws [through] the ordinary procedures.

        What’s unique and what’s different about this law is that it specifically deprives those
        who are affected by the law of an ability to obtain the redress that is necessary in
        order to defend the Constitution. It’s because of this system of deterrence that Texas
        is trying to effectively do an end run around the supremacy clause. And that
        limitation, the equitable principle that if other easier remedies are available that
        equity will not create a remedy, that is a limiting principle; and it’s a limiting principle
        that doesn’t come into effect here only because Texas has devised this scheme that
        the chief justice described as unprecedented.

(Hr’g Tr., Dkt. 65, at 25). The Court further observes that this case is exceptional because it is the

rare intersection where the United States has standing and a cause of action to vindicate its citizens’

rights. To the extent that this Court’s holding leads to more lawsuits like this one, this Court would

rely on the Congress and higher courts to narrow the scope of the cause of action.

        Moreover, had this Court not acted on its sound authority to provide relief to the United

States, any number of states could enact legislation that deprives citizens of their constitutional

rights, with no legal remedy to challenge that deprivation, without the concern that a federal court

would enter an injunction. As has been reported, “legal scholars fear that the law in Texas will lead

to a rush of similar efforts in other states, prompting local legislators to pursue new measures on

gun rights, immigration[,] and other divisive political issues, all in an effort to sidestep the federal

government. From the Deep South to the Upper Midwest, legislators in many conservative states

have started to explore how similar laws could be put in place in the months ahead.” (The New

Texas Abortion Law Is Becoming a Model for Other States, L.A. Times, Supp. Dec. Newman, Dkt.

56-2, at 10–11). Equally plausible is that states at the other end of the political spectrum could use a

similar tactic to ban or impermissibly limit another constitutional right, like a right grounded in the

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Second Amendment, to further a political agenda. This Court’s preliminary injunction, should it

stand, discourages states from doing so: if legislators know they cannot accomplish political agendas

that curtail or eliminate constitutional rights and intentionally remove the legal remedy to challenge

it, then other states are less likely to engage in copycat legislation. Thus, rather than increase the

number of suits by the United States, this Court’s preliminary injunction maintains the status quo of

very few such suits and preserves this cause of action for exceptional cases like this one.

        Finally, the State has requested, in the event the Court preliminarily enjoins enforcement of

S.B. 8, that the Court stay any injunction until the State has the opportunity to seek appellate review.

The State has forfeited the right to any such accommodation by pursuing an unprecedented and

aggressive scheme to deprive its citizens of a significant and well-established constitutional right.

From the moment S.B. 8 went into effect, women have been unlawfully prevented from exercising

control over their lives in ways that are protected by the Constitution. That other courts may find a

way to avoid this conclusion is theirs to decide; this Court will not sanction one more day of this

offensive deprivation of such an important right.

                                          VI. CONCLUSION

        Based on the Court’s findings of fact and conclusions of law:

        IT IS ORDERED that the United States’ Emergency Motion for Temporary Restraining

Order or Preliminary Injunction, (Dkt. 8), is GRANTED as set out above in Section V.

        IT IS FURTHER ORDERED that the States of Texas’s Motion to Dismiss, (Dkt. 54), is

DENIED.

        IT IS FURTHER ORDERED that Amici States’ Unopposed Motion for Leave to File

Brief as Amici Curiae, (Dkt. 9), is GRANTED.

        IT IS FURTHER ORDERED that the United States’ Opposed Motion for a Protective

Order of Audiovisual Recordings, (Dkt. 36), is DENIED.


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       IT IS FURTHER ORDERED that the State of Texas’s Objections to the United States’

Declarations, (Dkt. 55), are DENIED.

       IT IS FINALLY ORDERED that the Texas Intervenors’ motion to strike, lodged at the

preliminary injunction hearing, (Hr’g Tr., Dkt. 65, at 96), is DENIED.


       SIGNED on October 6, 2021.

                                           _____________________________________
                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE




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